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                                                     No. 24-880


                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT


                    CENTER FOR INVESTIGATIVE REPORTING and WILL EVANS,

                                                               Plaintiffs-Appellees,

                                                         v.

                                 UNITED STATES DEPARTMENT OF LABOR,

                                                               Defendant-Appellant.


                                  On Appeal from the United States District Court
                                      for the Northern District of California


                                           EXCERPTS OF RECORD
                                              VOLUME 3 OF 4


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         2

         3                                    UNITED STATES DISTRICT COURT

         4                                 NORTHERN DISTRICT OF CALIFORNIA

         5

         6   THE CENTER FOR INVESTIGATIVE                     ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                        )
         7                                                    )
                     Plaintiffs,                              ) DECLARATION OF MICHELE HODGE IN
         8                                                    ) SUPPORT OF DEFENDANT UNITED STATES
                v.                                            ) DEPARTMENT OF LABOR’S MOTION FOR
         9                                                    ) SUMMARY JUDGMENT
             UNITED STATES DEPARTMENT OF                      )
        10   LABOR,                                           )
                                                              )
        11                                                    )
                     Defendant.                               )
        12                                                    )

        13           I, Michele Hodge, declare as follows:

        14           1.      I am the current Acting Director of the Office of Federal Contract Compliance Programs

        15 (“OFCCP”) within the Department of Labor (“DOL” or “Department”). I am familiar with, and

        16 routinely administer, Executive Order 11246 (“EO 11246”), the standards and regulations promulgated

        17 thereunder, and related enforcement programs.

        18           2.      I have worked for OFCCP since April 1986, primarily in the enforcement area. Prior to

        19 my tenure as Acting Director, from April 2023 to present, I served as the Deputy Director of OFCCP,

        20 where I led the agency to achieve its mission to enforce equal employment opportunity laws, protect

        21 workers, and promote equity and diversity by expanding access to quality jobs and advancement

        22 opportunities for all workers, especially those who have been historically underrepresented. Before

        23 becoming the Deputy, I served as the Regional Director for OFCCP’s Mid-Atlantic region from 2011 to

        24 2021, where I worked to ensure that those who do business with the federal government fulfill their

        25 affirmative action and nondiscrimination obligations to promote equal employment opportunity. All of

        26 these positions involve the review and understanding of EEO-1 data as it pertains to OFCCP’s

        27 enforcement initiatives. In summary, over the last 37 years I have been substantively involved in the

        28
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         1 operation of OFCCP’s enforcement programs, including the collection and use of EEO-1 data in the

         2 context of OFCCP compliance evaluations. The statements contained in this declaration are based upon

         3 my personal knowledge, upon information provided to me in my official capacity, and upon conclusions

         4 and determinations reached and made in accordance therewith.

         5 I.       BACKGROUND

         6          3.      OFCCP is a subdivision of the United States Department of Labor. In 1978, Congress

         7 consolidated equal employment opportunity (“EEO”) contract compliance programs across the

         8 government into OFCCP at DOL. OFCCP administers three legal authorities requiring equal

         9 employment opportunity in the employment practices of federal contractors: EO 11246, Section 503 of

        10 the Rehabilitation Act of 1973, and the Vietnam Era Veterans’ Readjustment Assistance Act of 1974.

        11 OFCCP’s overall mission is to ensure equal employment opportunity and protect workers from

        12 discrimination on the bases protected by these laws: race, color, religion, sex, sexual orientation, gender

        13 identity, national origin, disability, and status as a protected veteran. E.O. 11246 § 201(1); 29 U.S.C. §

        14 793; 38 U.S.C. § 4212. Each of these legal authorities have implementing regulations at 41 C.F.R.

        15 Chapter 60, promulgated through notice and comment rulemaking, setting forth non-discrimination and

        16 other equal employment opportunity standards (“OFCCP standards”) that contractors must follow, as

        17 well as recordkeeping regulations detailing the personnel action and other employment-related records

        18 that federal contractors must maintain. 41 C.F.R. Chapter 60, et seq.; 41 C.F.R. §§ 60-1.12, 60-300.80,
        19 60-741.80. OFCCP standards set forth equal employment opportunity requirements to protect workers

        20 from unlawful discrimination by federal contractors in all industries.

        21          4.      OFCCP carries out its mission by scheduling a certain number of federal contractor

        22 establishments for compliance evaluations, which generally consist of comprehensive analysis and

        23 evaluation of the hiring and employment practices of the contractor, its written affirmative action

        24 program, and the results of the efforts taken by contractors to ensure equal employment opportunity,

        25 consistent with EO 11246 and its implementing regulations. See 41 C.F.R. § 60-1.20(a). These

        26 compliance reviews also evaluate compliance with Section 503 of the Rehabilitation Act of 1973 and

        27 with the Vietnam Era Veterans’ Readjustment Assistance Act (VEVRAA). 41 CFR 60-741.60; 41 CFR

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         1 60-300.60. OFCCP schedules contractors for compliance evaluations through the use of a scheduling

         2 methodology that is made available to the public. See most recent methodology, OFCCP, Methodology

         3 for Developing the Supply and Service Scheduling List FY 2023, Release – 1,

         4 https://www.dol.gov/sites/dolgov/files/OFCCP/scheduling/files/SL23R1-SS-Methodology.pdf (last

         5 visited August 17, 2023). This methodology meets the criteria for a neutral administrative plan that

         6 complies with the Fourth Amendment’s protections against unreasonable searches. After a contractor

         7 has been identified through this methodology, the agency sends an OMB-approved scheduling letter to

         8 the contractor with a list of requested information and data for OFCCP to review and analyze off-site.

         9 During the course of the compliance evaluation, OFCCP may seek follow-up information and data to

        10 review off-site, and may also conduct an on-site review of the contractor’s establishment if it needs to

        11 obtain further information, such as personnel interviews, at the contractor’s premises. While the exact

        12 number varies, in recent years, OFCCP has typically conducted between 1,000 to 3,000 of these

        13 compliance evaluations per year.

        14          5.      There are two circumstances in which OFCCP may file an enforcement action against a

        15 contractor. The first, colloquially referred to as an “access” case, is a situation in which the contractor

        16 has refused to provide access to some portion, or all, of the data, information, employees, and/or

        17 premises that OFCCP has requested during the course of the compliance evaluation. Such complaints

        18 are filed by DOL’s Office of the Solicitor (SOL) before the Department’s Office of Administrative Law
        19 Judges (OALJ). While SOL can file certain "access cases" under expedited hearing procedures, such

        20 cases typically take months, and sometimes much longer, to fully litigate. Accordingly, having to go

        21 through an “access case” can significantly prolong the length and efficacy of OFCCP’s compliance

        22 evaluations. SOL has had to file multiple access cases over the past several years; a listing is attached to

        23 this Declaration. See Ex. A. The second type of enforcement action is for a substantive violation of

        24 OFCCP’s legal authorities, including whether the contractor has engaged in unlawful discrimination

        25 and/or other violations of the EO 11246 Equal Opportunity Clause. These complaints are also filed in

        26 the first instance before the OALJ.

        27

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         1 II.      EEO-1 REPORTS

         2          6.      The EEO-1 report is a mandatory annual data collection that requires all private sector

         3 employers with 100 or more employees, and federal contractors with 50 or more employees meeting

         4 certain criteria, to submit demographic workforce data, including data by race/ethnicity, sex, and job

         5 categories. See EEOC, EEO-1 Component 1 Data Collection, https://www.eeoc.gov/data/eeo-1-data-

         6 collection (last visited August 17, 2023). A sample EEO-1 form is attached hereto. See Ex. B.

         7          7.      The raw statistical data contained in these reports is extremely sensitive information

         8 because it reflects both the personal demographic data of employees and the workforce allocation

         9 strategies of employers. Additionally, the workforce data contained in the EEO-1 reports may qualify as

        10 “confidential statistical data” as defined by the Trade Secrets Act. 18 U.S.C. § 1905.

        11          8.      Pursuant to DOL’s regulations, each prime contractor and first-tier subcontractor must

        12 file EEO-1 reports annually if they have 50 or more employees and a contract, subcontract, or purchase

        13 order of $50,000 or more. 41 C.F.R. § 60-1.7. OFCCP regularly receives, usually on an annual basis,

        14 EEO-1 report data for all entities that self-identify as federal contractors in response to Question C(3) of

        15 their EEO-1 report submissions.

        16          9.      To avoid duplication of efforts and reduce the administrative burden on companies,

        17 EEOC and OFCCP jointly developed the EEO-1 form, and created the Joint Reporting Committee

        18 (“JRC”) to administer the EEO-1 reporting system in a manner that establishes a single data collection to
        19 meet the statistical needs of both agencies. The EEO-1 data collection is thus a joint initiative of EEOC

        20 and OFCCP, see 41 C.F.R. § 60-1.7(a)(1), but EEOC is the agency that administers the EEO-1 report

        21 and is functionally responsible for collecting the data through a submission portal accessed through the

        22 EEOC website, EEOC Data Collection, https://www.eeocdata.org (last visited August 17, 2023).

        23 OFCCP typically receives the EEO-1 data of federal contractors from EEOC at least a year after the

        24 reports are filed, after EEOC has had the opportunity to check the data for errors and assemble it for

        25 transmittal to OFCCP.

        26          10.     The EEO-1 data submission portal is currently closed because the filing period for the

        27 next EEO-1 report has not yet commenced. A true and correct copy of the 2019 and 2020 EEO-1

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         1 Component 1 Data Collection User’s Guide (containing screen captures of the filing process) is attached

         2 hereto. See Ex. C.

         3          11.     Accurate EEO-1 report information is important to the mission of OFCCP in several

         4 ways. First, EEO-1 data is one of the sources OFCCP uses to confirm whether an entity is a federal

         5 contractor, and thus an entity over which OFCCP has jurisdiction. This is integral to OFCCP developing

         6 its scheduling lists of contractors to review. Further, while the EEO-1 data, and in particular the Type 2

         7 consolidated EEO-1 data, cannot alone form the basis for a finding of discrimination, even in its

         8 aggregated form it can allow OFCCP, using its expertise in comprehension of this data, to see where

         9 underutilization of particular demographic groups exists, which may be the result of discrimination. This

        10 can assist the agency in determining whether there is a need for further evaluation, and in focusing its

        11 scheduling of compliance reviews to better review these potential problem areas.

        12 III.     CONFIDENTIALITY OF EEO-1 REPORTS.

        13          12.     The EEOC, the agency that administers the EEO-1 report and is functionally responsible

        14 for collecting the data, is prohibited from publicly disclosing EEO-1 forms under Title VII, 42 U.S.C.

        15 § 2000e-8(e), which states:

        16                  It shall be unlawful for any officer or employee of the Commission to
                            make public in any manner whatever any information obtained by the
        17                  Commission pursuant to its authority under this section prior to the
                            institution of any proceeding under this subchapter involving such
        18                  information. Any officer or employee of the Commission who shall make
                            public in any manner whatever any information in violation of this
        19                  subsection shall be guilty, of a misdemeanor and upon conviction thereof,
                            shall be fined not more than $1,000, or imprisoned not more than one year.
        20

        21 42 U.S.C. § 2000e-8(e). The EEOC’s regulations implementing the FOIA statute incorporate the

        22 statutory prohibition against disclosure. 29 C.F.R. § 1610.17(f). The EEOC “takes extensive measures to

        23 protect the confidentiality and integrity of EEO-1 data in its possession” and maintains “a robust cyber

        24 security and privacy program” to protect the data. See Agency Information Collection Activities; Notice

        25 of Submission for OMB Review, Final Comment Request: Revision of the Employer Information

        26 Report (EEO-1), 81 Fed. Reg. 45479, 45492 (July 14, 2016) (“Final Notice”). It transmits the database

        27 of EEO-1 reports subject to OFCCP jurisdiction to OFCCP “on an encrypted storage device.” Id. EEO-

        28
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         1 1 data is then securely stored by OFCCP upon receipt, and access is limited to a small number of staff.

         2          13.     While there is not a parallel statutory prohibition criminalizing disclosure of EEO-1 data

         3 by OFCCP, the existence of the statutory prohibition against disclosure by the agency that collects the

         4 data, and the congressional intent reflected in this provision, inform OFCCP’s treatment of the data as

         5 confidential, and create an expectation of confidentiality by contractors, which submit the EEO-1 form

         6 only once through the EEOC website. OFCCP understands the important confidentiality concerns and

         7 expectation of privacy animating the Title VII provision, and treats the EEO-1 reports as confidential to

         8 the maximum extent permitted by law. That commitment is reiterated in multiple public-facing

         9 representations. See Final Notice at 45491.

        10          14.     This commitment to maintaining the EEO-1 reports’ confidentiality is explicitly

        11 conveyed to submitters through the EEOC data collection website. The EEOC EEO-1 Instruction

        12 Booklet during the relevant period specifically states in paragraph 4: “All reports and any information

        13 from individual reports are subject to the confidentiality provisions of Section 709(e) of Title VII and

        14 may not be made public by the EEOC prior to the institution of any proceeding under Title VII

        15 involving the EEO-1 data. Any EEOC employee who violates this prohibition may be found guilty of a

        16 criminal misdemeanor and could be fined or imprisoned.” Attached to this Declaration is a true and

        17 correct copy of the EEO-1 Instruction Booklet accessible on the EEOC website during the relevant

        18 period. See Ex. D.
        19          15.     EEO-1 submitters are also assured that their EEO-1 filings will be kept confidential

        20 when submitting their information via the EEO-1 reporting system. Ex. C at 36. The sample EEO-1

        21 form accessed through a link in the Instruction Booklet contains a further assurance of confidentiality:

        22 “All reports and information obtained from individual reports will be kept confidential as required by

        23 Section 709(e) of Title VII.” Ex. B at 2.

        24          16.     OFCCP, via the JRC, also explicitly assured all EEO-1 submitters with federal contracts

        25 that their reports would be treated as confidential. The Instruction Booklet expressly informed

        26 submitters that OFCCP “will protect the confidentiality of the EEO-1 data to the maximum extent

        27 possible consistent with FOIA and the Trade Secrets Act.” OFCCP also notified submitter that it “will

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         1 notify contractors of any Freedom of Information Act (FOIA) requests that are made to obtain any of the

         2 data provided on the EEO-1 reports.” Ex. D. ¶ 4 at 4.

         3           17.     Consistent with these assurances and the backdrop of strict confidentiality expressed in

         4 Title VII, OFCCP treats the EEO-1 reports as confidential and has never released an EEO-1 report

         5 except where it has determined that disclosure would be required by law.

         6           18.     In addition, OFCCP has a longstanding practice of notifying contractors of any FOIA

         7 requests to disclose their EEO-1 reports and giving them an opportunity to object to disclosure.

         8 Specifically, pursuant to Executive Order 12600’s requirement of predisclosure notification for

         9 confidential commercial information and DOL’s implementing regulations, 29 C.F.R. § 70.26, OFCCP

        10 has routinely provided federal contractors notice of any request for the disclosure of their EEO-1 reports

        11 because it believes the documents contain confidential information that is potentially protectable from

        12 disclosure. See Ronald Reagan, Executive Order 12600--Predisclosure notification procedures for

        13 confidential commercial information, June 23, 1987, https://www.archives.gov/federal-

        14 register/codification/executive-order/12600.html. Pursuant to these requirements, OFCCP provides

        15 notice to contractors and will not disclose their EEO-1 reports until after they have had an opportunity to

        16 object. If a contractor objects to disclosure, OFCCP evaluates any claims by the contractor that the

        17 release of such data is exempt from FOIA disclosure, and, if it accepts the objections as legally

        18 sufficient, it declines to release the data. 1
                                                       0F




        19           19.     As demonstrated by the thousands of objections filed by contractors in response to the

        20 current FOIA requests, many contractors have long proceeded under the understanding that this

        21 information would be held confidentially by the agencies that collect the information, including OFCCP.

        22 This understanding is supported by OFCCP’s prior recent responses to FOIA requests for EEO-1 Type 2

        23

        24           1
                       OFCCP has records dating back as early as 2002 that confirm this practice. Prior to 2009,
        25   OFCCP was organized under the Employment Standards Administration (ESA). On November, 8, 2009,
             the ESA was abolished and the four major program components of ESA – the Office of Federal Contract
        26   Compliance Programs, the Office of Labor Management Standards, the Office of Workers’
             Compensation Programs and the Wage and Hour Division – became stand-alone programs reporting
        27   directly to the Secretary of Labor. See Department of Labor, Wage and Hour Division Historical
             Summary, https://www.dol.gov/agencies/whd/about/history (last visited August 17, 2023). Due to
        28   compliance with records retention schedules, earlier records no longer exist or are difficult to locate.
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         1 data, in which OFCCP has declined to release the data based on representations in contractor objections

         2 when OFCCP has found the objections to be legally sufficient. OFCCP has only released EEO-1 data in

         3 response to FOIA requests where it has determined that the information does not fall within a FOIA

         4 exemption, and it has never released EEO-1 data outside of a FOIA request. 2  1F




         5 IV.      FORESEEABLE HARM

         6          20.    OFCCP reasonable foresees that releasing the requested EEO-1 data over the objections

         7 of submitters who treat this commercial data as private and submitted it to the government under an

         8 assurance and expectation of privacy would result in multiple harms to both the federal contractor

         9 objectors and OFCCP’s mission.

        10          21.    Based on OFCCP's expertise in this area, the objections received and evaluated by

        11 OFCCP, consultation with experts, and discussion with an employer association, OFCCP reasonably

        12 foresees that release of the objectors' data would cause commercial or financial harm to the contractors

        13 whose data is released, including, but not limited to:

        14                  a.     Competitors gaining knowledge of business plans that companies have invested

        15                         substantial resources in developing, refining, and implementing to gain a

        16                         competitive advantage, including sensitive staffing plans that are revealed by the

        17                         EEO-1 reports, such as the ratio of managers to sales workers. Submitters will

        18                         lose the competitive edge afforded by their confidential workforce structure

        19                         strategies.

        20                  b.     Providing competitors information that would allow them to draw additional

        21                         conclusions about the submitters’ commercial operations from the multiple years

        22                         of data that would be released, which they could not draw from one year of data.

        23                         Changes and trends in workforce numbers in specific categories would provide

        24

        25
                    2
        26          In 2018, DOL agreed to settle a lawsuit filed by CIR seeking the EEO-1 reports of several
           companies by withdrawing its assertion that the documents were protected from disclosure under
        27 Exemption 4. Center for Investigative Reporting, et al. v. Department of Labor, No. 18-cv-2008-JCS.
           DOL’s decision in that case was informed by the heightened substantial competitive harm standard
        28 required for application of Exemption 4 at that time.
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         1                     insight into a company’s operations, forecasting, and strategic plans. The

         2                     commercial harm that would result from this multi-year analysis is a significant

         3                     source of concern among submitters.

         4               c.    Providing an inaccurate or incomplete picture of the scope of the Diversity,

         5                     Equity, Inclusion, and Accessibility efforts that contractors are undertaking, as

         6                     EEO-1 numbers do not reflect the full actions of the contractor. Public criticism of

         7                     contractors that laypeople do not believe are diverse enough based solely on EEO-

         8                     1 statistics may cause fewer diverse workers to want to work for that contractor,

         9                     thus making it harder for them to recruit and maintain a diverse workforce.

        10               d.    Increased scrutiny by the public and other organization and officials, and the use

        11                     and misinterpretation of the raw EEO-1 data to draw inferences about DEI

        12                     initiatives that can be used to damage the commercial interests of the company.

        13                     Contractors are increasingly aware of and concerned about public backlash,

        14                     boycotts, lawsuits, and lost revenue resulting from this scrutiny, which have been

        15                     widely reported on in recent months. See, e.g., Theo Francis and Lauren Weber,

        16                     “The Legal Assault on Corporate Diversity Efforts Has Begun,” The Wall Street

        17                     Journal (Aug. 8, 2023), https://www.wsj.com/articles/diversity-equity-dei-

        18                     companies-blum-2040b173 (last visited August 17, 2023) (“The pressure leaves

        19                     employers vulnerable to litigation for either going too far or not far enough in

        20                     addressing barriers to equity and inclusion, lawyers say.”); J. Edward Moreno,

        21                     "Fall in Bud Light Sales Puts Dent in Beer Maker’s Earnings," The New York

        22                     Times (Aug. 3, 2023), https://www.nytimes.com/2023/08/03/business/bud-light-

        23                     sales-decline.html (“Retail sales of Bud Light fell as much as 42 percent in some

        24                     U.S. metro areas in the four weeks that ended on July 22.”);; Michael King, “How

        25                     Chick-Fil-A Became a Target for Going “Woke,” CBS News (June 2, 2023)

        26                     https://www.cbsnews.com/atlanta/news/how-chick-fil-a-became-a-target-for-

        27                     going-woke/.

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         1                   e.    Infringement of the privacy of workers who self-identified with a promise of

         2                         confidentiality, particularly for small companies with few people in certain EEO

         3                         categories, wherein it may be possible to discern the EEO characteristics of a

         4                         particular employee. This may lead to fewer employee self-identifications, which

         5                         would make it harder for contractors to evaluate their own EEO/DEIA efforts, and

         6                         may harm employer-employee relations due to a perceived breach of trust.

         7          22.     OFCCP also reasonably foresees the potential for significant harm to the agency in many

         8 different ways in the event that OFCCP is required to disclose all federal contractor Type 2 EEO-1 data.

         9 Each of these potential harms would interfere with OFCCP being able to perform the mission for which

        10 it is appropriated funds and affect the efficiency and effectiveness of the agency’s operations.

        11          23.     Disclosure of this data would likely harm relations between OFCCP and the regulated

        12 community, which has already expressed many concerns about the OFCCP’s ability to keeps company

        13 data confidential as a result of these FOIA requests. 3 OFCCP reasonably foresees that some contractors,
                                                                 2F




        14 who submitted their EEO-1 reports with the expectation of confidentiality and objected to their release,

        15 will blame OFCCP if it is unable to protect these sensitive reports from public disclosure.

        16          24.     Due to limited resources, OFCCP only conducts a few thousand establishment reviews

        17 each year, although EEO-1 data reveals that there are well over 100,000 contractor establishments in a

        18 given year. Therefore, to fulfill its mission, OFCCP also must rely on contractors’ proactive compliance
        19 with their equal employment opportunity obligations, which requires some degree of contractor

        20 cooperation. To ensure that contractors are aware of their equal employment opportunity obligations,

        21 and thus to facilitate contractor cooperation and compliance, OFCCP conducts numerous compliance

        22

        23
                    3
        24             Federal contractors are not alone in their concerns. OFCCP recently received correspondence
             from Representative Virginia Foxx with regard to EEO-1 data specifically and the confidentiality of
        25   contractor-provided information and data generally as well as OFCCP’s handling of the FOIA request,
             in which she expresses “serious concerns” that OFCCP did not provide federal contractors with
        26   sufficient notice of the FOIA request, suggests that “OFCCP’s failures could result in disclosing
             employers’ and employees’ sensitive, confidential information” and further asserts that “OFCCP may
        27   not have the authority to make such disclosures.” See Foxx Correspondence, Ex. E. OFCCP anticipates
             that, should it not be able to protect employers’ and employees’ sensitive, confidential information, it
        28   will see an increase in oversight requests from Congress.
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         1 assistance events each year both out of its National Office and in its regional offices. For example, in

         2 June 2023, OFCCP collaborated with the Virginia Ship Repair Association, which consists of federal

         3 contractors, to provide information on what to expect during an OFCCP compliance review and the

         4 types of documentation requested during a review. This presentation occurred at the request of the VA

         5 Ship Repair Association. Also in June 2023, OFCCP hosted a webinar highlighting construction

         6 contractors’ equal employment and affirmative action obligations. Invitations were sent to contractors

         7 on the Corporate Scheduling Announcement List and those who registered to receive email notifications

         8 from the agency. OFCCP meets regularly with regional Industry Liaison Groups to discuss recent

         9 developments within OFCCP and provide information and promising practices for complying with

        10 OFCCP’s legal authorities. And in August 2023, top officials from OFCCP attended the four-day

        11 annual National Industry Liaison Groups conference in Phoenix, where they participated on panels to

        12 educate contractors as to obligations under OFCCP’s authorities and made themselves available for

        13 questions throughout the conference. OFCCP reasonably foresees that disclosure of this data would

        14 harm the cooperative relationship it has built with federal contractors, through substantial and sustained

        15 efforts, leading to direct harm to the mission of OFCCP.

        16          25.     OFCCP further reasonably foresees that disclosure of the data would lead to a portion of

        17 the federal contractors being much more reluctant to provide any data requested by OFCCP that the

        18 company believes is confidential. OFCCP’s compliance efforts involve requests for substantial amounts
        19 of information from contractors in addition to the EEO-1 reports. Contractors may ultimately refuse to

        20 provide such data, forcing OFCCP to file “access” cases to compel the production of this information.

        21 Any increase in the number of access cases OFCCP has to file compromises its mission, as it forces the

        22 agency to spend significant time and resources on ancillary matters, in turn delaying OFCCP’s ability to

        23 identify, address and remedy discrimination in contractors’ workplaces.

        24          26.     Another likely outcome of an order compelling the production of this information is that

        25 some number of contractors will decline to bid for federal contracts in the future, as this would be the

        26 only way to keep their EEO-1 information from being disclosed. Such an outcome is harmful in two

        27 different ways. First, it would decrease the number of entities over which OFCCP has jurisdiction, and

        28
             DECLARATION OF MICHELE HODGE IN SUPPORT OF DOL’S MOTION FOR SUMMARY JUDGMENT
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         1 thus there would be fewer entities that would be required to comply with OFCCP’s affirmative and

         2 equal employment obligations. This includes the analyses and other actions OFCCP requires so that

         3 contractors can proactively find and address discrimination and other obstacles to equal employment

         4 opportunity. Second, if federal contracting agencies have fewer entities willing to bid on federal

         5 contracts, the logical result would be a negative impact on the efficiency of federal contracting, as there

         6 would be less competition and fewer federal contractors to choose from.

         7

         8          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

         9 correct hereto. Executed this 17th day of August, 2023.

        10

        11

        12

        13                                                        MICHELE HODGE
                                                                  Acting Director
        14                                                        Office of Federal Contract Compliance
                                                                  Programs
        15                                                        U.S. Department of Labor
                                                                  200 Constitution Ave., NW
        16                                                        Washington, DC 20210

        17

        18
        19

        20

        21

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        23

        24

        25

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        28
             DECLARATION OF MICHELE HODGE IN SUPPORT OF DOL’S MOTION FOR SUMMARY JUDGMENT
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                                  Exhibit A




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                                     OFCCP Access Complaints Filed

            Case Name                     Description                                    Filing
                                                                                         Date(s)
            Entergy Services, Inc.        Refusal to provide access to or supply any     7/17/2014
                                          records and information for compliance
                                          review. (DOJ/CRLM)
            Convergys                     Expedited filing for refusal to give access    12/5/2014
                                          to or supply AAPs and supporting data for      12/10/2015
                                          compliance review. (Dallas RSOL &
                                          Atlanta RSOL)
            Google                        Refusal to provide access to a variety of      12/29/2016
                                          employment records related to its
                                          compensation practices and contact inform
                                          for current and former employees and
                                          applicants. (San Francisco RSOL)
            Baker DC                      Expedited filing against construction          1/13/2017
                                          contractor for refusal to provide records
                                          and allow on-site access (Philadelphia
                                          RSOL)
            Oracle                        Access case in part for denying access to      1/17/2017
                                          key documents during the OFCCP
                                          investigation, including refusing to provide
                                          pay equity analyses. (San Francisco RSOL)
            AccuWeather                   Expedited filing for refusal to give access    2/x/2017
                                          to OFCCP to investigate a complaint
                                          alleging discrimination and hostile work
                                          environment based on sexual orientation.
                                          (Philadelphia RSOL)
            Rosemount, Inc.               Refusal to provide support data related to     9/9/2022
                                          employment activity (applicants, hires,
                                          promotions, and terminations),
                                          compensation data, and AAPs. (Chicago
                                          RSOL)
            Ad Hoc, LLC                   Refusal to provide AAPs and supporting         5/23/2023
                                          documentation. (Philadelphia RSOL)




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                 Joint Reporting                                                                                                       Standard Form 100

                    Committee
                                                    EQUAL EMPLOYMENT OPPORTUNITY                                                         REV. 0112006

                                                                                                                     O.M.B.NO.3048-0007
         •     Equal Employment                        EMPLOYER INFORMATION REPORT EEO-1                             FORM APpROVAL: www.reglnfo.90v/publlc:/do/PRAHaln
               Opportunity Com-                                                                                      100-214

               mission
         •     Office of Federal
               Contract Compli-
               ance Programs (Labor)




                                                     Refer to instructions for number
             1. Indicate by marking in the appropriate box the type of reporting unit for
                ONE BOX).

                       (1) 0     Single-establishment Employer Report
                                                                                                                            (Required)
                                                                                                                           Report (submit one for each
                                                                                                                        or more employees)




                                                                                                                                                  OFFICE
                                                                                                                                                       USE
                                                                                                                                                         Y



             Address (Number and street)

                  or town
                                                                                                                                                  c.

             2. Establishment tOJ:.wl:1.lch
                     a.
                                                                                                                                                  d.

                                                                                                                                                  e.

                     b.                                                                                                                           f.

                                                         this establishment last        DYes DNa

                                                 C-EMPLOYERS WHO ARE REQUIRED TO FILE (To be answered by all employers)

              DYes        0 No
                          1. Does the entire company have at least 100 employees in the payrOll period for which you are reporting?
              DYes        0 No
                          2. Is your company affiliated through common ownership and/or centralized management with other entities
                             in an enterprise with a total employment of 100 or more?
              DYes   0 No 3. Does the company or any of its establishments (a) have 50 or more employees AND (b) is not exempt
                             as provided by 41 CFR 60-1.5, AND either (1) is a prime government contractor or first-tier subcontactor,
                             and has a contract, subcontract. or purchase order amounting to $50,000 or more, or (2) serves as a
                             depository of Government funds in any amount or is a financial institution which is an issuing and paying
                             agent for U.S. Savings Bonds and Savings Notes?
                              If the response to question C-3 is yes, please enter your Dun and Bradstreet identification number (if you
               '-------haveone):                     I I I I I I I I I I
                                   NOTE: If the answer is yes to questions 1, 2, or 3, complete the entire form, otherwise skip to Section G.




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                                                                                                                                                                                                                                                                                                                   SF 100 - Page 2
                                                                                                         Section D-EMPLOYMENT DATA
             Employment at this establishment - Report all permanent full- and part-time employees including apprentices and on-the-job trainees unless speciJically excluded as set forth in the instructions. Enter the appropriate figures on aIIlines
             and in all columns. Blank ~ces will be considered as zeros.
                                                                                                                                                                             Number of Employees
                                                                                                                                                                    (Report employees in only one category)
                                                                                                                                                                                    Race/Ethnicity
                                    Job
                                 Categories                                                                                                                                  Not-Hispanic or Latino
                                                                        ~~M~'{;~:~,              >~                                                                                                                                                                                                              Tolal
                                                                        ,;;,,;iiatino       ~,                                                                                                                                                                                                                   Col
                                                                       .    ~,                   ~$[:~,                                           Male                                                                                                                      Female                               A·N
                                                                                   Female        '{~ite               Black or         Native              Asian        Aamerican                 Two               While                      Black or              Native          Asian   American    Two
                                                                                             .    ,.                                 Hawalian                                                                                                                                                Indian or
                                                                   ~                                                  African                                            Indian or                 or                                          African              Hawaiian                              or
                                                                                                                  American                or                              Alaska                 more                                        American                  or                     Alaska     mor~

                                                                                                                                        Other                             NatiVe                 races                                                                Other                   Native     races
                                                                                                                                       Pacific                                                                                                                       Pacific
                                                         .< ;:;,                                                                      15lander                                                                                                                       Islander
                                                                        A               B                                                  I                    F           G                        H                 I                           J                    K             L        M          N       a
              Executive/Senior Level Officials and
              Managers                                      1.1
                                                                                                             Itift
              First/Mid-Level Officials and Managers                         "~f;Y
                                                            1.2
              Professionals                                  2
              Technicians                                    3                                    lit:                                                          /:<:j~~~:t;, '
                                                                                                      ~
              Sales Workers                                  4                                                                                 h~ t:~;::>/ ;~~:JV
                                                                                                          <: ~::;:'              {:j:l'::c,:/>'          ~
              Administrative Support Workers                 5
              Craft Workers                                  6                                                                            Al~
              Operatives                                     7                                                                       ,ifi~9:                                      ~
              Laborers and Helpers                           8                                                                    <f;j;:Y                                                           ;;;?i~                  .;;:,

              Service Workers                                9                                                                                         >A:~f.Y                                                    /(/fjj:>~
                                                                                                                                                   :;;: ~~:,'                                                    ': /x'




ER-279
                                                                                                                                                                                                                 :::~;.
         I
                TOTAL                                       10
                PREVIOUS YEAR TOTAL                         11                                                                                                                                  .<:::~lZ~; -/
         1. Date(s) of payroll period used:                                                                                      (Omit on the                   Consolidate~:~~~.)                                                                       ?::::;~~~:;:.
                                                                            Section E - ESTABLISHMENT INFORMATION (O!!li~:Wti the Consolidated Re~~.t:"                                                                                                             '":~~;;J>"
                                                                                                                                                                             4<{1)/''''': .                                                 ,,~~?~?:~<                  ~"/x!>?:~
         1.           What is the major activity of this establishment? (Be specific, i.e., manufacturing steel castings, re't~.f~,()cer, wholesaltzilt~~ing suppIl~$t1JJ:le insurance, etc.
                      Include the specific type of product or type of service provided, as well as the principal business or iiif!ti~ial activi~)?:> >";;;~~;:::;.     ~<l'
                                                                                                                                                                                              ~,,/ ~ '.,J')<-.            ",J;;!","",'.'"          ''''"'/~';«".'

                                                                                                                                 Section F - REMARKS                                               ':;:;::'        A::~~/                                ",~:;?%;"
         lJse this item to give any identification data appearing on the last EEO-1 report which differs from that given above,                                                                                     ~Jl major chang~S1:fh composition of reporting units and other
                                                                                                                                                                                                                                                                                                                                     (18 of 273), Page 18 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 18 of 273




         Jertinent information.                                                                                                                                                                                   /;:;t~f~:>"
                                                                                                                           Section G - CERTIFICATION                                                                   9~~;~~~;;~~~,~
                                                                                                                                                                                                                      Rep&~~ruy.)
             one      2     0    This report is accurate and was prepared in accordance with the instructions.
         Name of Certifying Official                                                             TItle                                                                                                       Signature                                                                          Date
                                                                                                                                                                                                                                                                                             -r
         Name of person to contact regarding this report                                         Title                                                                                                      Address (Number and Street)

         City and State                                                                          Zip Code                        TelePhone No. (including Area Code and                                                                                                               Email Address
                                                                                                                                 Extension)
                                                                                                                                 1
                                                              All reports and information obtained from individual reports will be kept confidential as required by Section 709(e) of TItle Yll.
                                                                                                                                                                                                                                              1
                                                               WILlfULLY fALSE STATEMENTS ON THIS REPORT ARE PUNISHABLE BY LAW, U.S. CODE, TITLE 18, SECTION 1001
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                                  Exhibit C




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     What Is The EEO-1 Component 1 Filing?

         The EEO-1 Component 1 report is a mandatory annual data collection that requires all private sector employers with 100 or more
         employees, and federal contractors with 50 or more employees meeting certain criteria, to submit demographic workforce data, including
         data by race/ethnicity, sex and job categories. The filing by eligible employers of the EEO-1 Component 1 Report is required under
         section 709(c) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-8(c), and 29 CFR 1602.7-.14 and 41 CFR
         60-1.7(a). Employers can find additional eligibility information at https://eeocdata.org/eeo1.

              •   Employers meeting the reporting thresholds have a legal obligation to submit annual workforce data on their employees by
                  race/ethnicity, sex and job category.

              •   The data include seven race/ethnicity categories and 10 job categories.

              •   EEO-1 Component 1 data are used by the EEOC to investigate charges of employment discrimination against employers and
                  to provide information about the employment status of minorities and women.




ER-285
              • Please see the 2019 and 2020 EEO-1 Component 1 Instruction Booklet for additional information.
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     Who Needs To File?

             The following employers are required to file the EEO-1 Component 1 Report annually:

                   a. Private employers (who are subject to Title VII of the Civil Rights Act of 1964, as amended) with 100 or more
                      employees; OR

                   b. Private employers subject to Title VII who have fewer than 100 employees and are owned or affiliated with another
                      company, or there is centralized ownership, control or management (such as central control of personnel policies and
                      labor relations) so that the group legally constitutes a single enterprise, and the entire enterprise employs a total of 100
                      or more employees.

                   c. Federal contractors who (1) are not exempt as provided for by 41 CFR 60-1.5; (2) have 50 or more employees; (3) are
                      prime contractors or first-tier subcontractors; and (4) have a contract, subcontract, or purchase order amounting to
                      $50,0000 or more; OR




ER-286
                   d. Federal contractors that serve as depositories of Government funds in any amount; or are financial institutions which
                      are issuing and paying agents for U.S. savings bonds and savings notes.
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     Getting Started
         Navigate to https://eeocdata.org/eeo1 to start your EEO-1 Component 1 Report. All companies start the 2019 and 2020 EEO-1 Component 1 Data collection
         by selecting “Get Started.” If your company has never filed an EEO-1 Component 1 Report, you will need to register your company in the EEO-1 Component
         1 Online Filing System. Returning filers will use their Company ID and Passcode that was sent via the U.S. mail to create a User Account associated with
         their company. After you have created a User’s Account and associated your company with this account, select “Continue” to begin filing.




ER-287
                                                                                                                             Once you have a User Account and
                                                                                                                              associate your company with this
                                                                                                                            account, use the “Continue” button to
                                                                                                                              return to the EEO-1 Component 1
                                                                                                                                Online Filing System to login.
                                                                                                                                                                    (26 of 273), Page 26 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 26 of 273




   Click “Get Started” to begin the registration process. See the 2019 and 2020 EEO-1 Component 1 Data
   Collection User’s Guide: Returning Filer Account Creation if you are a returning filer or the 2019 and
   2020 EEO-1 Component 1 Data Collection User’s Guide: New Filer Registration if your company
   has never filed the EEO-1 Component 1 Report in the past for additional guidance on this process.



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     Login to Begin Filing Your Report




   Enter your Username (email
  address) and Password that you
created in the Registration process,
then select “Begin.” This will take
   you to your Company List to
      begin the filing process.




ER-288
                                                                                                  If logging in for the first time, you
                                                                                                   must first create a User Account.
                                                                                                Selecting “Create Account” will begin
                                                                                                the process described in the 2019 and
                                                                                                   2020 EEO-1 Component 1 Data
                                                                                                Collection User’s Guide: Returning
                                                                                                 Filer Account Creation or the 2019
                                                                                                                                          (27 of 273), Page 27 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 27 of 273




                                                                                                and 2020 EEO-1 Component 1 Data
                                                                                                Collection User’s Guide: New Filer
                                                                                                             Registration.




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     Company List and Filing Instructions

                                                                                        Click on “Have a Question”
                                                                                          to view top FAQs, Fact
                                                                                           Sheets, and additional
                                                                                                 resources.

  If at any point you
 need help filing your
report, click the links
here to view Data File
 Upload Instructions,
FAQs, User’s Guides,
 and Fact Sheets and
   FAQs on EEO-1
 Component 1 topics.




ER-289
                                                                                                         Select the drop down to
                                                                                                          view instructions and
                                                                                                        additional information on
                                                                                                        the EEO-1 Component 1
                                                                                                           Reporting process.
                                                                                                                                    (28 of 273), Page 28 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 28 of 273




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     Your Company List
     You will begin by completing the 2019 EEO-1 Component 1 Report by clicking on the Record below. Once the 2019 Report is certified, the 2020
     report will display on this screen.


                                    Select “Instructions, Data File
                                  Upload, and Other Information”, to                                                   Select your company to
           All companies           view instructions and additional                                                    continue or begin the Filing
          associated with             information on the EEO-1                                                         Process. Only 2019 appears at
         your User account         Component 1 Reporting process.                                                      first. 2020 will appear here
          will be displayed                                                                                            when 2019 is complete.
          here. Most filers
          will only see one
              company.




                                                                                                                       Select “Register a New




ER-290
 Filers can link additional
                                                                                                                       Company” to add a new
 existing companies to their
                                                                                                                       company to your account. Do
 User account by clicking here
                                                                                                                       not use this to add
 and entering the Company ID
                                                                                                                       establishments. Adding and
 and Passcode. The new
                                                                                                                       removing establishments is
 companies will then appear in
                                                                                                                       completed within the company
 the list below. Do not add
                                                                                                                       record. View the 2019 and 2020
                                                                                                                                                        (29 of 273), Page 29 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 29 of 273




 establishments here. Adding
                                                                                                                       EEO-1 Component 1 Data
 and removing establishments
                                                                                                                       Collection User’s Guide: How
 is completed within the
                                                                                                                       to File for Multiple Companies
 company record.
                                                                                                                       for support in this process.




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     Company Dashboard Overview


 Your company dashboard                                                                                        Select “Back to
      displays steps for                                                                                   Company List” to return
  completing your EEO-1                                                                                       to the list of your
 Component 1 Report. The                                                                                   companies, or “Historic
     current step will be                                                                                    Data” to view your
  highlighted and listed as                                                                                previously filed reports.
 active. After completion,
  the status will change to
“Complete” and you will be
                                                                                                   Selecting the drop down will
  able to move to the next
                                                                                                       display the steps for
        pending task.
                                                                                                  completing and certifying your
                                                                                                   EEO-1 Component 1 Report.
                                                                                                   You can select this to review
                                                                                                   the instructions at any time.




ER-291
                                                                                                Steps will remain “Pending” until the
     To begin, select
                                                                                                 step above is marked as Complete.
  “Confirm Company &
                                                                                                 When you complete the “Confirm
   Contacts”. You can
                                                                                                                                        (30 of 273), Page 30 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 30 of 273




                                                                                                   Company & Contacts” step, for
  click anywhere in the
                                                                                                 example, the “File/Upload EEO-1
     box to proceed.
                                                                                                  Component 1 Reports” step will
                                                                                                            become active.




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     Verify Company Information


      Review the Company ID,
         Name, and Employer
    Identification Number (EIN)
       for 2019. Make sure this
      information matches your
    2019 records. If any of these
     changed in 2020, you will
       update those on the 2020
    EEO-1 Component 1 Report.                                                                      If the EIN displayed on the screen
                                                                                                   is wrong, enter the correct number
                                                                                                   in the EIN fields and Re-enter the
                                                                                                            number to verify.




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                                                                                                                                        (31 of 273), Page 31 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 31 of 273




                                                                               Select “Save & Continue Later” to save and return
                                Select “Next” to                                 to your Company Dashboard. You must select
                                    proceed.                                    “Next” or “Save & Continue Later” to save any
                                                                                             entered information.




            11    Return to Table of Contents
                                         Case 3:22-cv-07182-WHA Document 34-3 Filed 08/18/23 Page 31 of 100




     Provide NAICS Code


         Enter your North American Industry
         Classification System (NAICS) code
              and then re-enter to verify

          NAICS (North American Industry
           Classification System) code is the
          standard used by Federal statistical
            agencies in classifying business
           establishments for the purpose of                                                                        Help text icons appear
         collecting, analyzing, and publishing                                                                   throughout the Online Filing
           statistical data related to the U.S.                                                                    System to offer additional
                   business economy.                                                                                details and guidance on
                                                                                                                 entering data and answering
     If you do not know your NAICS code,                                                                          questions. Click on the icon




ER-293
    visit https://www.census.gov/naics/ to                                                                         to reveal or hide the text.
    find the option that best describes your
            establishment’s industry.
                                                                                                                                                 (32 of 273), Page 32 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 32 of 273




                                                                                    Click the “Next” button to
                                                                                             continue



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     Review Company Information



                                                                                              We strongly suggest adding
         Take the time to carefully                                                              your company URL. It is
             review the company                                                                  optional but will help us
            information. You can                                                              track company changes over
           update your Company                                                                 time to keep you up to date
         Name and Address. If your                                                              on future data collections.
         NAICS or EIN is incorrect,
          select “Back” to re-enter
               the information.
                                                                                               If your company has added or
                                                                                               deleted establishments since your
                                                                                               last filing, update that information
                                                                                               here. You will need to add or delete
 Review and update the address for your                                                        establishments in your Establishment




ER-294
     company’s headquarters (HQ).                                                              List to match this number. If you are
    When updating the HQ address,                                                              now a Single-Establishment
  suggested addresses will be provided.                                                        company, enter 1 here. You will
                                                                                               receive a warning requesting
                                                                                               additional information and require
                                                                                               that you contact the EEO-1
                                                                                               Component 1 Filer Support Team to
                                                                                                                                       (33 of 273), Page 33 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 33 of 273




                                                                                               provide additional information
                                                                                               before you can proceed. See pages
           Click the “Next” button to continue or “Save &                                      48 and 49 for additional information
         Continue Later” to return to the Company Dashboard.                                   on the deletion warning screens.




           13   Return to Table of Contents
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     Update Contact Information

                            Use this page to add additional contacts. It is recommended to have at least one secondary contact.
                            All contacts will receive a notification when the Report is certified. Entering additional contacts here
                            will not automatically provide them with accounts. If additional contacts need accounts, provide them
                            with your Company ID and Passcode and provide them with instructions from the 2019 and 2020
                            EEO-1 Component 1 Data Collection User’s Guide: Returning Filer Account Creation, if needed.




ER-295
                                                                                                                            Select Deactivate to remove a
                                                                                                                            contact that should no longer
     The primary contact will receive emails and other                                                                      have access to the system.
                                                                               Identify the contact that is the
     updates related to the EEO-1 Component 1 Report.                        Certifying Official. This can be any
                                                                                                                                                            (34 of 273), Page 34 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 34 of 273




     The contact person serves as your company’s contact                     employee in your company tasked
     for all EEO-1 Component 1 Report matters.                               with certifying that your submitted
                                                                                      Report is accurate.




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     EEO-1 Component 1 Filing Requirements
                                                                                                    If you answer “No” to all of these
                                                                                                   questions, your company is not
                                                                                                   required to complete the EEO-1
                                                                                                   Component 1 Report for the given
                                                                                                   year. Select “Next” to confirm you are
         If you answer “Yes” to any                                                                ineligible. You will then be directed to
         of these questions it means                                                               the Certification page to certify this
              you are required to                                                                  selection.
             complete the EEO-1
           Component 1 Report for
          the given year and should
         proceed to file your EEO-1
            Component 1 Report.




ER-296
                                                                                                         If you answer “Yes” and indicate
                                                                                                         you were a Federal Contractor or
                                                                                                            Subcontractor or served as a
                                                                                                        depository of government funds or
                                                                                                         issuing and paying agent for U.S.
                                                                                                                                              (35 of 273), Page 35 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 35 of 273




                                                                                                         Savings Bonds and saving notes,
                                                                                                          you will be directed to a page to
                                                                                                        provide your company’s Dun and
                                                                                                            Bradstreet Number (DUNS).




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     Provide DUNS
     Only companies that are designated as a Federal Contractor or Subcontractor AND are not exempt as provided for by 41 CFR 60-1.5 or serve
     as depositories of Government funds in any amount or are financial institutions which are issuing and paying agents for U.S. Savings Bonds
     and savings notes will see this page to enter a company Dun and Bradstreet Number (DUNS).




    If requested, provide your
    establishment’s Dun and
    Bradstreet (DUNS) number.
    This number is a unique nine-
    digit identifier for businesses.




ER-297
                                                                                       Click the “Next” button to confirm your Company
                                                                                       and Contact Information and proceed to file your
                                                                                                  EEO-1 Component 1 Report.
                                                                                                                                                  (36 of 273), Page 36 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 36 of 273




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     Confirm Company Information




                                                                         Select “Submit” to confirm your entry
                                                                          of your Company Information and
                                                                           Contacts and proceed to Filing the
                                                                             EEO-1 Component 1 Report.




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                                                                                                                 (37 of 273), Page 37 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 37 of 273




         17   Return to Table of Contents
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     Company Dashboard – File EEO-1 Component 1 Reports


                                                                                                      To edit or update any of your
                                                                                                        Company Information and
               After you have                                                                        Contacts, select the lock icon to
              confirmed your                                                                         unlock this section. You will be
           Company & Contacts                                                                       able to revisit your earlier entries.
          section, the section will                                                                    You will need to review all
         turn green and the status                                                                   previously entered information
          will turn from “Active”                                                                      and re-confirm your entries.
               to “Complete.”




ER-299
                                                                                                               Now that your first task is
                                                                                                               complete, the next task is
                                                                                                               highlighted. Select “File
                                                                                                                 EEO-1 Component 1
                                                                                                                                             (38 of 273), Page 38 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 38 of 273




                                                                                                              Reports” to proceed to enter
                                                                                                              your employee information.




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     Establishment List Overview

  The number displayed here is the                                             This will switch to “Finish with        If you want to make changes
   number of establishments you                                            Establishments” when you have finished       to a specific establishment,
      entered in the Company                                              your Reports. This must match the number     use the search bar to quickly
    Information screen. If this is                                            of completed reports on this page.           find the establishment.
      incorrect, go back to the
  Company Information screen to
         make the update.

                                                                                                                         Click here to use Data File
                                                                                                                      Upload to file your report. View
      Summary information is                                                                                             the 2019 and 2020 EEO-1
   displayed here. It summarizes                                                                                       Component 1 Data Collection
      the number of complete,                                                                                              User’s Guide: Multi-
      incomplete, and deleted                                                                                         Establishment Data File Upload
           establishments.                                                                                              for a step by step guide and
                                                                                                                       detailed upload instructions.




ER-300
          Select “Incomplete”
         to enter data for your                                                                                      Select the “Add Establishment”
          first establishment.                                                                                         button to add establishments
                                                                                                                                                         (39 of 273), Page 39 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 39 of 273




                                                                                                                      not already on your list. Your
                                                                                                                        total number of completed
                                                                                                                     establishments must match the
                                                                                                                      number of reports listed at the
 New filers will only see their Type 3 Report here until they add establishments using the Add
                                                                                                                              top of this page.
  Establishment button. Returning filers will see existing establishments listed on this screen.



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     Add Establishment from Establishment List

                                                                                                          Select the “Add
                                                                                                   Establishment” button to add
                                                                                                   establishments. Your number
                                                                                                   of completed establishments
                                                                                                     must match the number of
                                                                                                    reports listed at the top this
                                                                                                      page. This button will be
                                                                                                       hidden once you have
                                                                                                     completed the number of
                                                                                                     reports listed at the top of
                                                                                                    this page. For the example
                                                                                                    shown here, when there are
                                                                                                          three completed
                                                                                                     establishment reports, this




ER-301
                                                                                                       button will be hidden.
                                                                                                                                     (40 of 273), Page 40 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 40 of 273




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     Add New Establishment Details




         Enter the Establishment name. This
              will help you identify the                                                           Indicate the number of
         establishment in the Establishment                                                   employees. You do not need to
                                                                                                 indicate a report type. The
                         List.
                                                                                              Online Filing System will select
                                                                                               the appropriate report for your
                                                                                                       Establishment.


         Provide the Establishment Address




ER-302
                        here.


                                                                 Click “Submit” to continue
                                                                                                                                 (41 of 273), Page 41 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 41 of 273




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                                    Case 3:22-cv-07182-WHA Document 34-3 Filed 08/18/23 Page 41 of 100




     Establishment List




                                                                                                      If you need to delete an
                                                                                                  establishment, select the trash
                                                                                                   can to remove it. You cannot
                                                                                                 delete your Type 3 Headquarters
                                                                                                               report.




ER-303
   Select “Incomplete” to enter data for
   your establishment. You will repeat
                                                                                                                                    (42 of 273), Page 42 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 42 of 273




     this step for each establishment.




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     Verify Establishment Information



           The information here will show
         the establishment information you
            just entered if filing for a new
          establishment, or the information
         we have on file from 2018 if filing
            for an existing establishment.
           This step is only for Type 4 and
         Type 8 Reports. It does not appear
                on the Type 3 Reports.
                                                                                         Review this number carefully. You will
                                                                                           have to return to this screen to make
                                                                                          changes to your employee count if the
                                                                                         number of employee for which you enter




ER-304
                                                                                          demographics differs from the number
                                                                                               of employees entered here.
                                                                                                                                   (43 of 273), Page 43 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 43 of 273




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     Verify Establishment EIN


          Review the Name and Employer
          Identification Number (EIN) for
         2019. This step is only for Type 4
           and Type 8 Reports. It does not
            appear on the Type 3 Reports.
             Make sure this information
         matches your 2019 records. If any                                                   If the EIN displayed on the screen
         of these changed in 2020, you will                                                  is wrong, enter the correct number
          update those on the 2020 EEO-1                                                     in the EIN fields and Re-enter the
                Component 1 Report.                                                                   number to verify.




ER-305
                                                                                       Select “Save & Continue Later” to save and return
                                          Select “Next” to                               to your Company Dashboard. You must select
                                              proceed.                                  “Next” or “Save & Continue Later” to save any
                                                                                                     entered information.
                                                                                                                                           (44 of 273), Page 44 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 44 of 273




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     Provide Establishment NAICS Code


    Enter your North American Industry
    Classification System (NAICS) code
         and then re-enter to verify

     NAICS (North American Industry
      Classification System) code is the
     standard used by Federal statistical
       agencies in classifying business
      establishments for the purpose of
    collecting, analyzing, and publishing
      statistical data related to the U.S.
              business economy.

    If you do not know your NAICS code,




ER-306
   visit https://www.census.gov/naics/ to
   find the option that best describes your
           establishment’s industry.

  This step is only for Type 4 and Type 8
  Reports. It does not appear on the Type
                 3 Reports.
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     Select Establishment Workforce Snapshot Pay Period
     Data must be pulled from one workforce snapshot pay period in October, November, or December of the reporting year. The workforce
     snapshot pay period is a single pay period, selected by the employer. Examples of pay periods are: weekly, every two weeks, twice a month,
     etc. You may select different workforce snapshot pay periods for 2019 and 2020.




          Select the month and day for
             the start and end of the
         workforce snapshot pay period
         used to count employees in the
          EEO-1 Component 1 Report.
              The dates used should
         encompass the start date of the
         desired pay period and the end
         date of the desired pay period.
         For Type 3 HQ Reports, this is
          also where you will enter the




ER-307
           number of employees at the
                  Headquarters.
                                                                                                                                                  (46 of 273), Page 46 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 46 of 273




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     Enter Employee Data and Submit Report
     Enter the correct number of employees for each relevant row and column. Totals will automatically sum at the end of the row, and columns. If
     a category has no employees, you may leave the box blank or enter a “0”.


  Enter the count of your employees
   within each category in the table
  below. Each employee should be in                                                                             Example: If the establishment has seven
          only one category.                                                                                    Hispanic/Latino males whose jobs are
                                                                                                                categorized as “Executive/Senior Level
                                                                                                                Officials and Managers,” enter “7” in
                                                                                                                column 1, row 1.



                                                                                                                The total here will automatically calculate
                                                                                                                based on employee demographics
                                                                                                                entered into this matrix. Overall Total
                                                                 If you need to leave this screen




ER-308
                                                                                                                must equal the number of employees you
                                                                 before you finish entering your                reported on the establishment information
                                                                 employee data, select “Save &                  screen prior to this report.
                                                                 Continue Later” to return to your
                                                                 Company Dashboard. Your
                                                                 progress will be saved.
                                                                                                                                                              (47 of 273), Page 47 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 47 of 273




                                           Select “Next” to continue. Once data entry is complete, employers will have
                                            the opportunity to provide additional details or clarifications in a comment
                                                                    box for the establishment.



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     Comments




  If you are a returning filer and your
  employee count changed by 35% or
  more, you will be required to enter a
   reason here. Otherwise, this is an
             optional field.



                                                                                            Select “Next” to complete the
                                                                                           “File/Uplaod EEO-1 Component
                                                                                                1 Reports” step for this
                                                                                                       bli h




ER-309
                                                                                                                            (48 of 273), Page 48 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 48 of 273




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     Establishment List Completed Report



                                                                                Reports completed must match the number listed in
                                                                                your Company and Contact Information. If the
         After you complete a report,                                           number displayed on this page is incorrect, return to
          items in the Report Status                                            the “Company Dashboard”, unlock “Confirm
              items will update.                                                Company & Contacts” and update that section.




                                                                                                           Select the next report to continue
                                                                                                              your EEO-1 Component 1
                                                                                                            Report. You must complete all
                                                                                                                        reports.




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                                                                                                                                                (49 of 273), Page 49 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 49 of 273




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     Establishment List All Reports Completed

         Once you have completed your reports. Select “Finish
         with Establishments” to complete this section and
         return to your “Company Dashboard”.




     Once you have completed all
     your reports, you will see all
    green “Complete” boxes on the
          Establishment List.




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                                                                                                           (50 of 273), Page 50 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 50 of 273




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     Company Dashboard – Review and Certify Report


                                                                                                             The first two steps indicate
                                                                                                           “Complete” statuses. To edit or
                                                                                                            update any of your Company
                                                                                                          Information and Contacts, select
                                                                                                             the lock icon to unlock this
                                                                                                             section. You will be able to
                                                                                                           revisit your earlier entries. You
                                                                                                                will need to review all
                                                                                                           previously entered information
                                                                                                             and re-confirm your entries.
 The next step is to Review the
 EEO-1 Component 1 Reports.
 Select this to review all entered
    data prior to certification.




ER-312
                                                                                                            After reviewing your Reports
                                                                                                                 and verifying that the
                                                                                                            information is correct, select
                                                                                                           “Certify EEO-1 Component 1
                                                                                                                Reports” to proceed to
                                                                                                            certification. Certification of
                                                                                                               the EEO-1 Component 1
                                                                                                                                               (51 of 273), Page 51 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 51 of 273




                                                                                                           Report is mandatory. Failure to
                                                                                                           certify the report will result in
                                                                                                             receipt of a notification of a
                                                                                                                  failure to file letter.




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     Download Uncertified Reports

   You can view and download all
 uncertified reports for this company
 by selecting the “Download” button.
   If anything is incorrect, you can
 return to the dashboard and edit the
            relevant section.




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     Review Uncertified Report




         Review your
                                                                                                              Review your employee
      previously entered
                                                                                                               data. If this does not
            company
                                                                                                               match your records,
        information. If
                                                                                                                return to the “File
     anything needs to be
                                                                                                               EEO-1 Component 1
       revised, you can
                                                                                                                  Report” on the
          return to the
                                                                                                              Company Dashboard.
           Company




ER-314
       Information and
      Contact screen on
         the Company
          Dashboard.


                                                                                                 After certification, the certifying
                                                                                                                                        (53 of 273), Page 53 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 53 of 273




                                                                                                   official’s information will be
                                                                                                 displayed in this area and the red
                                                                                                 “Uncertified” watermark will be
                                                                                                              removed.




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     Enter Optional Comments Before Certifying Report


              The Comments section allows
               you to add anything you feel
               is noteworthy regarding the
              establishment. Otherwise, you
                    may leave it blank.




                                                            After you have written your comments, click the “NEXT Button.”
                                                            You will be taken to the certification screen.




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                                                                                                                             (54 of 273), Page 54 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 54 of 273




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     Certify EEO-1 Component 1 Report
         Once all data is entered for your establishment, certify the reported data for each year. Each year of data must be completed and certified
         separately. Once you complete and certify your 2019 Report, please repeat these steps for 2020. Certification of the EEO-1 Component 1
         Report is mandatory. Failure to certify the Report will result in receipt of a notification of failure to file letter.


   Review information for the
   Certifying Official and Report
   Contact. This will be pre-populated
   with the contact information for the
   contact selected as the Certifying
   Official and Primary Contact on the
   Contact Information Screen.




    Check this box to certify that all




ER-316
    statements are accurate and
    prepared according to
    instructions. Please note all
    reports and information obtained
    from individual reports will be
    kept confidential as required by
    section 709(e) of Title VII.
                                                                                                                                                             (55 of 273), Page 55 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 55 of 273




    Willfully false statements on
    these reports are punishable by                                                                                 Check the box certifying that all data
    law, U.S. Code, Title 18, Section                                                                               entered is accurate, then click the
    1001.                                                                                                           “Certify” button. Your EEO-1
                                                                                                                    Component 1 Report is now complete!




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     Company Dashboard – Certified Report




                                                                                                             This information will also
                                                                                                             be emailed to you and all
                                                                                                                company contacts.



         Select Report to save or print a




ER-317
          copy of the Report for your
                                                                                                       Prior to October 25, 2021, if you
                    records.
                                                                                                       find an error after reviewing your
                                                                                                        report, select “Decertify”. If you
                                                                                                         decertify your Report, you will
                                                                                                          need to repeat the certification
                                                                                                         process after making any edits.
                                                                                                                                             (56 of 273), Page 56 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 56 of 273




                                                                                                           Once the filing deadline has
                                                                                                         passed on on October 25th, you
                                                                                                             cannot make any edits.




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     Downloading Certified Reports




                                                     You can view and download all certified reports for
                                                     this company by selecting the “Download” button.




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                                                                                                           (57 of 273), Page 57 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 57 of 273




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     Certified Report PDF



                                                                                                         Review the information in
                                                                                                            your Certified Report
                                                                                                         prior to the filing deadline
                                                                                                           on October 25, 2021. If
                                                                                                              you notice anything
                                                                                                         incorrect prior to October
                                                                                                         25, 2021, please decertify
                                                                                                         your report and re-visit the
                                                                                                           relevant section. If you
                                                                                                         decertify your Report, you
                                                                                                            will need to repeat the
                                                                                                          certification process after
                                                                                                           making any edits. Once
                                                                                                            the filing deadline has




ER-319
                                                                                                           passed on October 25th,
                                                                                                             you cannot make any
                                                                                                                       di

                                                                                                      Now that you have certified,
                                                                                                        Section G in the Type 2
                                                                                                                                        (58 of 273), Page 58 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 58 of 273




                                                                                                    Consolidated Report is filled out
                                                                                                   with Certified Date and Time and
                                                                                                   the Certifying Official and Report
                                                                                                        Contact Person contact
                                                                                                              information.




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     Establishment List- Report Types Overview
     The EEO-1 Component 1 Online Filing system automatically selects the appropriate Report Type based on the number of employees at an
     Establishment. This is an update from previous Online Filing Systems. All establishments within a company must use the same Report Type
     for establishments under 50 employees. The image below demonstrates where to find information on report types in the Online Filing System.




  Type 4: For an establishment with 50 or more
  employees; contains employee demographics

  Type 8: Used for an establishment with less
  than 50 employees; contains employee
  demographics

  Type 3: Headquarters report; contains the
  employee demographics for only your




ER-320
  headquarters establishment




     Type 6 Establishment List Reports can be used by companies that have used them in the past. These reports are for an establishment with less
     than 50 employees; contain only the establishment name, address and total number of employees for the establishment. These reports involve
                                                                                                                                                    (59 of 273), Page 59 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 59 of 273




     an extra reporting step through Reconciliation Reports. Please see the next section for additional detail on this process.




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     Type 6 and Reconciliation Reports: Establishment List




   If your company has used Type
    6 Establishment List reports in
     past filing years, they will be
        listed here. Only existing
     establishments that have filed
       Type 6 Establishment List
      reports in the past may file
       Type 6 Establishment List
    reports this year. If a company




ER-321
           has not filed Type 6
     Establishment List reports in
       the past, they can only file
              Type 8 reports.
                                                                                                                                 (60 of 273), Page 60 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 60 of 273




                                                                                  Select your Type 6 Establishment List Report
                                                                                  to file for that establishment.




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     Type 6 and Reconciliation Reports: Establishment Information




          Update the establishment’s
         information as needed. If the
         number of employees is now
         50 or more, the establishment
         will automatically update to a
                 Type 4 Report.
                                                                                                  This is all the data required
                                                                                                  for the Type 6 Establishment
                                                                                                  List Reports. Select “Next”
                                                                                                  to continue to the Comments
                                                                                                  section.




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     Type 6 and Reconciliation Reports: Establishment Information Comments

         The Comments section allows
          you to add anything you feel
          is noteworthy regarding the
         establishment. Otherwise, you
               may leave it blank.




                                                                                                         Select “Submit” to finish with
                                                                                                           this establishment’s Type 6
                                                                                                         Establishment List Report and
                                                                                                          return to your Establishment
                                                                                                                        List.




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                                                                                                                                          (62 of 273), Page 62 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 62 of 273




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     Type 6 and Reconciliation Reports: Company Dashboard with Reconciliation Report




          If you have any Type
           6 Establishment List
              Reports in your                                                                            Select anywhere on
           Establishments List,                                                                         this step to continue
            you must create a                                                                          to your Reconciliation
              Reconciliation                                                                                   Report.
             Report. This is a




ER-324
               report of the
           demographics of all
           employees included
               in all Type 6
            Establishment List
                 Reports.
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     Type 6 and Reconciliation Reports: Reconciliation Report in Establishment List




     Select the Type 7
                                                                                      The Employee Count for
      Reconciliation
                                                                                     the Type 7 Reconciliation
      Report to enter
                                                                                     Report will be the sum of
     details about the
                                                                                      all employees in Type 6
        employees
                                                                                    Establishment List Reports.
      included in the
          Type 6




ER-325
      Establishment
       List Reports.
                                                                          The Type 6 Establishment List Reports
                                                                        listed here are for informational purposes
                                                                         only; if you need to make a change, you
                                                                          must return to the “File/Upload EEO-1
                                                                               Component 1 Reports” step.
                                                                                                                     (64 of 273), Page 64 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 64 of 273




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     Type 6 and Reconciliation Reports: Reconciliation Report




 Enter the count of your employees                                     The number of employees entered in
  within each category in the table                                    this screen must equal the number of
 below. Each employee should be in                                      employees from ALL your Type 6
         only one category.                                              Establishment List Reports. That
                                                                      number is displayed here for reference.




                                                                                                           Example: If the establishments have
                                                                                                           seven Hispanic/Latino males whose jobs




ER-326
                                                                                                           are categorized as “Executive/Senior
                                                                                                           Level Officials and Managers,” enter “7”
                                                                                                           in column 1, row 1.



                                                                                                                If you need to leave this screen before
                                                                                                                                                          (65 of 273), Page 65 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 65 of 273




                                                                                                                you finish entering your employee
                                                                                                                data, select “Save & Continue Later”
                                                                                                                to return to your Company Dashboard.
                                        Select “Next” to complete your Type 7
                                                                                                                Your progress will be saved.
                                      Reconciliation Report. Type 7 Reconciliation
                                          Reports do not ask for Comments.



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     Type 6 and Reconciliation Reports: Reconciliation Report Completed and Return to Dashboard




    Select Back to return to
   the Company Dashboard
     to Review and Certify
                                                                        Your Type 7 Reconciliation Report is




ER-327
   your EEO-1 Component
                                                                        now Complete. If you need to make
           1 Report.
                                                                        changes, you can select here again to
                                                                        update the employee details.
                                                                                                                (66 of 273), Page 66 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 66 of 273




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     Type 6 and Reconciliation Reports: Reconciliation Report Complete


                                                                                                                   The first three steps indicate
                                                                                                                 “Complete” statuses. To edit or
                                                                                                                  update any of your Company
                                                                                                                Information and Contacts, select
                                                                                                                   the lock icon to unlock this
                                                                                                                   section. You will be able to
                                                                                                                 revisit your earlier entries. You
                                                                                                                      will need to review all
                                                                                                                 previously entered information
                                                                                                                   and re-confirm your entries.
  The next step is to Review
    the EEO-1 Component 1
 Reports. Select this to review
     all entered data prior to




ER-328
 certification. The system will                                                                                         After reviewing your
   use the data entered in the                                                                                       Reports and verifying that
 Reconciliation Report, along                                                                                        the information is correct,
      with the Type 3 and 4                                                                                            select this to proceed to
    Reports to automatically                                                                                         certification. Certification
        generate a Type 2                                                                                             of the EEO-1 Component
      Consolidated Report.                                                                                             1 Report is mandatory.
                                                                                                                                                     (67 of 273), Page 67 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 67 of 273




                                                                                                                     Failure to certify the report
                                                                                                                      will result in receipt of a
                                                                                                                       notification of failure to
                                                                                                                               file letter.
     The Review and Certify process is described in detail on page 31 through 38 earlier in the User’s Guide.



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     Significant Establishment Deletions Warning


                                                                                          If there was a significant reduction in the
                                                                                             number of establishments from your
                                                                                         previous EEO-1 component 1 Report, we
                                                                                              will request additional information
                                                                                         regarding the business changes. This will
                                                                                             screen will only appear if significant
                                                                                             changes occurred. Please answer the
                                                                                         questions to help the EEO-1 Component 1
                                                                                          Filer Support Team ensure the company
                                                                                            changes are completed correctly in the
                                                                                                     Online Filing System.




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     Establishment Deletion Warning Additional Action Needed




                                                                                                                   Certain changes require
                                                                                                                      assistance from the
                                                                                                                    EEO-1 Component 1
                                                                                                                   Filer Support Team. If
                                                                                                                      you see this screen
                                                                                                                   please contact the Filer
                                                                                                                  Support Team toll free at
                                                                                                                       1-855-EEOC-035
                                                                                                                  (1-855-336-2035) or via
                                                                                                                     the filer support filer
                                                                                                                    support page ‘Contact
                                                                                                                           Us’ form.




ER-330
                                                        After providing the necessary assistance to process your change,
                                                          the EEO-1 Component 1 Filer Support Team will provide a
                                                        unique code that you can enter here to help you continue to the
                                                                                                                                               (69 of 273), Page 69 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 69 of 273




                                                                                  next screen.




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     Troubleshooting FAQs
                                                           How to Count Employees

     What is a workforce snapshot pay period?

     The workforce snapshot pay period is a single pay period, selected by the employer, within the last quarter to count employees for the EEO-1
     Component 1 filing. Examples of pay periods are: weekly, every two weeks, twice a month, etc.

     Which workforce snapshot pay period (i.e., pay period) must employers use to extract EEO-1 Component 1 employment data?

     Employment data must be pulled from one pay period in October, November or December of the EEO-1 Component 1 data collection year
     (i.e., 2019 and 2020). This is referred to as the workforce snapshot pay period.

     Do companies need to select the same workforce snapshot pay period for 2019 and 2020?

     No. Companies may select different workforce snapshot pay periods for 2019 and 2020.




ER-331
                                            Which Employees Must Be Included in the Report

     Are employers required to report employees who were employed during the selected workforce snapshot pay period even if they were
     no longer active employees by December 31st of the data collection year?

     Yes. Even if an employee resigned or was terminated before December 31 of that year, the employee must be reported if the employee was
     employed during the selected workforce snapshot pay period.
                                                                                                                                                    (70 of 273), Page 70 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 70 of 273




     Should part-time employees be included in the report?

     Yes. Both full and part-time employees must be included in EEO-1 Component 1 Reporting.




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     How should employees who work remotely (i.e., telework) be reported on the 2019 and 2020 EEO-1 Component 1 Reports?

     Employees who work remotely (i.e., telework) must be included in the EEO-1 Component 1 Report for the establishment to which they
     report. Under no circumstances, should an employee’s home address be reported on any EEO-1 Component 1 report.

            What if, for example, because of the COVID-19 Pandemic, an employee did not work at any of the employer’s physical work
            locations?

            Generally, and in most instances, the temporary closure of a physical work site will not affect how employees are counted on the
            EEO-1 Component 1 Report. The fact that most, or even all, employees are teleworking would typically not change EEO-1
            Component 1 reporting if the employees continue to be assigned to, or report to, a physical location or establishment. Those
            employees should be included on the EEO-1 Component 1 establishment report for the physical location to which they are assigned or
            report. If the employer has closed an establishment and reassigned employees from the closed establishment to another location, the
            reassigned employee should be included at the establishment to which that employee reports or has been reassigned. Under no
            circumstances, should an employee’s home address be reported on any EEO-1 Component 1 report.

            What if a remote employee is not assigned to and does not report to any physical location on a permanent basis (i.e., not due to
            a temporary closure of an establishment)?




ER-332
            In those circumstances, the employee should be counted at the establishment to which the employee’s manager reports or is assigned.
            If an employee does not report to an establishment and the employee’s manager also does not report to an establishment, the employee
            (and their manager) should be included on the employer’s EEO-1 Component 1 Headquarters Report. Under no circumstances, should
            an employee’s home address be reported on any EEO-1 Component 1 report.

            What if an employer operates entirely remotely and does not have any physical location (not even a headquarters office)?
            How should employees be reported?
                                                                                                                                                   (71 of 273), Page 71 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 71 of 273




            In such a situation, employees should be included on the EEO-1 Component 1 Headquarters Report. For purposes of the EEO-1
            Component 1 Report, the employer should report the address where the business is legally registered, for example, a Post Office box
            in lieu of a physical address. Under no circumstances, should an employee’s home address be reported on any EEO-1 Component 1
            report.



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                            Single or Multi-Establishments: Help Determining Number of Establishments
     What is the difference between a single-establishment and a multi-establishment company?

     A single-establishment company does business at only one physical address. A multi-establishment company does business at two or more
     physical addresses.

     Single-establishment companies are only required to submit one EEO-1 Component 1 data record/report. Multi-establishment companies are
     required to submit a) a separate report for the headquarters, b) a separate report for each establishment of the company with 50 or more
     employees, c) a separate report for each establishment with fewer than 50 employees, and d) a consolidated report that includes all
     employees.

     If a company does business under multiple NAICS codes, do multiple EEO-1 Component 1 Reports need to be filed?

     EEO-1 Component 1 Reports are based on physical locations. If the one location has multiple NAICS codes, the filer must use the NAICS
     code under which the greatest number of employees operate.

     If a company’s headquarters is a holding company with zero employees, is it still necessary to file?




ER-333
     If a holding company and its holdings meet the filing requirements, the holding company must file on behalf of all associated companies and
     establishments.

     How do employers report employees who work at client sites?

     Employers have the option to either a) report employees working at client sites using the client site address as the location of the
     establishment, or b) report those employees at a non-client site employer address.
                                                                                                                                                   (72 of 273), Page 72 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 72 of 273




     My company has several establishments that are located at the same address. Do we submit separate reports for each entity?

     If the establishments that are located at the same address AND have the same North American Industry Classification System (NAICS) code
     and the same EIN, the establishments MUST be combined into only one report. These are considered one establishment for EEO-1
     Component 1 Reporting purposes.


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                                         Considerations for PEOs and Client Companies of PEOs

     Is a Professional Employer Organization (PEO) choosing to prepare and file your company’s 2019/2020 EEO-1 Component 1
     report(s)?If so, please ensure a report is filed for your company. It is the responsibility of your company to ensure a report is filed on your
     behalf. If a PEO is choosing to prepare and file your report, please contact the PEO to ensure it has your necessary information to file.

     If a PEO is choosing not to prepare and file your 2019/2020 EEO-1 Component 1 report(s), please ensure that you register your company in
     the Online Filing System to submit your necessary reports. If your company is a first time filer (i.e., neither the company nor a PEO ever filed
     a report for the company), please visit EEOCdata.org/eeo1, navigate to the registration page, and follow the online instructions for companies
     filing for the first time. After submitting the registration form, a filer will receive a Company ID and Passcode. This will be used to create
     accounts for your company.

     If a PEO filed your company’s 2018 EEO-1 Component 1 report, please contact the EEO-1 Component 1 Filer Support Team through the
     filer support page ‘Contact Us’ Form. The Filer Support Team will need to spin-off your company from the PEO prior to your company
     filing.

     If I am a current client company of a PEO but they are not preparing and filing my 2019 and/or 2020 EEO-1 Component 1 report(s),
     how do I obtain prior year reports filed by the PEO on my company’s behalf?




ER-334
     You should contact your current PEO to obtain those reports.

     If I am a former client company of a PEO, how do I obtain prior year reports filed by the PEO on my company’s behalf?

     You should contact your former PEO to obtain those reports.

     If a PEO is choosing to file 2019/2020 EEO-1 Component 1 report(s) on behalf of its client companies, is the PEO required to report
                                                                                                                                                        (73 of 273), Page 73 of 273 Case: 24-880, 05/09/2024, DktEntry: 9.4, Page 73 of 273




     the employees of client companies that do not otherwise meet the EEO-1 Component 1 filing thresholds?

     No. If a client company of a PEO is not otherwise subject to the EEO-1 Component 1 filing requirements, that client company is not
     required to file an EEO-1 Component 1 report simply by virtue of being party to a PEO arrangement. Consequently, in that instance,
     neither the ineligible client company nor the PEO is required to include the employee data of the ineligible client company on the EEO-1



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     Component 1 report. For example, a single establishment company that is not a federal contractor and has less than 100 employees would
     not meet the eligibility thresholds requiring it to file an EEO-1 Component 1 report. Thus, neither this company nor its PEO would be
     required to report its employees for purposes of the EEO-1 Component 1 report.

     If a PEO is choosing to file 2019/2020 EEO-1 Component 1 report(s) on behalf of its client companies, which EIN does a PEO use to
     file for client companies’ establishments?

     For purposes of the 2019/2020 EEO-1 Component 1 data collection, a PEO should use its own EIN for its own establishments. The PEO
     should use the EIN associated with each of the client company’s establishment(s).

     If a PEO is not providing EEO-1 Component 1 reporting services for ALL a client company’s employees, is the PEO permitted to file
     an EEO-1 Component 1 report on behalf of the client company for just part of the client company’s employees?

     No. Partial workforce PEO arrangements are not permitted in EEO-1 Component 1 Reporting. In such a situation, the client company is
     responsible for filing an EEO-1 Component 1 report(s). The client company, not the PEO, must file an EEO-1 Component 1 report for all its
     employees.

     If a PEO is choosing to file 2019/2020 EEO-1 Component 1 report(s) on behalf of its client companies, which NAICS code(s) should a
     PEO use for its headquarters and any establishment reports?




ER-335
     For purposes of the 2019/2020 EEO-1 Component 1 data collection, a PEO filing a Headquarters Report for its own organization should use
     the NAICS (North American Industry Classification System) code for PEOs which is 561330 – Professional Employer Organizations.
     Additionally, a multi-establishment PEO should use this NAICS code for each of its own establishments. A PEO choosing to file
     establishment reports for the establishments of its client companies should use a NAICS code based on the major business activity at each
     client company establishment. To identify the correct NAICS code for each establishment, please reference this 2012 to 2017 NAICS
     crosswalk.
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     Additional Resources
         Additional User’s Guides:

              •    2019 and 2020 EEO-1 Component 1 Data Collection User’s Guide: New Filer Registration

              •    2019 and 2020 EEO-1 Component 1 Data Collection User’s Guide: Returning Filer Account Creation

              •    2019 and 2020 EEO-1 Component 1 Data Collection User’s Guide: How to File for Multiple Companies

              •    2019 and 2020 EEO-1 Component 1 Data Collection User’s Guide: Single-Establishments

              •    2019 and 2020 EEO-1 Component 1 Data Collection User’s Guide: Single-Establishments Data File Upload

              •    2019 and 2020 EEO-1 Component 1 Data Collection User’s Guide: Multi-Establishments Data File Upload

              •    EEO-1 Component 1 Instruction Booklet: https://eeocdata.org/eeo1/howto/instructionbooklet

              •    EEO-1 Component 1 Fact Sheets: https://eeocdata.org/eeo1/support/factsheets

              •    EEO-1 Component 1 Frequently Asked Questions and Answers: https://eeocdata.org/eeo1/support/faq




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                                  Exhibit D




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                                                                                                 Commission


                  U.S. Equal Employment Opportunity Commission




        EEO-1 Instruction Booklet

             Sample Form

        .


            EEO-1 JOINT REPORTING COMMITTEE
                                                                                O.M.B. No. 3046-0007
                  Equal Employment Opportunity Commission
                                                                                Approval Expires 9/2019
                  O ice of Federal Contract Compliance Programs



        EQUAL EMPLOYMENT
        OPPORTUNITY COMMISSION

        WASHINGTON, D.C. 20507

        EQUAL EMPLOYMENT OPPORTUNITY

        STANDARD FORM 100, REV. March 2018, EMPLOYER INFORMATION REPORT EEO-1

        INSTRUCTION BOOKLET

        The Employer Information EEO-1 report (Standard Form 100) is collected annually under the
        authority of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, et. seq., as amended. All
        employers with 15 or more employees are covered by Title VII and are required to keep employment
        records as specified by Commission regulations. Based on the number of employees and federal
        contract activities, certain employers are required to file an EEO-1 report on an annual basis under the
        Equal Employment Opportunity Commission (EEOC) and the U.S. Department of Labor O ice of
        Federal Contract Compliance Programs (OFCCP) regulations.

        See the Appendix for the applicable provisions of Title VII, Section 709(c) of Title VII, and the
        applicable EEOC regulations, Sections 1602.7-1602.14, Chapter XIV, Title 29 of the Code of Federal
        Regulations. State and local governments, public school systems and educational institutions are

                                                                             ER-338
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         1/17
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        covered by other employment reports and are excluded from Standard Form 100, Employer
        Information Report EEO-1.

        In the interests of consistency, uniformity and economy, Standard Form 100 has been jointly
        developed by the EEOC and OFCCP, as a single form which meets the statistical needs of both
        programs.

        As stated above, the filing of Standard Form 100 is required by law; it is not voluntary. Under section
        709(c) of Title VII, the Equal Employment Opportunity Commission may compel an employer to file
        this form by obtaining an order from the United States District Court.

        Under Section 209(a) of Executive Order 11246, the penalties for failure by a federal contractor or
        subcontractor to comply may include termination of the federal government contract and debarment
        from future federal contracts.

        1. WHO MUST FILE

        Standard Form 100 must be filed by --

        (A) All private employers who are (1) subject to Title VII of the Civil Rights Act of 1964, as amended,
        with 100 or more employees EXCLUDING State and local governments, public primary and secondary
        school systems, institutions of higher education, American Indian or Alaska Native tribes and tax-
        exempt private membership clubs other than labor organizations; OR (2) subject to Title VII who have
        fewer than 100 employees if the company is owned or a iliated with another company, or there is
        centralized ownership, control or management (such as central control of personnel policies and
        labor relations) so that the group legally constitutes a single enterprise, and the entire enterprise
        employs a total of 100 or more employees.

        AND

        (B) All federal contractors who (1) are not exempt as provided for by 41 CFR 60-1.5; (2) have 50 or more
        employees; (3) are prime contractors or first-tier subcontractors; and (4) have a contract, subcontract,
        or purchase order amounting to $50,000 or more; or serve as depositories of Government funds in any
        amount; or are financial institutions which are issuing and paying agents for U.S. Savings Bonds and
        or savings notes.

        Establishments located in the District of Columbia and the 50 states are required to submit Standard
        Form 100. No reports should be filed for establishments in Puerto Rico, the Virgin Islands, or other
        American Protectorates

        2. HOW TO FILE


                                                                             ER-339
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         2/17
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        (a) EEO-1 Electronic Filing Requirement:
         EEO-1 reporting is an electronic, online application. The EEOC requires that EEO-1 reports be
        submitted via the EEO-1 Online Filing System, or as an electronically transmitted data file.

        Any employer who claims that the electronic submission of Standard Form 100 would create undue
        hardship may apply to the Commission for a special reporting procedure in accordance with the
        instructions set forth in paragraph 5.

        (b) Single-establishment employers, i.e., employers doing business at only one establishment in
        one location must complete a single EEO-1 online data record.

        (c) Multi-establishment employers, i.e., employers doing business at more than one establishment
        must complete online: (1) a report covering the principal or headquarters o ice; (2) a separate report
        for each establishment employing 50 or more persons; and (3) a separate report (Type 8 record) for
        each establishment employing fewer than 50 employees, OR an Establishment List (Type 6 record),
        showing the name, address, and total employment for each establishment employing fewer than 50
        persons. For the EEO-1 online portal, companies using Establishment List reports (Type 6), must enter
        all employment data into the Consolidated report (Type 2). For the EEO-1 online application, all keyed
        employment data including data from the Type 8 reports will automatically transfer to populate the
        overall Consolidated Report.

        The total number of employees indicated on the headquarters report, PLUS the establishment
        reports, PLUS the list of establishments employing fewer than 50 employees, MUST equal the total
        number of employees shown on the Consolidated Report. Employment data for multi-establishment
        companies, including parent corporations and their subsidiary holdings, must report all employees
        working at each company establishment or subsidiary establishment. For purposes of this report, the
        term parent corporation refers to any corporation which owns all or the majority stock of another
        corporation so that the latter relates to it as a subsidiary.

        3. WHEN TO FILE

        This annual report must be filed not later than March 31 following the reporting year. Employment
        figures from any pay period in October through December may be used (workforce snapshot).

        4. CONFIDENTIALITY

        All reports and any information from individual reports are subject to the confidentiality provisions of
        Section 709(e) of Title VII, and may not be made public by the EEOC prior to the institution of any
        proceeding under Title VII involving the EEO-1 data. Any EEOC employee who violates this prohibition
        may be found guilty of a criminal misdemeanor and could be fined or imprisoned. The confidentiality
        requirements allow the EEOC to publish only aggregated data, and only in a manner that does not
        reveal any particular filer's or any individual employee's personal information.
                                                                             ER-340
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         3/17
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        OFCCP will notify contractors of any Freedom of Information Act (FOIA) requests that are made to
        obtain any of the data provided on the EEO-1 report, and will protect the confidentiality of EEO-1 data
        to the maximum extent possible consistent with FOIA and the Trade Secrets Act. However, should
        OFCCP receive FOIA requests for any EEO-1 data on filers not within its jurisdiction, OFCCP will refer
        the requests to the EEOC for a response. The confidentiality provision of Section 709(e) of Title VII
        applies to all EEO-1 data submitted by filers that are not federal contractors, and the EEOC adheres to
        that statutory provision when reviewing all requests for EEO-1 data.

        5. REQUESTS FOR INFORMATION AND SPECIAL PROCEDURES

        Where the employer claims undue hardship due to electronic submission or otherwise, the employer
        must submit in writing a detailed alternative proposal for compiling, reporting, or submitting
        information to: EEO-1 Coordinator, EEOC Survey Division, 131 M Street, NE, Room 4SW22G,
        Washington, DC 20507. In cases where the Commission approves written requests to submit paper
        EEO-1 forms, the paper EEO-1 report must be prepared in accordance with the directions set forth in
        the Commission's written approval. EEOC will generate a paper EEO-1 form only in extreme cases
        where internet access is not available to the employer. Only those special procedures approved in
        writing by the Commission are authorized. Such authorizations are only in e ect for one report year.
        Paper records may not be submitted until a er March 31.

        6. BURDEN ESTIMATE

        Public reporting burden for this collection of information is estimated to average three and five tenths
        (3.5) hours per response, including the time for reviewing instructions, searching existing data
        sources, gathering and maintaining the data needed and completing and reviewing the collection of
        information. A response is defined as one survey form.

        Comments regarding this collection of information, including suggestions for reducing burden, can be
        sent at any time to:

        EEO-1 Coordinator
        EEOC Survey Division -- Room 4SW22G
        131 M Street, N.E.
        Washington, D.C. 20507

        AND

        Paperwork Reduction Project (3046-0007)
        O ice of Management and Budget
        Washington, D.C. 20503

        The full text of the OMB regulations on the Paperwork Reduction Act may be found at 5 CFR Part 1320.
                                                                             ER-341
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         4/17
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        EEO-1 Terms

        Type of Report (Status Code)
        Single-Establishment company
        1 Single-establishment company

        Multi-establishment company
        2 Consolidated Report (Required)
        3 Headquarters Report (Required)
        4 Establishment Report (50 or more employees)
        6 Establishment List (Option 1)
        8 Establishment Report (less than 50 employees) (Option 2)
        Special Report (See 29 CFR 1602.10)

        Company Identification

        Refers to the company name and address of the headquarters o ice of the multi-establishment
        company (Report Types 2 and 3); or the establishment name and address.

        Employers Who Are Required To File

        Questions 1, 2 and 3 MUST be answered by all employers required to file the EEO-1. If the answer to
        Question C-3 is Yes, please enter the company's Dun and Bradstreet identification number if the
        company has one. If the answer is Yes to question 1, 2, or 3, complete the entire form. Otherwise skip
        to Section G.

        Employment Data

        Employment data must include ALL full-time and part-time employees who were employed during
        the payroll period selected by the employer between October 1 and December 31 (workforce
        snapshot), except those employees specifically excluded as indicated in the Appendix. Employees
        must be counted by sex and race, and ethnicity, for each of the ten occupational categories. See
        Appendix for detailed explanation of job categories and race and ethnicity identification.

        Every employee must be accounted for in only one of the categories in Columns A through N.

        Occupational Data

        Employment data must be reported by job category. Report each employee in only one job category.
        In order to simplify and standardize the method of reporting, all jobs are considered as belonging in
        one of the broad job categories shown in the EEO-1. To assist in determining where to place jobs
        within these categories, consult the description of job categories in the EEO-1 Job Classification
        Guide or the EEO-1-Census Codes Cross Walk web site
                                                                             ER-342
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         5/17
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        (https://www.census.gov/people/eeotabulation/documentation/jobgroups.pdf). For further
        clarification, consult the Alphabetical and Classified Indices of Industries and Occupations (2010
        Census) published by the U.S. Department of Commerce, Census Bureau.

        Establishment Information

        The major activity should be su iciently descriptive to identify the industry and product produced or
        service provided. If an establishment is engaged in more than one activity, describe the activity at
        which the greatest number of employees work.

        The description of the major activity indicated on the Headquarters Report (Type 3) must reflect
        the dominant economic activity of the company in which the greatest numbers of employees are
        engaged.

        Remarks

        Include in this section any remarks, explanations, or other pertinent information regarding this
        report.

        Certification

        If all reports have been completed at headquarters, the authorized o icial should check Item 1 and
        sign the Consolidated Report only. If the reports have been completed at the individual
        establishments, the authorized o icial should check Item 2 and sign the establishment report.

        APPENDIX

        1. DEFINITIONS APPLICABLE TO ALL EMPLOYERS

        a. "Commission" refers to the Equal Employment Opportunity Commission

        b. "OFCCP" refers to the O ice of Federal Contract Compliance Programs, U.S. Department of Labor,
        established to implement Executive Order 11246, as amended.

        c. "Joint Reporting Committee" is the committee representing the Commission and OFCCP for the
        purpose of administering this reporting system.

        d. "Employer" under Section 701(b), Title VII of the Civil Rights Act of 1964, as amended, means a
        person engaged in an industry a ecting commerce who has 15 or more employees for each working
        day in each of 20 or more calendar weeks in the current or preceding calendar year, and any agent of
        such a person, but such term does not include the United States, a corporation wholly owned by the
        government of the United States, American Indian or Alaska Native tribes, or any department or
        agency of the District of Columbia subject by statute to procedures of the competitive service (as
                                                                             ER-343
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         6/17
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        defined in section 2102 of Title 5 of the United States Code), or a bona fide private membership club
        (other than a labor organization) which is exempt from taxation under Section 501(c) of the Internal
        Revenue Code of 1954; OR any person or entity subject to Executive Order 11246 who is a federal
        government prime contractor or subcontractor at any tier (including a bank or other establishment
        serving as a depository of federal government funds, or an issuing and paying agent of U.S. Savings
        Bonds and savings notes, or a holder of a federal government bill of lading) or a federally-assisted
        construction prime contractor or subcontractor at any tier.

        e. "Employee" means any individual on the payroll of an employer who is an employee for purposes
        of the employers withholding of Social Security taxes except insurance sales agents who are
        considered to be employees for such purposes solely because of the provisions of 26 USC 3121 (d)(3)
        (B) (the Internal Revenue Code). Leased employees are included in this definition.

        f. "Leased Employee", for EEO-1 reporting only, means a permanent employee provided by an
        employment agency for a fee to an outside company for which the employment agency handles all
        personnel tasks including payroll, sta ing, benefit payments and compliance reporting. The
        employment agency shall include leased employees in its EEO-1 report. For EEO-1 reporting
        purposes only, the term "employee" shall not include persons who are hired on a casual basis for a
        specified time, or for the duration of a specified job (for example, a person at a construction site
        whose employment relationship is expected to terminate with the end of the employee's work at the
        site); persons temporarily employed in any industry other than construction, such as temporary o ice
        workers, mariners, stevedores, lumber yard workers, etc., who are hired through a hiring hall or other
        referral arrangement, through an employee contractor or agent, or by some individual hiring
        arrangement, or persons (EXCEPT leased employees) on the payroll of an employment agency who
        are referred by such agency for work to be performed on the premises of another employer under that
        employers direction and control. These definitions are only for purposes of clarifying who reports
        these individuals on the EEO-1 and do not have legal ramifications as to the analysis of whether a
        particular individual is an employee or an independent contractor. That is done under the factors
        enumerated by the Supreme Court in Nationwide Mutual Ins. Co. v. Darden, 503 U.S. 318 (1992).

        g."Commerce" means trade, tra ic, commerce, transportation, transmission, or communication
        among the several States; or between a State and any place outside thereof; or within the District of
        Columbia, or a possession of the United States; or between points in the same State but through a
        point outside thereof.

        h. "Industry A ecting Commerce" means any activity, business or industry in commerce or in which a
        labor dispute would hinder or obstruct commerce or the free flow of commerce and includes any
        activity or industry a ecting commerce within the meaning of the Labor Management Reporting and
        Disclosure Act of 1959. Any employer of 15 or more persons is presumed to be in an industry a ecting
        commerce.

                                                                             ER-344
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         7/17
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        i. "Establishment" is generally a single physical location where business is conducted or where
        services or industrial operations are performed (e.g., factory, mill, store, hotel, movie theater, mine,
        farm, airline terminal, sales o ice, warehouse, or central administrative o ice (definition adapted
        from the North American Industry Classification System, 2012).

        Units at di erent physical locations, even though engaged in the same kind of business operation,
        must be reported as separate establishments. For locations involving construction, transportation,
        communications, electric, gas, and sanitary services, oil and gas fields, and similar types of physically
        dispersed industrial activities, however, it is not necessary to list separately each individual site,
        project, field, line, etc., unless it is treated by you as a separate legal entity. For these types of
        activities, list as establishments only those relatively permanent main or branch o ices, terminals,
        stations etc., which are either: (a) directly responsible for supervising such dispersed activities (where
        employees work from home, they should be reported as if working at the establishment where their
        supervisor is reported to work); or (b) the base from which personnel and equipment operate to carry
        out these activities. (Where these dispersed activities cross State lines, at least one such
        establishment should be listed for each State involved.)

        j. "Major Activity" means the major product or group of products produced or handled, or services
        rendered by the reporting unit (e.g., manufacturing airplane parts, retail sales of o ice furniture) in
        terms of the activity at which the greatest number of all employees work. The description includes the
        type of product manufactured or sold or the type of service provided. "Major Activity" is based on the
        industrial definitions developed by the federal government as adopted by the EEOC (For example, the
        North American Industry Classification System, 2012).

        It is the opinion of the Commission that Section 702 of Title VII of the Civil Rights Act of 1964, as
        amended, does not authorize a complete exemption of religious organizations from the coverage of
        the Act or of the reporting requirements of the Commission. The exemption for religious organizations
        applies to their employment of individuals of a particular religion to perform work connected with the
        organization's activities. Therefore, since the Standard Form 100 does not provide for information as
        to the religion of employees, religious organizations must report all information required by this
        report.

        2. DEFINITIONS APPLICABLE ONLY TO GOVERNMENT CONTRACTORS SUBJECT TO EXECUTIVE
        ORDER 11246

        a. "Order" means Executive Order 11246, as amended.

        b. "Contract" means any government contract or any federally-assisted construction contract.

        c. "Prime Contractor" means any employer having a government contract or any federally-assisted
        construction contract, or any employer serving as a depository of federal government funds.
                                                                             ER-345
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        d. "Subcontractor" means any employer having a contract with a prime contractor or another
        subcontractor calling for supplies or services required for the performance of a government contract
        or federally assisted construction contract.

        e. "Contracting Agency" means any department, agency and establishment in the executive branch of
        the government, including any wholly-owned government corporation, which enters into contracts.

        f. "Administering Agency" means any department, agency and establishment in the executive branch
        of the government, including any wholly-owned government corporation, which administers a
        program involving federally-assisted construction contracts.

        3. RESPONSIBILITIES OF PRIME CONTRACTORS

        a. At the time of an award of a subcontract subject to these reporting requirements, the prime
        contractor shall inform the subcontractor of its responsibility to submit annual EEO-1 employment
        data in accordance with these instructions.

        b. If prime contractors are required by their Contracting O icer or subcontractors by their prime
        contractors, to submit notification of filing, they shall do so by ordinary correspondence. However,
        such notification is not required by and should not be sent to the Joint Reporting Committee.

        4. RACE, ETHNIC, AND SEX IDENTIFICATION

        Self-identification is the preferred method of identifying the race and ethnic information necessary
        for the EEO-1 report. Employers are required to attempt to allow employees to use self-identification
        to complete the EEO-1 report.

        As to the method of collecting data, the basic principles for ethnic and racial self-identification for
        purposes of the EEO-1 report are:

        (1) O er employees the opportunity to self-identify
         (2) Provide a statement about the voluntary nature of this inquiry for employees. For example,
        language such as the following may be used (employers may adapt this language):

        "The employer is subject to certain governmental recordkeeping and reporting requirements for the
        administration of civil rights laws and regulations. In order to comply with these laws, the employer
        invites employees to voluntarily self-identify their race or ethnicity. Submission of this information is
        voluntary and refusal to provide it will not subject you to any adverse treatment. The information
        obtained will be kept confidential and may only be used in accordance with the provisions of
        applicable laws, executive orders, and regulations, including those that require the information to be
        summarized and reported to the federal government for civil rights enforcement. When reported,
        data will not identify any specific individual."
                                                                             ER-346
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                          9/17
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        If an employee declines to self-identify his or her race and/or ethnicity, employment records or
        observer identification may be used. Where records are maintained, it is recommended that they be
        kept separately from the employee's basic personnel file or other records available to those
        responsible for personnel decisions.

        Race and ethnicity designations as used by the Equal Employment Opportunity Commission for the
        EEO-1 do not denote scientific definitions of anthropological origins. In addition, such designations
        do not control who is protected by Title VII's prohibitions against employment discrimination based
        on race or national origin.

        Definitions of the EEO-1 race and ethnicity categories are as follows:

        Hispanic or Latino - A person of Cuban, Mexican, Puerto Rican, South or Central American, or other
        Spanish culture or origin regardless of race.

        White (Not Hispanic or Latino) - A person having origins in any of the original peoples of Europe, the
        Middle East, or North Africa.

        Black or African American (Not Hispanic or Latino) - A person having origins in any of the black
        racial groups of Africa.

        Native Hawaiian or Pacific Islander (Not Hispanic or Latino) - A person having origins in any of the
        peoples of Hawaii, Guam, Samoa, or other Pacific Islands.

        Asian (Not Hispanic or Latino) - A person having origins in any of the original peoples of the Far East,
        Southeast Asia, or the Indian Subcontinent, including, for example, Cambodia, China, India, Japan,
        Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.

        Native American or Alaska Native (Not Hispanic or Latino) - A person having origins in any of the
        original peoples of North and South America (including Central America), and who maintain tribal
        a iliation or community attachment.

        Twoor More Races (Not Hispanic or Latino) - All persons who identify with more than one of the
        above five races.



        Instructions for assigning employees into
        the race/ethnic categories:
        Hispanic or Latino - Include all employees who answer YES to the question, Are you Hispanic or
        Latino. Report all Hispanic males in Column A and Hispanic females in Column B.

                                                                             ER-347
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         10/17
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        White (Not Hispanic or Latino) - Include all employees who identify as White males in Column C and
        as White females in Column I.

        Black or African American (Not Hispanic or Latino)- Include all employees who identify as Black
        males in Column D and as Black females in Column J.

        Native Hawaiian or Pacific Islander (Not Hispanic or Latino) - Include all employees who identify as
        Native Hawaiian or Other Pacific Islander males in Column E and as Native Hawaiian or Other Pacific
        Islander females in Column K.

        Asian (Not Hispanic or Latino) - Include all employees who identify as Asian males in Column F and
        as Asian females in Column L.
        Native American or Alaska Native (Not Hispanic or Latino) - Include all employees who identify as
        Native American or Alaska Native males in Column G and as Native American or Alaska Native females
        in Column M.

        Two or More Races (Not Hispanic or Latino) - Report all male employees who identify with more
        than one of the above five races in Column H and all female employees who identify with more than
        one of the above five races in Column N.

        5. DESCRIPTION OF JOB CATEGORIES

        The major job categories are listed below, including a brief description of the skills and training
        required for occupations in that category and examples of the job titles that fit each category. The
        examples shown below are illustrative and not intended to be exhaustive of all job titles in a job
        category. These job categories are primarily based on the average skill level, knowledge, and
        responsibility involved in each occupation within the job category.

        The O icials and Managers category as a whole is to be divided into the following two subcategories:
        Executive/Senior Level O icials and Managers, and First/Mid Level O icials and Managers. These
        subcategories are intended to mirror the employers own well established hierarchy of management
        positions. Small employers who may not have two well-defined hierarchical steps of management
        should report their management employees in the appropriate categories.

        Executive/Senior Level O icials and Managers. Individuals who plan, direct and formulate policies,
        set strategy and provide the overall direction of enterprises/organizations for the development and
        delivery of products or services, within the parameters approved by boards of directors or other
        governing bodies. Residing in the highest levels of organizations, these executives plan, direct or
        coordinate activities with the support of subordinate executives and sta managers. They include, in
        larger organizations, those individuals within two reporting levels of the CEO, whose responsibilities
        require frequent interaction with the CEO. Examples of these kinds of managers are: chief executive
        o icers, chief operating o icers, chief financial o icers, line of business heads, presidents or
                                                                             ER-348
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        executive vice presidents of functional areas or operating groups, chief information o icers, chief
        human resources o icers, chief marketing o icers, chief legal o icers, management directors and
        managing partners.

        First/Mid Level O icials and Managers.Individuals who serve as managers, other than those who
        serve as Executive/Senior Level O icials and Managers, including those who oversee and direct the
        delivery of products, services or functions at group, regional or divisional levels of organizations.
        These managers receive directions from the Executive/Senior Level management and typically lead
        major business units. They implement policies, programs and directives of executive/senior
        management through subordinate managers and within the parameters set by Executive/Senior Level
        management. Examples of these kinds of managers are: vice presidents and directors, group, regional
        or divisional controllers; treasurers; human resources, information systems, marketing, and
        operations managers. The First/Mid Level O icials and Managers subcategory also includes those
        who report directly to middle managers. These individuals serve at functional, line of business
        segment or branch levels and are responsible for directing and executing the day-to-day operational
        objectives of enterprises/organizations, conveying the directions of higher level o icials and
        managers to subordinate personnel and, in some instances, directly supervising the activities of
        exempt and non-exempt personnel. Examples of these kinds of managers are: first-line managers;
        team managers; unit managers; operations and production mangers; branch managers;
        administrative services managers; purchasing and transportation managers; storage and distribution
        managers; call center or customer service managers; technical support managers; and brand
         or product managers.

        Professionals. Most jobs in this category require bachelor and graduate degrees, and/or professional
        certification. In some instances, comparable experience may establish a person's qualifications.
        Examples of these kinds of positions include: accountants and auditors; airplane pilots and flight
        engineers; architects; artists; chemists; computer programmers; designers; dieticians; editors;
        engineers; lawyers; librarians; mathematical scientists; natural scientists; registered nurses; physical
        scientists; physicians and surgeons; social scientists; teachers; and surveyors.

        Technicians. Jobs in this category include activities that require applied scientific skills, usually
        obtained by post-secondary education of varying lengths, depending on the particular occupation,
        recognizing that in some instances additional training, certification, or comparable experience is
        required. Examples of these types of positions include: dra ers; emergency medical technicians;
        chemical technicians; and broadcast and sound engineering technicians.

        Sales Workers. These jobs include non-managerial activities that wholly and primarily involve direct
        sales. Examples of these types of positions include: advertising sales agents; insurance sales agents;
        real estate brokers and sales agents; wholesale sales representatives; securities, commodities, and


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        financial services sales agents; telemarketers; demonstrators; retail salespersons; counter and rental
        clerks; and cashiers.

        Administrative Support Workers. These jobs involve non-managerial tasks providing administrative
        and support assistance, primarily in o ice settings. Examples of these types of positions include:
        o ice and administrative support workers; bookkeeping; accounting and auditing clerks; cargo and
        freight agents; dispatchers; couriers; data entry keyers; computer operators; shipping, receiving and
        tra ic clerks; word processors and typists; proofreaders; desktop publishers; and general o ice clerks.

        Cra Workers (formerly Cra Workers (Skilled)). Most jobs in this category include higher skilled
        occupations in construction (building trades cra workers and their formal apprentices) and natural
        resource extraction workers. Examples of these types of positions include: boilermakers; brick and
        stone masons; carpenters; electricians; painters (both construction and maintenance); glaziers;
        pipelayers, plumbers, pipefitters and steamfitters; plasterers; roofers; elevator installers; earth
        drillers; derrick operators; oil and gas rotary drill operators; and blasters and explosive workers. This
        category also includes occupations related to the installation, maintenance and part replacement of
        equipment, machines and tools, such as: automotive mechanics; aircra mechanics; and electric and
        electronic equipment repairers. This category also includes some production occupations that are
        distinguished by the high degree of skill and precision required to perform them, based on clearly
        defined task specifications, such as: millwrights; etchers and engravers; tool and die makers; and
        pattern makers.

        Operatives (formerly Operatives (Semi-skilled)). Most jobs in this category include intermediate
        skilled occupations and include workers who operate machines or factory-related processing
        equipment. Most of these occupations do not usually require more than several months of training.
        Examples include: textile machine workers; laundry and dry cleaning workers; photographic process
        workers; weaving machine operators; electrical and electronic equipment assemblers; semiconductor
        processors; testers, graders and sorters; bakers; and butchers and other meat, poultry and fish
        processing workers. This category also includes occupations of generally intermediate skill levels that
        are concerned with operating and controlling equipment to facilitate the movement of people or
        materials, such as: bridge and lock tenders; truck, bus or taxi drivers; industrial truck and tractor
        (forkli ) operators; parking lot attendants; sailors; conveyor operators; and hand packers and
        packagers.

        Laborers and Helpers (formerly Laborers (Unskilled)). Jobs in this category include workers with
        more limited skills who require only brief training to perform tasks that require little or no
        independent judgment. Examples include: production and construction worker helpers; vehicle and
        equipment cleaners; laborers; freight, stock and material movers; service station attendants;
        construction laborers; refuse and recyclable materials collectors; septic tank servicers; and sewer
        pipe cleaners.

                                                                             ER-350
     https://www.eeoc.gov/employers/eeo-1-survey/eeo-1-instruction-booklet                                         13/17
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        Service Workers. Jobs in this category include food service, cleaning service, personal service, and
        protective service activities. Skill may be acquired through formal training, job-related training or
        direct experience. Examples of food service positions include: cooks; bartenders; and other food
        service workers. Examples of personal service positions include: medical assistants and other
        healthcare support positions; hairdressers; ushers; and transportation attendants. Examples of
        cleaning service positions include: cleaners; janitors; and porters. Examples of protective service
        positions include: transit and railroad police and fire fighters; guards; private detectives and
        investigators.

        6. LEGAL BASIS FOR REQUIREMENTS

        SECTION 709(c), TITLE VII, CIVIL RIGHTS ACT OF 1964, AS AMENDED

        Execution, retention, and preservation of records; reports to Commission; training program records;
        appropriate relief from regulation or order for undue hardship; procedure for exemption; judicial
        action to compel compliance.

        Every employer, employment agency, and labor organization subject to this subchapter shall: (1)
        make and keep such records relevant to the determinations of whether unlawful employment
        practices have been or are being committed, (2) preserve such records for such periods, and (3) make
        such reports therefrom as the Commission shall prescribe by regulation or order, a er public hearing,
        as reasonable, necessary, or appropriate for the enforcement of this title or the regulations or orders
        thereunder. The Commission shall, by regulation, require each employer, labor organization, and joint
        labor-management committee subject to this subchapter which controls an apprenticeship or other
        training program to maintain such records as are reasonably necessary to carry out the purposes of
        this subchapter, including, but not limited to, a list of applicants who wish to participate in such
        program, including the chronological order in which applications were received, and to furnish to the
        Commission upon request, a detailed description of the manner in which persons are selected to
        participate in the apprenticeship or other training program. Any employer, employment agency, labor
        organization, or joint labor-management committee which believes that the application to it of any
        regulation or order issued under this section would result in undue hardship may apply to the
        Commission for an exemption from the application of such regulation or order, and, if such
        application for an exemption is denied, bring a civil action in the United States District Court for the
        district where such records are kept. If the Commission or the court, as the case may be, finds that the
        application of the regulation or order to the employer, employment agency, or labor organization in
        question would impose an undue hardship, the Commission or the court, as the case may be, may
        grant appropriate relief. If any person required to comply with the provisions of this subsection fails or
        refuses to do so, the United States District Court for the district in which such person is found, resides,
        or transacts business, shall, upon application of the Commission, or the Attorney General in a case


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        involving a government, governmental agency or political subdivision, have jurisdiction to issue to
        such person an order requiring him to comply.

        TITLE 29, CHAPTER XIV CODE OF FEDERAL REGULATIONS

        Subpart B -- Employer Information Report

        §1602.7 Requirement for filing of report.

        On or before March 31 of each year, every employer that is subject to Title VII of the Civil Rights Act of
        1964, as amended, and that has 100 or more employees, shall file with the Commission or its delegate
        executed copies of Standard Form 100, as revised (otherwise known as "Employer Information Report
        EEO-1"), in conformity with the directions set forth in the form and accompanying instructions.
        Notwithstanding the provisions of §1602.14, every such employer shall retain at all times at each
        reporting unit, or at company or divisional headquarters, a copy of the most recent report filed for
        each such unit and shall make the same available if requested by an o icer, agent, or employee of the
        Commission under the authority of section 710 of Title VII. Appropriate copies of Standard Form 100
        in blank will be supplied to every employer known to the Commission to be subject to the reporting
        requirements, but it is the responsibility of all such employers to obtain necessary supplies of the
        form from the Commission or its delegate prior to the filing date.

        §1602.8 Penalty for making of willfully false statements on report.

        The making of willfully false statements on Report EEO-1 is a violation of the United States Code, Title
        18, section 1001, and is punishable by fine or imprisonment as set forth therein.

        §1602.9 Commissions remedy for employers failure to file report.

        Any employer failing or refusing to file Report EEO-1 when required to do so may be compelled to file
        by order of a U.S. District Court, upon application of the Commission.

        §1602.10 Employers exemption from reporting requirements.

        If an employer claims that the preparation or filing of the report would create undue hardship, the
        employer may apply to the Commission for an exemption from the requirements set forth in this part,
        according to instruction 5. If an employer is engaged in activities for which the reporting unit criteria
        described in section 5 of the instructions is not readily adaptable, special reporting procedures may
        be required. If an employer seeks to change the date for filing its Standard Form 100 or seeks to
        change the period for which data are reported, an alternative reporting date or period may be
        permitted. In such instances, the employer should so advise the Commission by submitting to the
        Commission or its delegate a specific written proposal for an alternative reporting system prior to the
        date on which the report is due.
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        §1602.11 Additional reporting requirements.

        The Commission reserves the right to require reports, other than that designated as the Employer
        Information Report EEO-1, about the employment practices of individual employers or groups of
        employers whenever, in its judgment, special or supplemental reports are necessary to accomplish
        the purposes of Title VII, the ADA, or GINA. Any system for the requirement of such reports will be
        established in accordance with the procedures referred to in section 709(c) of Title VII, section 107 of
        the ADA, or section 207(a) of GINA and as otherwise prescribed by law.

        Subpart C--Recordkeeping by Employers

        §1602.12 Records to be made or kept.

        The Commission has not adopted any requirement, generally applicable to employers, that records
        be made or kept. It reserves the right to impose recordkeeping requirements upon individual
        employers or groups of employers subject to its jurisdiction whenever, in its judgment, such records
        (a) are necessary for the e ective operation of the EEO-1 reporting system or of any special or
        supplemental reporting system as described above; or (b) are further required to accomplish the
        purposes of Title VII, the ADA, or GINA. Such record-keeping requirements will be adopted in
        accordance with the procedures referred to in section 709(c) of Title VII, section 107 of the ADA, or
        section 207(a) of GINA, and otherwise prescribed by law.

        §1602.13 Records as to racial or ethnic identity of employees.

        Employers may acquire the information necessary for completion of Section D of the EEO-1 either by
        visual surveys of the work force, or at their option, by the maintenance of post-employment records
        as to the identity of employees where the same is permitted by State law. In the latter case, however,
        the Commission recommends the maintenance of a permanent record as to the racial or ethnic
        identity of an individual for purpose of completing the report form only where the employer keeps
        such records separately from the employees basic personnel form or other records available to those
        responsible for personnel decisions, e.g., as part of an automatic data processing system in the
        payroll department.

        §1602.14 Preservation of records made or kept.

        Any personnel or employment record made or kept by an employer (including but not necessarily
        limited to requests for reasonable accommodation, application forms submitted by applicants and
        other records having to do with hiring, promotion, demotion, transfer, lay-o or termination, rates of
        pay or other terms of compensation, and selection for training or apprenticeship) shall be preserved
        by the employer for a period of one year from the date of the making of the record or the personnel
        action involved, whichever occurs later. In the case of involuntary termination of an employee, the
        personnel records of the individual terminated shall be kept for a period of one year from the date of
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        termination. Where a charge of discrimination has been filed, or an action brought by the Commission
        or the Attorney General, against an employer under Title VII, the ADA, or GINA, the respondent
        employer shall preserve all personnel records relevant to the charge or action until final disposition of
        the charge or the action. The term "personnel records relevant to the charge," for example, would
        include personnel or employment records relating to the aggrieved person and to all other employees
        holding positions similar to that held or sought by the aggrieved person and application forms or test
        papers completed by an unsuccessful applicant and by all other candidates for the same position as
        that for which the aggrieved person applied and was rejected. The date of final disposition of the
        charge or the action means the date of expiration of the statutory period within which the aggrieved
        person may bring an action in a U.S. District Court or, where an action is brought against an employer
        either by the aggrieved person, the Commission, or by the Attorney General, the date on which such
        litigation is terminated.


        EEO-1 Survey Home

        About the EEO-1 Survey

        EEO-1 Instruction Booklet

        Data File Format & Instructions

        Reference Documents




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                                  Exhibit E




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    MAJORITY MEMBERS:                                                                                 MINORITY MEMBERS:

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    GLENN THOMPSON, PENNSYLVANIA                                                                      JOE COURTNEY, CONNECTICUT
    TIM WALBERG, MICHIGAN                                                                             GREGORIO KILILI CAMACHO SABLAN,
    GLENN GROTHMAN, WISCONSIN                                                                         NORTHERN MARIANA ISLANDS
    ELISE M. STEFANIK, NEW YORK                                                                       FREDERICA S. WILSON, FLORIDA
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    JIM BANKS, INDIANA                                                                                MARK TAKANO, CALIFORNIA
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    LLOYD SMUCKER, PENNSYLVANIA
    BURGESS OWENS, UTAH
                                                         COMMITTEE ON                                 MARK DESAULNIER, CALIFORNIA
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    MICHELLE STEEL, CALIFORNIA
    RON ESTES, KANSAS
                                                      U.S. HOUSE OF REPRESENTATIVES                   JAHANA HAYES, CONNECTICUT
                                                                                                      ILHAN OMAR, MINNESOTA
    JULIA LETLOW, LOUISIANA                         2176 RAYBURN HOUSE OFFICE BUILDING                HALEY M. STEVENS, MICHIGAN
    KEVIN KILEY, CALIFORNIA                                                                           TERESA LEGER FERNÁNDEZ,
    AARON BEAN, FLORIDA                                  WASHINGTON, DC 20515-6100                    NEW MEXICO
    ERIC BURLISON, MISSOURI                                                                           KATHY E. MANNING, NORTH CAROLINA
    NATHANIEL MORAN, TEXAS                                                                            FRANK J. MRVAN, INDIANA
    JOHN JAMES, MICHIGAN                                                                              JAMAAL BOWMAN, NEW YORK
    LORI CHAVEZ-DEREMER, OREGON
    BRANDON WILLIAMS, NEW YORK
    ERIN HOUCHIN, INDIANA




                                                            February 10, 2023


                   The Honorable Jenny R. Yang
                   Director
                   Office of Federal Contract Compliance Programs
                   U.S. Department of Labor
                   200 Constitution Ave., NW
                   Washington, DC 20210

                   Re:          Release of EEO-1 Data

                   Dear Director Yang:

                   I have serious concerns that the Department of Labor’s Office of Federal Contract Compliance
                   Programs (OFCCP) has not provided federal contractors, especially smaller employers, with
                   sufficient information and time to object to having their confidential data released pursuant to a
                   Freedom of Information Act (FOIA) request from the Center for Investigative Reporting, a left-
                   of-center journalism organization. OFCCP’s failures could result in disclosing employers’ and
                   employees’ sensitive, confidential information without due process.

                   The Employer Information Report (EEO-1) requires federal contractors with 50 or more
                   employees to submit demographic workforce data to the Equal Employment Opportunity
                   Commission (EEOC) and OFCCP, including data by race, ethnicity, sex, and job categories. The
                   Type 2 Consolidated EEO-1 report combines data from employers with different locations into
                   one report, and these reports can reveal the private information of individual employees,
                   especially for smaller employers. It is a crime for any EEOC officer or employee to disclose this
                   information, and OFCCP may not have the authority to make such disclosures. 1

                   Last week, OFCCP published a list of 13,521 employers who are recorded by the agency as not
                   objecting to the disclosure of Type 2 EEO-1 data for the years 2016-2020 (non-objector list) in
                   response to the FOIA request. On February 7, OFCCP extended the deadline to February 17 for



                   1
                       42 U.S.C. § 2000e-8(e).




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           The Honorable Jenny R. Yang
           February 10, 2023
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           employers to notify OFCCP that they are wrongly on the non-objector list. 2 However, I am
           concerned OFCCP has not taken the necessary steps to notify federal contractors, especially
           smaller employers, that the non-objector list may have errors or that employers were required to
           submit objections previously to prevent their sensitive data from being released.

           It has come to my attention that an alarming number of employers on the list have submitted
           objections to OFCCP but are still included as non-objectors. This alone shows that much more
           time is needed to correct the list and for employers to ensure their non-objector status is
           recorded.

           It further appears that many employers were not aware of the pending FOIA request at OFCCP.
           The agency must do a much better job of informing federal contractors, especially smaller
           employers, about their rights and obligations. I am also aware that OFCCP has not provided
           information to all relevant employers about what data will be disclosed in response to the FOIA
           request. These employers could not determine whether to submit objections because they did not
           know what information OFCCP would turn over. Employers who were unaware of the FOIA
           request or were not provided sufficient information about the potential disclosure should be
           allowed additional time to submit objections regarding their Type 2 EEO-1 data being disclosed.

           For these reasons, I request that OFCCP re-open the period for employers to submit objections to
           the Type 2 EEO-1 data being released for 60 days. I also request that OFCCP extend the
           deadline for employers to notify the agency they are wrongly on the non-objector list by 60 days.
           I further request that OFCCP immediately ensure that every employer on the non-objector list is
           notified of their status as a non-objector and of what they must do to submit objections or correct
           the record if they are wrongly on the list. Please respond by February 14 indicating whether
           OFCCP will reopen the period for submitting objections and extend the deadline for notifying
           the agency that the non-objector list has an error.

           In addition, to understand more fully the process OFCCP has undertaken in response to the FOIA
           request, please respond to the following requests and questions in writing by February 24:

               1. Provide all notices and communications from OFCCP to employers regarding their
                  potential obligations to submit objections with respect to the FOIA request.

               2. What percentage of employers on the non-objector list have been informed that they are
                  on the list? How many employers on the list have not been informed about the FOIA
                  request and their potential obligations?

               3. What steps did OFCCP take to inform employers that they needed to submit objections so
                  that their sensitive Type 2 EEO-1 data is not disclosed? When did OFCCP take those
                  actions?


           2
             OFCCP EXTENDS DEADLINE FROM FEBRUARY 7, 2023, TO FEBRUARY 17, 2023, FOR FEDERAL CONTRACTORS TO
           ASSERT TYPE 2 EEO-1 DATA SHOULD NOT BE RELEASED, https://www.dol.gov/agencies/ofccp/submitter-notice-
           response-portal.




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              4. What actions is OFCCP planning to take to ensure employers are fully informed of their
                 rights and obligations with respect to the FOIA request?

           Thank you for your attention to these requests.

           Sincerely,




           Virginia Foxx
           Chairwoman

           Enclosure




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                                   Responding to Committee Document Requests

           1. In complying with this request, you should produce all responsive documents that are in your
              agency’s possession, custody, or control, whether held by you or other past or present
              employees of the executive branch, or a representative acting on your behalf. Your response
              should also produce documents that you have a legal right to obtain, that the agency has a
              right to copy or to which you have access, or that you have placed in the temporary
              possession, custody, or control of any third party. Requested records, documents, data or
              information should not be destroyed, modified, removed, transferred or otherwise made
              inaccessible to the Committee on Education and the Workforce (the “Committee”).

           2. If any entity, organization or individual denoted in this request has been, or is also known by
              any other name than that herein denoted, the request shall be read also to include that
              alternative identification.

           3. The Committee's preference is to receive documents in electronic form (i.e., email, CD,
              memory stick, or thumb drive) in lieu of paper productions.

           4. Documents produced in electronic format should also be organized, identified, and indexed
              electronically.

           5. Electronic document productions should be prepared according to the following standards:

                  (a) The production should consist of single page Tagged Image File ("TIF"), files
                      accompanied by a Concordance-format load file, an Opticon reference file, and a file
                      defining the fields and character lengths of the load file.

                  (b) Document numbers in the load file should match document Bates numbers and TIF
                      file names.

                  (c) If the production is completed through a series of multiple partial productions, field
                      names and file order in all load files should match.

           6. Documents produced to the Committee should include an index describing the contents of
              the production. To the extent more than one CD, hard drive, memory stick, thumb drive, box
              or folder is produced, each CD, hard drive, memory stick, thumb drive, box, or folder should
              contain an index describing its contents.

           7. Documents produced in response to this request shall be produced together with copies of file
              labels, dividers or identifying markers with which they were associated when they were
              requested.

           8. When you produce documents, you should identify the paragraph, question number or
              request number in the Committee’s request to which the documents respond.




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           9. It shall not be a basis for refusal to produce documents that any other person or entity—either
              inside or outside of the executive branch—also possesses non-identical or identical copies of
              the same documents.

           10. If any of the requested information is only reasonably available in machine-readable form
               (such as on a computer server, hard drive, or computer backup tape), the agency’s staff
               should consult with the Committee staff to determine the appropriate format in which to
               produce the information.

           11. If compliance with the request cannot be made in full, compliance shall be made to the extent
               possible and shall include a written explanation of why full compliance is not possible.

           12. In the event that a document or portion of a document is withheld on the basis of privilege,
               provide a privilege log containing the following information concerning any such document
               or redaction: (a) the privilege asserted; (b) the type of document; (c) the general subject
               matter; (d) the date, author, and addressee; and (e) the relationship of the author and
               addressee to each other.

           13. If any document responsive to this request was, but no longer is, in your possession, custody,
               or control, identify the document (stating its date, author, subject and recipients) and explain
               the circumstances under which the document ceased to be in your possession, custody, or
               control.

           14. If a date or other descriptive detail set forth in this request referring to a document is
               inaccurate, but the actual date or other descriptive detail is known to you or other agency
               employees, or is otherwise apparent from the context of the request, you should produce all
               documents which would be responsive as if the date or other descriptive detail were correct.

           15. The time period covered by this request is included in the attached request. To the extent a
               time period is not specified, produce relevant documents from January 20, 2021 to the
               present.

           16. This request is continuing in nature and applies to any newly-discovered information. Any
               record, document, compilation of data or information, not produced because it has not been
               located or discovered by the return date, shall be produced immediately upon subsequent
               location or discovery. Such submission shall include an explanation as to why the
               information was not produced originally.

           17. All documents shall be Bates-stamped sequentially and produced sequentially.

           18. If physical documents are to be delivered, two sets of documents should be delivered, one set
               to the Majority Staff in Room 2176 of the Rayburn House Office Building and one set to the
               Minority Staff in Room 2101 of the Rayburn House Office Building during Committee office
               hours (9am-5pm, unless other arrangements are made) and signed by members of the
               respective staffs upon delivery.




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           19. Upon completion of the document production, the agency’s written response should include a
               written certification, signed by the Secretary or his or her designee, stating that: (1) a diligent
               search has been completed of all documents in your possession, custody, or control which
               reasonably could contain responsive documents; and (2) all documents located during the
               search that are responsive have been produced to the Committee.

           20. If the agency does not expect to produce all documents responsive to this letter by the date
               requested, the agency’s staff shall consult with the Committee as soon as it is known the
               agency cannot meet the deadline, but no later than 24 hours before the due date to explain:
               (1) what will be provided by the due date, (2) why the agency believes certain materials
               cannot be produced by the due date, and (3) the agency’s proposed timeline for providing any
               omitted information.

           21. The agency’s response to questions and request should be answered or provided in separate
               document and not included inside a narrative response.

                                                        Definitions

           1. The term “document” means any written, recorded, or graphic matter of any nature
              whatsoever, regardless of how recorded, and whether original or copy, including, but not
              limited to, the following: memoranda, reports, expense reports, books, manuals, instructions,
              financial reports, working papers, records, notes, letters, notices, confirmations, telegrams,
              receipts, appraisals, pamphlets, magazines, newspapers, prospectuses, inter-office and intra-
              office communications, electronic mail (e-mail), contracts, cables, notations of any type of
              conversation, telephone call, meeting or other communication, bulletins, printed matter,
              computer printouts, teletypes, invoices, transcripts, diaries, analyses, returns, summaries,
              minutes, bills, accounts, estimates, projections, comparisons, messages, correspondence,
              press releases, circulars, financial statements, reviews, opinions, offers, studies and
              investigations, questionnaires and surveys, and work sheets (and all drafts, preliminary
              versions, alterations, modifications, revisions, changes, and amendments of any of the
              foregoing, as well as any attachments or appendices thereto), and graphic or oral records or
              representations of any kind (including without limitation, photographs, charts, graphs,
              microfiche, microfilm, videotape, recordings and motion pictures), and electronic,
              mechanical, and electric records or representations of any kind (including, without limitation,
              tapes, cassettes, disks, and recordings) and other written, printed, typed, or other graphic or
              recorded matter of any kind or nature, however produced or reproduced, and whether
              preserved in writing, film, tape, disk, videotape or otherwise. A document bearing any
              notation not a part of the original text is to be considered a separate document. A draft or
              non-identical copy is a separate document within the meaning of this term.

           2. The term “communication” means each manner or means of disclosure or exchange of
              information, regardless of means utilized, whether oral, electronic, by document or
              otherwise, and whether in a meeting, by telephone, facsimile, email, regular mail, telexes,
              releases, or otherwise.




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           3. The terms “and” and “or” shall be construed broadly and either conjunctively or disjunctively
              to bring within the scope of this request any information which might otherwise be construed
              to be outside its scope. The singular includes plural number, and vice versa. The masculine
              includes the feminine and neuter genders.

           4. The terms “person” or “persons” mean natural persons, firms, partnerships, associations,
              corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates,
              or other legal, business or government entities, and all subsidiaries, affiliates, divisions,
              departments, branches, or other units thereof.

           5. The term “identify,” when used in a question about individuals, means to provide the
              following information: (a) the individual's complete name and title; and (b) the individual's
              business address and phone number.

           6. The term “referring or relating,” with respect to any given subject, means anything that
              constitutes, contains, embodies, reflect s, identifies, states, refers to, deals with or is pertinent
              to that subject in any manner whatsoever.

           7.    The term “agency” means any department, independent establishment, or corporation of the
                federal government. For the purposes of responding to oversight requests, the Committee
                expects information to be provided from all sub-agencies of an agency and not just the
                information that is immediately available to the addressee or the addressee’s immediate sub-
                agency.




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         1                                    UNITED STATES DISTRICT COURT

         2                                  NORTHERN DISTRICT OF CALIFORNIA

         3

         4   THE CENTER FOR INVESTIGATIVE                     ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                        )
         5                                                    )
                     Plaintiffs,                              ) DECLARATION OF HELENE BAXTER IN
         6                                                    ) SUPPORT OF DEFENDANT DEPARTMENT
                v.                                            ) OF LABOR’S MOTION FOR SUMMARY
         7                                                    ) JUDGMENT
             UNITED STATES DEPARTMENT OF                      )
         8   LABOR,                                           )
                                                              )
         9                                                    )
                     Defendant.                               )
        10                                                    )

        11

        12           I, Helene Baxter, state as follows:
        13           1.      I am Vice President, Corporate Employment Counsel for Universal Services of America,
        14 LP d/b/a Allied Universal Security Services (“Allied Universal”). I submit this declaration in support of

        15 the United States Department of Labor’s (“DOL’s”) Motion for Summary Judgment in the above-

        16 captioned matter. I have personal knowledge of the following facts and if called to testify, I could and

        17 would competently testify thereto.

        18           2.      My position of Vice President, Corporate Employment Counsel involves the national
        19 oversight and handling of legal and compliance matters that affect Allied Universal’s employees,

        20 employment practices, regulatory employment issues (including issues arising from Allied Universal’s

        21 status as a federal contractor), and the handling of employee disputes. I previously worked for a

        22 company acquired by Allied Universal called G4S Secure Solutions where I worked in the position of

        23 Senior Counsel, which involved similar duties. I was elevated to Vice President soon after joining Allied

        24 Universal. Working in the position of Vice President, Corporate Employment Counsel for Allied

        25 Universal provides me with direct knowledge of and insight on Allied Universal’s business and

        26 employment practices as well as the legal and practical issues and concerns relating to the potential

        27 disclosure of its EEO-1 Type 2 reporting via the Freedom of Information Act (“FOIA”), as well as

        28

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         1 knowledge of and insight on the potential harms that would likely result from such disclosure.

         2          3.      Allied Universal, which originally began doing business (under a prior corporate name)

         3 in 1957, is the nation’s largest provider of security guards and related services and is one of the largest

         4 employers in the United States. Allied Universal is headquartered in Irvine, California and services all

         5 50 U.S. states in addition to maintaining global operations. Allied Universal is not a publicly traded

         6 company. In addition to providing security guards and related services for commercial customers and

         7 operations, Allied Universal further provides specialized security guards and related services for critical

         8 sites and infrastructure, such as those involving aviation, aerospace and defense, chemical and

         9 petrochemical, energy and utility, government, judicial, maritime, port authority, and financial sites and

        10 operations throughout the country.

        11          4.      Given its numerous and ongoing federal contracts with various agencies, Allied

        12 Universal, as an employer, is subject to Executive Order 11246 and its implementing regulations. Allied

        13 Universal (along with its acquired company, G4S Secure Solutions) maintained this status during the

        14 period of 2016 to 2020, as well as in the years preceding and following this period.

        15          5.      Allied Universal, having more than 50 employees, is required to submit EEO-1 reports on

        16 an annual basis, including EEO-1 Type 2 reports. Notably, Allied Universal submitted EEO-1 Type 2

        17 reports to the government during the years 2016 to 2020.

        18          6.      In the Fall of 2022, Allied Universal was notified by the DOL’s Office of Federal

        19 Contractor Compliance Programs (“OFCCP”) of the FOIA request involving its EEO-1 Type 2 reporting

        20 that underlies the above-captioned litigation. As will be detailed, Allied considers its EEO-1 Type 2

        21 reports, as well as the employment data underlying those reports, to constitute important commercial

        22 information that it treats as strictly confidential.

        23          Allied Universal’s EEO-1 Reports are Commercial Information

        24          7.      Allied Universal considers its EEO-1 Type 2 reports, as well as the employment data

        25 underlying those reports, to be commercial information given the significant relation of the underlying

        26 data to Allied Universal’s business model, profitability, and strategic planning. As noted above, Allied

        27 Universal is a significant security guard provider within the United States. Despite having a very large

        28 workforce, Allied Universal does not manufacture any products nor does it engage in financial services

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         1 or banking. Instead, Allied Universal’s business, and the business of most security guard providers, is

         2 almost entirely focused on staffing. In other words, Allied Universal’s primary “product” is the staff it

         3 employs and mobilizes to provide security guard services at thousands of locations across the United

         4 States. As a result, Allied Universal’s human capital represents its core commercial asset and provides

         5 the basis for its overall revenue and profitability as a business concern.

         6          8.      The most important financial metric with respect to Allied Universal’s security guard

         7 business is the “guard hour,” which equates to one (1) hour of security guard time on the customer’s site.

         8 Allied Universal’s customer contracts are almost universally based on the provision of a certain number

         9 of guard hours per day, week, and/or month. Allied Universal’s ability to supply its product—guard

        10 hours—is a direct function of the number of security guards it employs. The guard hours are typically

        11 multiplied by a negotiated “bill rate,” with the product of this equation representing Allied Universal’s

        12 gross revenue per contract. The staffing of employees to work guard hours results in the vast majority of

        13 Allied Universal’s revenue. Likewise, the staffing costs Allied Universal expends per guard hour

        14 represent Allied Universal’s primary operating expense. Given these facts, Allied Universal’s

        15 headcount, staffing strategies, and adjustments to its employee headcounts in different job categories (in

        16 order to minimize its overall labor costs per guard hour), constitute essential business factors affecting

        17 nearly all of the commercial transactions that Allied Universal engages in.

        18          9.      Given the nature of this business and commercial model, Allied Universal’s relative skill

        19 in staffing its security guards at different customer sites, hiring and efficiently maintaining the total

        20 number of security guards needed to staff its customers’ sites, and forecasting staffing fluctuations and

        21 needs (both locally and nationally) are absolutely critical to Allied Universal’s commercial profitability.

        22          10.     Notably, the EEO-1 Type 2 reports separate employee headcount totals across ten (10)

        23 job categories. Given that Allied Universal’s primary business is the provision of security guards and

        24 related services, a large majority of its employee headcount total is obviously comprised of individuals

        25 working in security guard positions.1 All of these security guard positions fall within EEO-1 job

        26

        27   1
             For the reasons discussed herein, Allied Universal cannot, in this publicly filed document, disclose the
        28 precise ratio of its total employees versus those working in security guard positions, as it treats such
           information as confidential commercial data.
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         1 category 9, “Service Workers,” which means the disclosure of Allied Universal’s headcount by job

         2 category – as is detailed in its EEO-1 Type 2 reporting – would reveal this critical staffing metric.

         3          11.     As noted above, security guard (EEO-1 job category 9, “Service Worker”) positions are

         4 those that directly produce most of Allied Universal’s revenue based on guard hours worked. In this

         5 structure, Allied Universal’s employment of administrators (EEO-1 job category 6, “Administrative

         6 Support”), managers (EEO-1 job category 2, “First/Mid. Officials & Managers”), and executives (EEO-

         7 1 job category 1, “Executive/Sr. Officials & Managers”) that administer, manage, and oversee its

         8 security guard operations reflect Allied Universal’s employment costs that are attributable to either

         9 client support operations or overhead. Allied Universal’s ability to staff these client support and

        10 overhead positions in an efficient and strategic manner directly impacts on its profitability and staffing

        11 methodologies. Such ratios are constantly monitored by Allied Universal and adjusted in a strategic

        12 manner where necessary as they directly impact and reveal Allied Universal’s profit potential and the

        13 cost impact of its current staffing approach. As such, the ratios Allied Universal maintains between

        14 security guard positions and client support and overhead positions constitutes key commercial

        15 information in light of Allied Universal’s business model.

        16          12.     Diversity, inclusion, and equity are core values that are promoted and supported

        17 throughout Allied Universal’s organization. One of the key areas of focus for Allied Universal in this

        18 area is the hiring, promotion, and advancement of women employees. Historically, women have been
        19 significantly underrepresented in the security guard services industry. To counteract this situation,

        20 Allied Universal has spent a tremendous amount of time and resources on numerous initiatives,

        21 programs, and efforts to recruit and advance women candidates into upper-level positions, both in local

        22 areas and nationally. These efforts are reflected in the composition data in the EEO-1report and in the

        23 year-to-year comparisons. Allied Universal views such efforts as critical to its growth, its ability to

        24 enter and succeed in emerging markets, and critical to its overall performance and strategic business

        25 planning. Given this importance, Allied Universal, separate and apart from any requirement arising from

        26 EEO-1 reporting obligations, tracks and monitors its headcounts of women and minority employees

        27 across different job types and levels and considers this data to be key to its commercial success. Such

        28 information is key given that there is significant competition in the security services industry around the

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         1 recruiting and retention of women candidates, for which there is already a shortage in the industry.

         2          13.     In the course of creating and maintaining its valuable commercial information, Allied

         3 Universal keeps and tracks employee headcount information by job category for purposes other than

         4 completing its required EEO-1 reporting. As outlined above, this staffing data is the most critical

         5 component of Allied Universal’s business model and is key to its revenues and profitability. This data is

         6 also used in allocating recruiting resources and in both local and national business planning efforts.

         7 Likewise, given the central nature of employee diversity data to Allied Universal’s core values, such

         8 information directly underlies its overall business planning and strategy. Further, as noted, Allied

         9 Universal would create and maintain data on employee race/ethnicity and sex by job category even if the

        10 EEO-1 reporting requirement did not apply. For example, data on female headcount by job category is

        11 an important metric that Allied Universal monitors in order to adjust its recruiting and outreach

        12 strategies for women candidates, which are extensive.

        13          Allied Universal Customarily and Actually Maintains the EEO-1 Reports as Confidential

        14 Records

        15          14.     Given that Allied Universal’s EEO-1 Type 2 reports and the data underlying such reports

        16 have significant commercial value to Allied Universal, the company takes numerous steps to maintain

        17 their strict confidentiality.

        18          15.     Some very general headcount information, such as the approximate number of its United

        19 States employees is publicly confirmed by Allied Universal. However, Allied Universal does not make

        20 its employee headcount by job category data public in any forum – this information is not disclosed

        21 publicly by Allied Universal.

        22          16.     I am further unaware of any other company in Allied Universal’s industry that publishes

        23 or voluntarily discloses its EEO-1 reports in any fashion, or that otherwise voluntarily publishes

        24 employee headcount totals by job category. In my experience, information regarding staffing levels of

        25 security guards and other critical positions is typically closely guarded within the security guard

        26 industry.

        27          17.     All of Allied Universal’s “raw” employment-related data that underlies its EEO-1 reports

        28 is stored in a highly-secure Human Resources Information System (“HRIS”). Access to the HRIS is

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         1 limited to specific designated users by the Company and can only be accessed with secure logins and

         2 passwords that are maintained and issued by its IT staff. Such credentials include two-factor

         3 authentication, regulated permission levels, and IT monitoring, as well as IT/cyber security initiatives.

         4 These systems are subject to periodic IT security audits.

         5          18.    The high-security storage used for the data underlying Allied Universal’s EEO-1 reports

         6 is maintained and monitored by Allied Universal’s Shared Services department. There are only

         7 approximately two (2) individuals in the Shared Services department with complete access to all levels

         8 of employment data. Resulting reports and data compilations are restricted to the Vice President and

         9 Executive levels of corporate management, which are individuals with defined “Level 8 - Higher Level”

        10 security permissions. Allied Universal further strictly limits employee access to the electronic account

        11 through which its EEO-1 reports are uploaded and transmitted to the government to Executive-level

        12 Human Resources officials. All employees with access to these records understand that they are

        13 confidential and must be treated as such.

        14          19.    Allied Universal has also implemented numerous policies that serve to restrict the

        15 disclosure of its confidential and proprietary commercial and informational assets, such as the

        16 employment data underlying its EEO-1 reports. For example, the Company has issued an employee

        17 handbook to its administrative workforce (the “Handbook”) that contains numerous provisions regarding

        18 the handling of confidential and/or proprietary Company information and data.
        19          20.    The issue of confidentiality of Company information, such as EEO-1 data, is dealt with

        20 extensively in the Handbook’s section on “Maintaining Confidentiality.” As stated therein,

        21          All employees must treat any information relating to the business of Allied Universal®

        22          and any of its activities, projects, or customers as confidential. Employees may not

        23          divulge any of this information to non-employees, including family and friends, without

        24          the prior written consent of the Regional President. All such information must be kept

        25          completely confidential during, and subsequent to, employment with Allied Universal.

        26          21.     Information subject to the above policy is defined to include “confidential information or

        27 any other information of a secret, proprietary, or generally undisclosed nature relating to the company,

        28 or its services, customers, employees, plans or procedures” (emphasis added). This definition is clearly

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         1 intended to include records that would reveal valuable commercial information, such as headcount data

         2 by job category and employee diversity information by job category, in addition to the EEO-1 reports

         3 that may result from such information. This is particularly true given Allied Universal’s actual and

         4 consistent practice of treating such information as strictly confidential pursuant to its policies.

         5          22.     The Handbook further provides that, while employees are not restricted from sharing

         6 information about their own employment and the terms and conditions thereof, “employees who have

         7 access to confidential information about other employees or applicants as part of their essential job

         8 functions cannot disclose this information to individuals who do not otherwise have access to it,” unless

         9 a legally protected ground for disclosure applies. “Such protected information includes . . . sensitive

        10 employee information.” “Sensitive employee information” inherently includes headcount data by job

        11 category and employee diversity information by job category, in addition to the EEO-1 reports that may

        12 be derived from such information.

        13          23.     In order to aid its employees in understanding and abiding by its policies on confidential

        14 information, the Handbook contains a list of required practices concerning “Maintaining Personnel

        15 Records and Confidential Information.” With respect to such records, the Handbook notes that the

        16 “Company will safeguard them from disclosure and will divulge such information only as permitted or

        17 required by any applicable federal or state law” (emphasis added). These records are further

        18 characterized as “the property of the Company.” Likewise, in its “Guidelines for Utilizing Social
        19 Media,” employees are directed to “not disclose any Company or Customer confidential or proprietary

        20 information.” Further, in the Handbook’s section on “Voicemail, Email, and Computer Files,”

        21 employees are instructed that “Company confidential or proprietary information should not be

        22 transmitted via these systems outside the organization or even to Employees within the organization

        23 unless such recipients are authorized to receive such information.”

        24          24.     Given these stringent confidentiality measures, policies, and its actual practices, Allied

        25 Universal clearly treats its EEO-1 reports and the employee information underlying such reports as

        26 strictly confidential. Such efforts have been successful thus far, as I am not aware of any instances of

        27 such reports or data being improperly disclosed or made public.

        28          Allied Provided the EEO-1 Reports to the Government with Express and Implied Assurances of

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         1 Confidentiality

         2          25.    Allied Universal maintains that it has been provided with both express and implied

         3 assurances of confidentiality with respect to the information that Allied Universal has submitted in its

         4 EEO-1 reporting.

         5          26.    When Allied Universal submitted the EEO-1 reports at issue in the above-captioned case,

         6 the Joint Reporting Committee advised Allied Universal that the data will be protected to the maximum

         7 extent permitted by law. Specifically, at that time, the EEO-1 instruction booklet stated: “OFCCP will

         8 notify contractors of any Freedom of Information Act (FOIA) requests that are made to obtain any of the

         9 data provided on the EEO-1 report and will protect the confidentiality of EEO-1 data to the maximum

        10 extent possible consistent with FOIA and the Trade Secrets Act” (emphasis added). Allied Universal has

        11 reasonably considered the OFCCP’s promise that it will “protect the confidentiality of EEO-1 data to the

        12 maximum extent possible” as definitively expressing an assurance of confidentiality with respect to the

        13 EEO-1 reporting provided by Allied Universal. Allied Universal relies on this assurance when

        14 submitting its EEO-1 data.

        15          27.    Further, Allied Universal has relied on the fact that Section 709(e) of Title VII of the

        16 Civil Rights Act of 1964 imposes criminal penalties and makes it unlawful for any officer or employee

        17 of the Equal Employment Opportunity Commission (“EEOC”) to make the employment data derived

        18 from any of its compliance surveys public prior to the institution of any proceeding under the EEOC’s
        19 authority involving such information. Allied Universal understands that the EEOC and OFCCP jointly

        20 collect the EEO-1 data through the EEO-1 Joint Reporting Committee. From Allied Universal’s

        21 perspective, because the EEO-1 Joint Reporting Committee is housed at the EEOC, Allied Universal

        22 submits its EEO-1 reporting to the EEOC as a practical matter. These facts create a baseline assumption,

        23 on which Allied Universal has relied, that the employment data provided by employers in the EEO-1

        24 process will be subject to protection from ultimate disclosure by the government as well as express and

        25 implied assurances of confidentiality to employers such as Allied Universal. The OFCCP’s potential

        26 disclosure of such data via the FOIA process effectively upends this reasonable assumption.

        27          28.    Moreover, under the DOL regulation at 29 CFR § 70.26, the OFCCP has engaged in a

        28 practice of informing EEO-1 submitters and providing them with an opportunity to object when such

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         1 reporting becomes subject to a FOIA request. This regulation and the OFCCP’s practice further creates

         2 an implied assurance of confidentiality from the OFCCP, as such notification is only required when the

         3 agency believes that the information is protectable as confidential and would serve no purpose unless

         4 there was some baseline assumption and assurance of confidentiality.

         5          Allied Universal’s Commercial and Economic Interests Would be Harmed by the Release of its

         6 EEO-1 Type 2 Data

         7          29.     As noted herein, Allied Universal is a federal contractor whose EEO-1 Type 2 data could

         8 be subject to disclosure in this case. However, many other companies in the security guard industry,

         9 both in local markets and nationally, are not federal contractors. As such, their EEO-1 Type 2 data

        10 would remain protected and would not be subject to disclosure as a result of this case. If disclosure of

        11 the EEO-1 Type 2 data is ordered in this case, such a ruling would create a patently unfair dynamic that

        12 would impact Allied Universal, and potentially open its valuable commercial information up to its

        13 competitors but would not impact its competitors that are not federal contractors. This would allow

        14 competitors to unilaterally scrutinize and evaluate Allied Universal’s workforce data. The end result of

        15 this dynamic effectively creates an intra-industry penalty that would be borne as a result of Allied

        16 Universal’s decision to do business with the federal government. Such disincentives would have to be

        17 taken into account in future business decisions involving federal contracting and could dissuade Allied

        18 Universal from engaging in federal contracting in the future.
        19          30.     As outlined herein, the employee headcount by job category and employee diversity

        20 information by job category data as contained in Allied Universal’s EEO-1 Type 2 data provides

        21 valuable commercial insight into Allied Universal’s primary profit center: its staffing of security guards

        22 and how it structures its workforce, including key ratios between categories of employees. Allied

        23 Universal’s competitors could easily measure Allied Universal’s total security guard staffing capability

        24 and capacity, as well as its near-term security guard forecasting and strategy, from this information. This

        25 is particularly true given that the “Service Workers” job category would effectively reveal, to a precise

        26 degree, the total number and scale of Allied Universal’s security guard workforce. Moreover, the EEO-1

        27 Type 2 data would also reveal how Allied Universal balances its profit center employees with its client

        28 support and overhead-related employment costs. Such ratios provides a key metric whereby a competitor

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         1 could easily ascertain or estimate Allied Universal’s confidential internal business structures and cost

         2 information.

         3          31.     In addition, the disclosure of race/ethnicity and sex data by job category information

         4 would also reveal Allied Universal’s successes in the critically competitive area of female and minority

         5 recruitment and advancement, particularly given the historical underrepresentation of such groups in the

         6 security industry, and the resulting high level of competition for such candidates.

         7          32.     The disclosure of Allied Universal’s EEO-1 Type 2 reporting would further harm Allied

         8 Universal given that such disclosure would effectively constitute the disclosure of Allied Universal’s

         9 valuable commercial trade secrets and other information protected by the Trade Secrets Act. Under 18

        10 U.S.C. § 1905, the government’s ability to disclose certain trade secret information is specifically

        11 limited where such information

        12          [C]oncerns or relates to the trade secrets, processes, operations, style of work, or apparatus, or to

        13          the identity, confidential statistical data, amount or source of any income, profits, losses, or

        14          expenditures of any person, firm, partnership, corporation, or association . . . .

        15 See 18 U.S.C. § 1905. Based on the facts outlined herein, this definition clearly encompasses Allied

        16 Universal’s employee headcount information by job category and employee diversity information by job

        17 category as expressed in its EEO-1 Type 2 reports. This is because such information is “confidential

        18 statistical data” and because it also reveals the “amount or source of any income, profits, losses, or
        19 expenditures of any person, firm, partnership, corporation, or association,” given the importance of this

        20 information to Allied Universal’s revenue and profitability potential. Given that such information

        21 constitutes a protected trade secret of Allied Universal for 18 U.S.C. § 1905, no disclosure should be

        22 permitted.

        23          33.     Finally, if the OFCCP is required to disclose the EEO-1 Type 2 reports that Allied

        24 Universal provided as a federal contractor, such an action could strain potential cooperative ties between

        25 Allied Universal and the agency in the future. In addition to regulatory compliance reviews and other

        26 oversight interactions between the OFCCP and Allied Universal, the company has also previously

        27 engaged in various programs, educational efforts, and related initiatives with the OFCCP on a voluntary

        28 basis. The OFCCP routinely touts the availability and effectiveness of such measures, and Allied

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         2

         3                                     UNITED STATES DISTRICT COURT

         4                                  NORTHERN DISTRICT OF CALIFORNIA

         5

         6   THE CENTER FOR INVESTIGATIVE                      ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                         )
         7                                                     )
                     Plaintiffs,                               ) DECLARATION OF JACK JASINOWSKI IN
         8                                                     ) SUPPORT OF DEFENDANT DEPARTMENT
                v.                                             ) OF LABOR’S MOTION FOR SUMMARY
         9                                                     ) JUDGMENT
             UNITED STATES DEPARTMENT OF                       )
        10   LABOR,                                            )
                                                               )
        11                                                     )
                     Defendant.                                )
        12                                                     )

        13

        14           I, Jack Jasinowski, state as follows:
        15           1.      In support of the United States Department of Labor’s Motion for Summary Judgment in
        16 the above captioned matter, with personal knowledge of the matters below and competent to testify, I

        17 submit the following declaration.

        18           2.      For the last 30 years I have worked at Brandenburg Industrial Service Co. in a variety of
        19 roles. However, for the last 22 years I have been a Corporate Officer with the Company.

        20           3.      As a Corporate Officer I manage and oversee the complete range of business activities,
        21 including Human Resources, for more than 800 union and non-union employees, nationwide.

        22 Specifically, my oversite responsibilities include (1) Commercial and Project Management (2) Safety

        23 and Environmental (3) Human Resources, which includes working with our Human Resource Manager

        24 to (a) manage all training and records for Brandenburg methods, policies, safety, and quality programs,

        25 (b) recruit, hire, and evaluate employee performance, including progressive discipline and terminations,

        26 (c) manage drug screens and background check compliance, (d) manage employee benefits and DOT
        27 compliance for all union and non-union employees, (e) delegate Brandenburg’s Human Resource

        28 Manager to serve as EEO Coordinator, (f) oversee the maintenance of all medical and training records,

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         1 licenses, and renewals for all employees, (g) assist in the development, implementation, and perform

         2 regular reviews of corporate standard operating procedures, and (h) oversee and review all prepared and

         3 submitted records for all Federal, State, and Local permits and plans, and review all prepared and

         4 submitted required notifications to government agencies.

         5          4.      During my 30 year tenure at Brandenburg, I have developed a keen knowledge regarding

         6 Brandenburg’s operations, its position in the industry and the market in which we operate, and its

         7 business policies and practices. This includes understanding Brandenburg’s business structure,

         8 workforce, competitors, data and document retention practices. As part of my job responsibilities

         9 described above, I have personal knowledge of the facts in this declaration, as I am also responsible for
        10 overseeing the collection of data, filing, and maintaining the confidentiality of, Brandenburg’s annual

        11 EEO-1 Reports.

        12          5.      Brandenburg is one of the nation’s premier firms specializing in demolition and

        13 environmental remediation, which includes asbestos abatement, hazardous material removal, soil

        14 remediation, asset recovery, and site preparation.

        15          6.      With approximately 800 employees in the United States, Brandenburg completes over

        16 200 projects on an annual basis for a wide spectrum of customers, including small businesses and elite

        17 Fortune 500 companies. These customers represent many industries including automotive, chemical,

        18 commercial, entertainment, industrial, institutional, mining, nuclear and fossil power generation, oil and

        19 gas, pharmaceutical and steel production. Brandenburg’s proven track record, combined with an

        20 impressive safety program, has made the Company the number one choice among the most demanding

        21 organizations.

        22          7.      During the years 2016 through 2020, Brandenburg was a federal contractor and was

        23 subject to EEO-1 reporting requirement. Brandenburg submitted EEO-1 Type 2 reports during each of

        24 those years.

        25          8.      Brandenburg learned in October of 2022 that the U.S. Department of Labor’s Office of

        26 Federal Contract Compliance Programs (“OFCCP”) had received a Freedom of Information Act (FOIA)
        27 request from a reporter, for the disclosure of all federal contractors’ Type 2 EEO-1 Reports for 2016-

        28 2020.

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         1          9.      Brandenburg considers these documents to be confidential, commercial documents, and

         2 notified OFCCP in writing on October 19, 2022, that it objected to the release of its requested 2016-

         3 2020 EEO-1 Reports.

         4          10.     Due to the size and unique nature of Brandenburg’s business operation, disclosure of

         5 Brandenburg’s 2016-2020 EEO-1 Reports would provide information regarding the size and specific

         6 structure of the Company’s workforce. It would also reveal the staffing strategies and patterns the

         7 Company uses to be successful, and its business evolution from 2016 to 2020.

         8          11.     Brandenburg is unaware of any competitors that disclose their EEO-1 Reports or EEO-1

         9 demographic data, or that have disclosed such data for the period in question.
        10          12.     Brandenburg does not know whether its competitors are OFCCP-covered federal

        11 contractor, and/or whether they may also be subject to this EEO-1 disclosure request. If they are not, and

        12 Brandenburg were compelled to disclose such data, Brandenburg would be subject to an unfair

        13 disadvantage compared to its non-federal contracting counterparts.

        14          13.     To elaborate, Brandenburg has invested time and resources to determine and achieve the

        15 proper staffing levels needed to not only develop, but also grow and sustain, its business. The Type 2

        16 EEO-1 Reports disclose those staffing levels, which is commercially valuable – and heretofore

        17 unpublished -- information. They provide a detailed breakdown of how Brandenburg stratified its

        18 workforce, including how many leaders (EEO Categories 1.1 and 1.2) are required to oversee

        19 Brandenburg’s business functions. The comprehensive data in the Type 2 Reports also reflects how

        20 many employees in the other EEO-1 Occupational Categories (Professionals, Technicians, Sales

        21 Workers, Administrative Support Workers, Craft Workers, Operatives, Laborers and Helpers, and

        22 Service Workers) are required for Brandenburg to operate at peak efficiency and effectiveness.

        23          14.     As the demolition and environmental remediation industry continues to evolve,

        24 Brandenburg has composed a workforce to evolve with it by organizing a workforce structure that

        25 allows the company to not only run well, but to embrace industry changes. The organization-wide

        26 employment numbers contained in the Type 2 EEO-1 Reports specifically show reflect Brandenburg’s
        27 judgment as to how it can best allocate its workforce to have a well-run, profitable, and efficient

        28 business.

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         1          15.     Any release of this private organizational structure that is reflected in the Type 2 reports

         2 would be commercially valuable information to competitors, and could cause significant harm to

         3 Brandenburg.

         4          16.     The Type 2 EEO-1 Reports also provide insights into Brandenburg’s recruitment and

         5 retention strategies in a niche industry with intense and increasing competition for recruiting and

         6 retaining talent. While the period of 2016-2020 is in the past, many of its employees remain the same,

         7 and the reports thus yield valuable current information. And, of course, if the 2016-2020 reports are

         8 disclosed, this opens the door for the release of future/current reports also.

         9          17.     Given the competitive nature of the demolition and environmental remediation industry,

        10 and the harm that would result if competitors raid its employees, Brandenburg keeps and has kept its

        11 EEO-1 information private. Brandenburg has systems in place, and takes necessary proactive measures,

        12 to protect its staffing strategies and its personnel decisions. These proactive measures were also in effect

        13 throughout 2016-2020. This is because, if a competitor gained access to Brandenburg’s EEO-1 data,

        14 the competitor would know how to inflict targeted harm on Brandenburg by soliciting certain employees

        15 for poaching/employment. For instance, if the EEO-1 Report reveals a small number of workers in a

        16 certain EEO-1 category -- sales, technicians, etc. -- a competitor could try to impede Brandenburg’s

        17 operations, by focusing its recruitment efforts on those individuals.

        18          18.     Among the data protection practices in place is limiting access to Brandenburg’s 2016-

        19 2020 EEO-1 Reports to individuals with a direct need to access the information in connection with their

        20 job duties at the Company. Of the roughly 800 employees in the Company, only four people,

        21 Corporate Officers and Human Resource Manager positions with a need to know the information, have

        22 access to Brandenburg’s EEO-1 Reports. This equates to less than 1% of the entire workforce. Those

        23 employees with access are aware and expressly informed of the confidential nature of the EEO-1

        24 Reports. The remaining 99.5% of employees at Brandenburg cannot access EEO-1 data. It is blocked

        25 and secured through data protection measures in the Company’s HRIS system.

        26          19.     In addition, Brandenburg is committed to confidentiality, on its own behalf and that of its

        27 employees, with regard to voluntary self-identification information. The Company takes the privacy of

        28 its employees seriously, and works to earn and maintain their trust. When employees are invited to

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         1 voluntarily respond to self-identification forms, which inquire about their gender, ethnicity and race,

         2 those invitations specifically say that any information provided by the employee will be kept

         3 confidential, and “will only be used in ways that are consistent with the law,” to satisfy Brandenburg’s

         4 governmental reporting and recordkeeping requirements. Once an employee provides this personal

         5 information to the Company, it is entered and stored into the system of record. Access is then strictly

         6 limited to the few personnel described above.

         7          20.     As part of its commitment to the confidentiality of its employees, Brandenburg has not

         8 publicly disclosed its 2016-2020 EEO-1 Reports. The Company has not otherwise released

         9 demographic details about its employees and workforce to the public.
        10          21.     Disclosing Brandenburg’s 2016-2020 EEO-1 Reports unnecessarily risks the privacy of

        11 individual employees. During the 2016-2020 reporting timeframe, three of Brandenburg’s EEO-1

        12 categories had fewer than 10 employees. This makes it possible for colleagues, competitors, and the

        13 general public to discover the race and gender of specific individuals, and those individuals would have

        14 no control over their very personal identities being disclosed.

        15          22.     Further, releasing the EEO-1 Reports under these circumstances could have a chilling

        16 effect on EEO and affirmative action efforts. Employees rely on their employer’s assurance of

        17 confidentiality when they self-disclose their gender, race or ethnicity. If that protection goes away,

        18 employees may become unwilling to share such details about themselves. They will be less likely to

        19 self-identify going forward, which will yield less accurate and more incomplete data for AAP and

        20 diversity purposes. That would have a direct, immediate, negative impact on the goals and enforcement

        21 priorities of the EEOC and OFCCP. It could similarly hinder Brandenburg’s efforts to advance,

        22 develop, and maintain a diverse workforce.

        23          23.     Brandenburg relies on, and from 2016-2020 relied upon, the EEOC’s and OFCCP’s

        24 express and implied assurances of confidentiality when submitting its EEO-1 Reports. The EEO-1

        25 Instruction Booklet states:

        26                  “All reports and any information from individual reports are subject to
                            the confidentiality provisions of Section 709(e) of Title VII of the Civil
        27                  Rights Act of 1964, 42 U.S.C. § 2000e-8(e), as amended (Title VII) and
                            may not be made public by the EEOC prior to the institution of any
        28
                            proceeding under Title VII involving the EEO-1 Component 1 data. Any
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         1                  EEOC employee who violates this prohibition may be found guilty of a
                            criminal misdemeanor and could be fined or imprisoned.”
         2
                    24.     It has been Brandenburg’s fair and legitimate expectation that the EEOC and OFCCP will
         3

         4 treat its EEO-1 reports as confidential, to the greatest extent permitted by law, and will only be used in

         5 connection with the administration of EO 11246 and Title VII.

         6          25.     Disclosure of Brandenburg’s EEO-1 Reports could readily cause foreseeable harm to
         7 Brandenburg’s economic and business interests, by allowing competitors to analyze the Company’s

         8 workforce trends over a five year period. This could disclose patterns and notable changes within the

         9 Company, and provide valuable insights into the direction of Brandenburg’s business strategy.
        10 Specifically, the EEO-1 reports would show competitors and the public the fluctuations in headcount

        11 that Brandenburg experienced between 2016 and 2020. They would similarly reveal which occupational

        12 categories experienced the most change. Competitors could use this information to gain a commercial

        13 advantage over Brandenburg, and to frustrate and hinder its business growth.

        14          26.     Through the staffing numbers and trends reflected in the EEO-1 data, competitors could
        15 see when and how Brandenburg increased its headcount, and in what job categories, for significant

        16 projects that may have been publicly announced by Brandenburg at the time. Competitors could then

        17 use this information to refine and implement its own, similar, staffing strategies and workforce structure.

        18 Reviewing EEO-1 data could also enable competitors to identify how many employees are needed in

        19 each occupational category, to run its business successfully, profitably and efficiently in this highly

        20 competitive industry. Such actions could deprive Brandenburg of the strategic advantages it has

        21 cultivated and result in both competitive and commercial harm. If this results in a decrease in business

        22 for Brandenburg, it could also in job loss, leaving fewer employment opportunities at the Company.

        23 This would not just affect Brandenburg the entity; it could negatively affect its employees and

        24 surrounding communities.

        25          27.     While Brandenburg is commited to diversity and inclusion, it can be difficult to find
        26 diverse candidates for certain positions within its industry, which is focused on demolition,
        27 environmental remediation, and hazardous material removal. Without knowing how the Company

        28

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         1 compares to its competitors, critics could use Brandenburg’s EEO-1 Reports to create a narrative that

         2 presents Brandenburg in a negative light – such as by citing job categories with less diversity as an

         3 ostensible indication that the Company is not engaging in sufficient affirmative action and DEI efforts.

         4 Armed with such imprecise information, competitors and other stakeholders could make inaccurate

         5 (even incorrect) assumptions… assumptions that do not actually reflect Brandenburg’s philosophies the

         6 diversity efforts or progress the Company has made.

         7          28.    Although Brandenburg has provided workforce demographic data to the EEOC, as

         8 required by its EEO-1 reporting obligations, the Company objects to the disclosure of this commercially

         9 valuable, competitively useful, and highly sensitive, information for the 2016 to 2020 reporting periods.
        10          I declare under penalty of perjury under the laws of the United States that the foregoing is true

        11 and correct.

        12          Executed this 18th day of August, 2023, at Elmhurst, Illinois.

        13

        14
                                                                  JACK JASINOWSKI
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         2

         3                                    UNITED STATES DISTRICT COURT

         4                                  NORTHERN DISTRICT OF CALIFORNIA

         5

         6   THE CENTER FOR INVESTIGATIVE                      ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                         )
         7                                                     )
                     Plaintiffs,                               ) DECLARATION OF JOSHUA BARCON IN
         8                                                     ) SUPPORT OF DEFENDANT DEPARTMENT
                v.                                             ) OF LABOR’S MOTION FOR SUMMARY
         9                                                     ) JUDGMENT
             UNITED STATES DEPARTMENT OF                       )
        10   LABOR,                                            )
                                                               )
        11                                                     )
                     Defendant.                                )
        12                                                     )

        13

        14           I, Joshua Barcon, state as follows:
        15           1.      I am a Senior Legal Analyst, Labor & Employment, at DHL Global Business Services
        16 (“DHL”). I submit this declaration in support of the United States Department of Labor’s Motion for

        17 Summary Judgment in the above-captioned matter. I have personal knowledge of the following facts

        18 and if called to testify, I could and would competently testify thereto.

        19           2.      As a Senior Legal Analyst, I am responsible for collecting data and filing DHL’s annual
        20 EEO-1 Reports, handling small claims matters, investigating and responding to charges of

        21 discrimination, managing DHL’s ADA and FMLA programing, and providing employment litigation

        22 support. I have been a Senior Legal Analyst at DHL for twelve years. I have personal knowledge of the

        23 facts in this declaration, as I am responsible for collecting data and filing DHL’s annual EEO-1 Reports,

        24 and I am familiar with DHL’s efforts to maintain the confidentiality of its EEO-1 Reports.

        25           3.      DHL is the leading global brand in the logistics services industry. DHL offers an
        26 unrivalled portfolio of logistics services ranging from national and international parcel delivery,

        27 ecommerce shipping and fulfillment solutions, international express, road, air and ocean transport to

        28 industrial supply chain management. DHL connects people and businesses securely and reliably,

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         1 enabling global sustainable trade flows. DHL also provides specialized solutions for growth markets

         2 and industries including technology, life sciences and healthcare, engineering, manufacturing & energy,

         3 auto mobility and retail.

         4          4.      DHL has over 600,000 employees worldwide, with approximately 18,000 employees in

         5 the United States. During 2016 to 2020, DHL was a federal contractor and submitted EEO-1 Reports

         6 during those years.

         7          5.      In August 2022, DHL was notified by the Office of Federal Contract Compliance

         8 Programs (“OFCCP”) that it received a Freedom of Information Act (FOIA) request for the disclosure of

         9 all federal contractors’ Type 2 EEO-1 Reports for the years 2016-2020. DHL considers these

        10 documents to be confidential, commercial documents and notified OFCCP in writing on October 18,

        11 2022 that it objected to the release of its EEO-1 Reports.

        12          6.      DHL’s Type 2 EEO-1 Reports contain information regarding the size and specific

        13 structure of DHL’s workforce, and year-over-year data reveals its business evolution over the course of

        14 five years.

        15          7.      The organizational structure of DHL’s workforce is private, commercially valuable

        16 information that reveals the staffing levels DHL has determined are necessary to maintain and grow the

        17 business. The Type 2 EEO-1 Reports provide a detailed breakdown of how DHL stratified its workforce,

        18 including essential, unpublished details, such as how many Executive/Senior Level Officials and

        19 Managers are required to oversee DHL’s business functions. The comprehensive data in the Type 2

        20 Reports also reflects how many First/Mid Level Officials and Managers, Professionals, Technicians,

        21 Sales Workers, Administrative Support Workers, Craft Workers, Operatives and Service Workers are

        22 required for DHL to operate efficiently and effectively.

        23          8.      DHL has been constantly evolving to stay competitive and to be a leader in the logistics

        24 services industry, and its workforce structure and composition has had to evolve along with it. The way

        25 DHL organizes its workforce year over year is a direct result of its substantial effort and innovation in

        26 devising ways to make the company run effectively with the changing times.

        27          9.      The organization-wide employment numbers contained in the Type 2 EEO-1 Reports tell

        28 more than just the number of employees in each job category. They represent DHL’s experience and

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         1 expertise in the field of workforce structuring. The way DHL staffed its operations during 2016-2020 is

         2 commercially valuable information. It shows how DHL has determined it should structure its workforce

         3 to have a well-run, profitable, and efficient business.

         4          10.     The EEO-1 Report data is commercially valuable for DHL’s recruitment and retention

         5 strategies, as the competition for recruiting and retaining talent is intense. Having a diverse workforce is

         6 beneficial to DHL’s commercial success, as it enhances the diversity of thought and perspectives in the

         7 organization, helps boost innovation, and leads to the attraction, recruitment, and retention of more

         8 diverse employees in the future.

         9          11.     DHL customarily keeps its EEO-1 information private, and closely holds it within the

        10 Company. DHL has not publicly disclosed its 2016-2020 EEO-1 Reports. Given the competitive nature

        11 of the logistics services industry, DHL has taken necessary measures to protect its staffing strategies and

        12 its personnel activities during 2016-2020 to ensure that third parties do not have access to such

        13 confidential information in the normal course of business.

        14          12.     Access to DHL’s 2016-2020 EEO-1 Reports is limited to individuals with a direct need to

        15 access the information in connection with their respective positions at the Company. Of the roughly

        16 18,000 U.S. employees in the Company, only 20 employees have access to DHL’s EEO-1 Reports (i.e.,

        17 only 0.1% of the workforce). The limited individuals with access to EEO-1 Reports are those in Legal,

        18 Talent Acquisition, and HR leadership positions with a need to know the information. Each of these

        19 employees are aware and expressly informed of the confidential nature of the EEO-1 Reports. For all

        20 other employees -- including DHL executives, officials and managers -- access to the EEO-1 data is

        21 blocked in the Company’s HRIS system via a series of data protection security measures.

        22          13.     DHL has taken appropriate steps to protect this information and to ensure that third

        23 parties are not permitted to obtain such confidential information in the normal course of business. DHL

        24 has not publicly disclosed any EEO-1 Report submitted to OFCCP since 2016, nor has it otherwise

        25 released similar demographic information about its U.S. workforce publicly.

        26          14.     DHL has also made a promise of confidentiality to its employees. Employees are invited

        27 to voluntarily respond to self-identification forms inquiring about their gender, ethnicity and race. These

        28 employee communications expressly state that any information provided by the employee will be kept

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         1 confidential and “will only be used in ways that are consistent with the law,” consistent with DHL’s

         2 governmental recordkeeping and reporting requirements.

         3          15.     DHL goes to great lengths to maintain the privacy and trust of its employees. Once the

         4 employee provides this personal information -- with an understanding it will be used for government

         5 statistical and affirmative action efforts -- it is entered into the system of record and access to the

         6 information is strictly limited to the personnel described above.

         7          16.     DHL submits its EEO-1 Reports to the EEOC with the understanding that by law, they

         8 will not be disclosed to the general public. DHL is aware of and relies on the EEO-1 Report instruction

         9 booklet which states, “All reports and any information from individual reports are subject to the

        10 confidentiality provisions of Section 709(e) of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

        11 2000e-8(e), as amended (Title VII) and may not be made public by the EEOC prior to the institution of

        12 any proceeding under Title VII involving the EEO-1 Component 1 data. Any EEOC employee who

        13 violates this prohibition may be found guilty of a criminal misdemeanor and could be fined or

        14 imprisoned.”

        15          17.     DHL likewise expects that OFCCP will treat the EEO-1 reports as confidential to the

        16 maximum extent permitted by law, and will only be used in connection with the administration of EO

        17 11246 and Title VII. Consistent with this understanding, DHL was notified by OFCCP that it received a

        18 FOIA request for the disclosure of federal contractors’ EEO-1 Reports and OFCCP provided DHL the

        19 opportunity to submit written objections to having its EEO-1 Reports disclosed. The notice specifically

        20 acknowledged that the requested information may include “confidential trade secret, commercial, or

        21 financial information that should be withheld pursuant to FOIA Exemption 4.” Through that notice,

        22 OFCCP provided an additional assurance that DHL’s EEO-1 Report information will be treated as

        23 confidential and withheld to the extent permissible and appropriate under the law.

        24          18.     DHL submits its EEO-1 Reports in reliance on the assurances of confidentiality made by

        25 the EEOC and OFCCP.

        26          19.     Disclosure of DHL’s EEO-1 Reports will cause foreseeable harm to DHL’s economic

        27 and business interests. The demographic details in those Reports would permit the Company’s direct

        28 competitors to discern its workforce trends. With five (5) consecutive years of staffing data, competitors

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         1 would gain valuable insight into DHL’s business strategy and the direction in which DHL is moving,

         2 resulting in competitive harm and disadvantage.

         3          20.     DHL’s presence has expanded in recent years throughout the United States. If released

         4 publicly, the specific increase and/or decrease in headcounts from 2016 to 2020 would be available to

         5 the public and to its competitors. During the five years in question, DHL experienced year over year

         6 growth up to 35% and also experienced a decrease in headcount by over 15%. The released EEO-1

         7 reports would reveal the job categories that experienced the most change from year to year, providing

         8 insight into DHL’s business strategies and allocation of resources. The ability to discern macro trends

         9 about DHL’s workforce composition necessitates that this information be kept closely held, as it could

        10 be used to gain a competitive advantage in the market.

        11          21.     The EEO-1 Reports reveal how DHL has determined it should structure its workforce to

        12 have a well-run, profitable and efficient business, and to respond to and anticipate developments in its

        13 industry. If made public, other companies and competitors could use the EEO-1 Report information as a

        14 guideline for their staffing strategies, thereby depriving DHL of the competitive advantage it has

        15 cultivated. Because the logistics services industry is quickly evolving, any advantage that DHL’s

        16 competitors gain could have a substantial effect on the competitive positions of DHL in the industry.

        17          22.     The privacy of some DHL employees would also be threatened by potential disclosure of

        18 DHL’s EEO-1 Reports. From 2016-2019, one of DHL’s EEO-1 categories had 10 or fewer total

        19 employees, and the same is true for another EEO-1 category from 2017-2020, making it possible for

        20 colleagues, competitors, and the general public to discover the race and gender of specific employees,

        21 especially with the public information available on websites such as LinkedIn.

        22          23.     DHL would also suffer harm by release of the EEO-1 Reports because the report

        23 information could be misinterpreted and used in a way that undermines DHL’s ability to recruit female

        24 and minority employees now and in the future. How DHL measures its diversity goals does not align

        25 with the limited format of the EEO-1 Reports, which categorizes employees into ten job categories

        26 created by EEOC. Armed with imprecise information, competitors and other stakeholders could make

        27 broad assumptions that do not accurately reflect DHL’s diversity journey and which would undermine

        28 its efforts and reverse its progress.

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         1          24.     For example, competitors or other critics could use DHL’s EEO-1 Reports to infer or

         2 accuse DHL of not engaging in sufficient affirmative action and diversity, equity and inclusion (“DEI”)

         3 efforts by referencing certain job categories that may -- on their face -- lack diversity. DHL’s data may

         4 also be compared the EEOC’s published EEO-1 aggregated statistics that summarize data collected for a

         5 variety of geographic areas and industries. DHL’s employee demographic information contained in

         6 EEO-1 Reports can be analyzed against these aggregated statistics to compare how DHL fares against

         7 other businesses in its industry. Such analyses can be misleading without appropriate context,

         8 particularly since they represent employee populations at only a single point in time each year. They do

         9 not accurately represent either the efforts or progress that DHL made with regard to minority and female

        10 representation in its workforce.

        11          25.     DHL’s EEO-1 Report could be similarly criticized and challenged for what is perceived

        12 as too much relative diversity in certain areas. DHL is aware of the letter issued to Fortune 100

        13 companies by the Attorneys General from thirteen states last month, threatening “serious legal

        14 consequences” for companies whose DEI efforts ostensibly incorporate racially discriminatory elements.

        15 DHL is also aware of the response letter sent by the Attorneys General from twenty other states

        16 encouraging corporate efforts to recruit diverse workforces and create inclusive work environments.

        17 Through disclosure of its EEO-1 Reports, DHL risks facing unfounded criticism, negative press and

        18 getting caught in the crosshairs of the current political debate over the lawfulness of DEI efforts, where

        19 any diversity can be characterized as too much or too little, depending on the reader’s point of view.

        20          26.     Unwarranted and unfounded criticism of DHL’s DEI efforts could negatively impact its

        21 efforts to recruit and retain a diverse workforce and harm its relationships with its customers, especially

        22 its larger e-Commerce customers who face similar market pressure and challenges in the DEI space.

        23          27.     DHL has a strong commitment to diversity and inclusion and has made significant efforts

        24 to recruit and retain a talented, diverse workforce. Given the commercial and sensitive nature of its DEI

        25 information, DHL is in the best (and only) position to decide what information, if any, it would like to

        26 share with the public and to provide the necessary and important context for the data disclosures, based

        27 on its own workforce demographics and efforts.

        28          28.     A workforce with diversity is critical to the success of DHL’s business and its work

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         1 community, and it is vital that the Company retain its minority and female employees. This is true even

         2 in job categories with large numbers of incumbents. Release of the EEO-1 Reports would show

         3 competitors where DHL’s diverse and highly talented workforce is concentrated. Where DHL has a

         4 large number of minority and/or female employees in a particular type of job, the information would be

         5 helpful to competitors because it reveals the areas they can most readily target to poach talented

         6 minority or female employees with a particular skill set. Conversely, for the types of jobs where DHL

         7 has few minority and/or female employees, competitors will know which type of jobs to target to cause

         8 the greatest damage to DHL, it business, and its diversity representation.

         9          29.    Maintaining diversity in its workforce is not only important to DHL, but also to the

        10 Company’s clients and business associates. Losing highly talented diverse staff that DHL has worked

        11 hard to hire, train and retain would be costly, could cause reputational harm that would affect DHL’s

        12 commercial interests, and presents a competitive disadvantage to DHL.

        13

        14          I declare under penalty of perjury under the laws of the United States that the foregoing is true

        15 and correct.

        16          Executed this 18th day of August, 2023, at Plantation, Florida.

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                                                                  NAME
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         3                                    UNITED STATES DISTRICT COURT

         4                                  NORTHERN DISTRICT OF CALIFORNIA

         5

         6   THE CENTER FOR INVESTIGATIVE                      ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                         )
         7                                                     )
                     Plaintiffs,                               ) DECLARATION OF KAREN SOBIESKI IN
         8                                                     ) SUPPORT OF DEFENDANT DEPARTMENT
                v.                                             ) OF LABOR’S MOTION FOR SUMMARY
         9                                                     ) JUDGMENT
             UNITED STATES DEPARTMENT OF                       )
        10   LABOR,                                            )
                                                               )
        11                                                     )
                     Defendant.                                )
        12                                                     )

        13

        14           I, Karen Sobieski, state as follows:
        15           1.      I am Senior Director of Contracting at Network Management Resources Inc. d/b/a NMR
        16 Consulting (“NMR” Consulting”). I submit this declaration in support of the United States Department

        17 of Labor’s Motion for Summary Judgment in the above-captioned matter. I have personal knowledge of

        18 the following facts and if called to testify, I could and would competently testify thereto.

        19           2.      I have been an employee of NMR Consulting since January 2009, originally in Business
        20 Development, and assumed responsibility for the contracting department in 2011. As Senior Director of

        21 Contracting, my responsibilities include negotiation and maintenance of all contracting artifacts, as well

        22 as management of awarded contracts/subcontracts through their full life-cycle – initial negotiation,

        23 amendments and extensions, and contract/subcontract closeouts. I facilitate communications with NMR

        24 Finance and Program delivery teams to enable effective contract cost management and to ensure NMR

        25 is in full compliance with contract obligations. As NMR Consulting is a small business, employees often

        26 wear many hats. I support NMR’s business development efforts, aiding in capture opportunities, and
        27 provide extensive proposal development support. The breadth of my roles and responsibilities has

        28 provided significant insight into the challenges of competing and winning in the federal marketplace, the

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         1 strategic value of competitive intelligence to successful bids, and the difficulties in protecting

         2 competitive-sensitive corporate information given the availability of so much information in the public

         3 domain through the federal government’s FPDS-NG (the Federal Procurement Data System) that

         4 provides contract award information, industry news articles, and government contracting intelligence

         5 tools such as GovWin IQ, GovTribe, Bloomberg Government (BGov).

         6          3.      Headquartered in Huntsville, Alabama, NMR Consulting is a service disabled, veteran

         7 owned small business focused on providing information technology, infrastructure, and procurement

         8 services to the government and commercial entities. For example, NMR Consulting provides health

         9 information technology services, information technology professional services, and order level materials

        10 under the GSA Multiple Award Schedule.

        11          4.      As a federal contractor, NMR pursues business, almost exclusively in the federal sector,

        12 primarily with the Department of Defense and the Intelligence Community. We employ several

        13 strategies to staff our contracts – 1) where advantageous to do so, or required, we “flip” or hire

        14 incumbent staff performing the same work on the predecessor contract, 2) we recruit via the internet by

        15 posting job vacancies to our Jobvite website or other opportunity websites (e.g., Monster, CareerBuilder,

        16 ZipRecruiter) or via social media (e.g., LinkedIn), and 3) we leverage our employee referral program to

        17 compensate our employees for referring successful candidates. We may also offer positions to our

        18 subcontractors to fill. We typically do not use staffing firms given the cost.

        19          5.      During the relevant period of 2016-2020, NMR was a federal contractor with more than

        20 50 employees. As such, NMR was required by law to submit EEO-1 reports, providing demographic and

        21 aggregated information about its workforce during that period.

        22          6.      In 2022, NMR learned that the Department of Labor (“DOL”) had received a FOIA

        23 request seeking NMR’s EEO-1 Type 2 reports from 2016 to 2020. NMR considers these documents to

        24 be commercial documents that are confidential.

        25          7.      On September 19, 2022, NMR notified DOL in writing that it objected to the release of

        26 its documents.
        27          The EEO-1 Reports are Commercial

        28          8.      The EEO-1 Reports have material commercial value to companies in government

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         1 information technology industries, like NMR, and is used by our company for commercial purposes.

         2          9.     EEO-1 Reports disclose workforce totals across ten job categories. Although the purpose

         3 of these reports is to disclose diversity information, they also necessarily reveal other key information

         4 about NMR’s commercial operations, such as total personnel numbers and workforce allocation across

         5 job types. This type of workforce data is fundamental commercial data.

         6          10.    Indeed, the EEO-1 Reports reveal the year-by-year results of deliberate commercial

         7 decisions about how to best structure and operate the company, including how NMR structures

         8 workforce (e.g. number of managers, number of professionals, number of sales workers, etc.).

         9          11.    As a contractor primarily performing service contracts, NMR’s workforce is an important

        10 component of NMR’s basic operations. The quantity of services that NMR provides is directly tied to

        11 the size of its workforce. The type of services that NMR provides is directly tied to its workforce

        12 allocation. Indeed, as a company that provides services to the federal government, the number and type

        13 of employees directly reflects the amount and type of services NMR can provide at any given time.

        14 NMR closely tracks these numbers as part of its commercial operations so that it has the ability to

        15 compete for and perform contracts. Put differently, NMR has a commercial interest in its headcount and

        16 its personnel allocation among different categories.

        17          12.    Beyond the numbers themselves, comparing the EEO-1 Reports year-over-year reveals

        18 other commercial information about NMR, showing fluctuations in total employees overall and within

        19 certain job categories. For a company as small as NMR, these fluctuations provide significant insight

        20 into NMR’s staffing decisions on contracts and reflect labor costs and productivity. For example, a

        21 competitor could tie a recent contract award to an uptick in employees for the same period by comparing

        22 two years of EEO-1 data. Because in many years, NMR receives only one government contract, any

        23 meaningful change in employee data during that period could be fairly attributed to the new contract

        24 award. With that information, the competitor could conclude how many employees NMR’s proposed as

        25 part of its successful staffing solution for that contract—the size and composition of the workforce is

        26 often a strategic decision unique to each company’s proposal.
        27          13.    In addition, NMR consults the overall information about the size, diversity, and

        28 composition of its workforce when making commercial decisions, which means that type of information

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         1 is inherently commercial. NMR’s management tracks this information because procurement decisions

         2 are based, in part, on workforce information.

         3          14.     For example, NMR understands that the Federal government—NMR’s largest

         4 customer—considers diversity information, such as a contractor’s compliance with EEO requirements

         5 under Executive Order 11246, when making responsibility determinations—a step taken on every

         6 federal contract awarded. Similarly, President Biden recently promulgated Executive Order 13985,

         7 which directs that agencies create plans to address “any barriers to full and equal participation in agency

         8 procurement and contracting opportunities[.]” The private sector is no different and NMR understands

         9 that more companies are starting to make procurement decisions based on diversity information.

        10          15.     Along those same lines, a diverse workforce allows it to be more responsive to

        11 customers. Numerous studies have shown that increased diversity boosts innovation and ensures

        12 consideration of different perspectives.

        13          16.     As a result, the information in the EEO-1 Reports is also commercially valuable as it

        14 relates to recruitment and retention. The competition for recruiting and retaining talent is intense. Like

        15 potential customers, current employees consider whether NMR has a diverse workforce across gender,

        16 ethnic, and racial identities. Moreover, a diverse workforce ensures that a wide variety of viewpoints

        17 contribute to NMR’s decision-making and it helps to make our workplace welcoming and tolerant of

        18 employees of all identities and backgrounds. With this in mind, NMR uses its diversity data to allow

        19 management to determine areas of opportunity to increase diversity so it can leverage these advantages.

        20          NMR Customarily and Actually Maintains the EEO-1 Reports Confidential

        21          17.     NMR does not release their EEO-1 Reports to the public and does not release data about

        22 its aggregate workforce by job type or demographics.

        23          18.     NMR’s EEO-1 Reports are only accessible by the Human Resources Director, Human

        24 Resources Manager, IT Manager, and President. The EEO-1 Reports are kept within a secure site within

        25 NMR’s Microsoft intranet that limits access to key individuals on a need-to-know basis. For non-key

        26 individuals, they must receive permission to access the information from a site administrator after the
        27 administrator has consulted with the data owner.

        28          19.     NMR employs extensive security controls to protect our proprietary corporate data during

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         1 storage, processing, and transmission. All communications with our systems and servers are encrypted

         2 using PKI certificates and the HTTPS protocol. Our data is stored within our local intranet web system,

         3 Microsoft SharePoint. Only NMR employees have access to this system. Employees are authenticated

         4 and authorized by our Microsoft Active Directory domain, integrated with SharePoint, to ensure only

         5 authorized employees can access any document or record based on the need to know. All documents

         6 and records are protected with explicit permissions based on individual user accounts or groups. Any

         7 documents stored on our Microsoft Windows file server are also integrated with and secured by our

         8 Active Directory, with file permissions set for the individual employee or group.

         9          20.    NMR employees receive regular training on the handling of company confidential and

        10 other sensitive information. To that end, NMR’s employee handbook has a detailed section listing the

        11 type of data and communications that are considered confidential, such as personnel information which

        12 includes the type of information contained in the EEO-1 Reports.

        13          21.    Furthermore, NMR requires all employees to sign a non-disclosure agreement that

        14 prevents them from sharing confidential information, which includes personnel information such as the

        15 EEO-1 Reports and the data contained therein. Similarly, before engaging with any third parties, NMR

        16 requires those parties to execute non-disclosure agreements prohibiting the disclosure of any NMR

        17 information received during the engagement. Although NMR does not share EEO-1 Reports or

        18 diversity data with third parties, the third party would be prohibited from disclosing any such

        19 information. In order to release sensitive information to a third party, NMR requires authorization from

        20 the company’s president.

        21          22.    To NMR’s knowledge, its direct competitors also treat as private their employee

        22 demographic information of the type included in the EEO-1 Reports. NMR routinely conducts

        23 competitive intelligence research on publicly available information about its competitors, but has never

        24 come across that type of information.

        25          23.    NMR policy is to avoid participating in marketing surveys and press releases involving

        26 the information of the type contained in the EEO-1 Report, such as employee data demographics, salary
        27 data or information regarding pricing. NMR does not post its diversity data publicly for recruiting or

        28 procurement purposes. Before NMR releases any public facing document, the documents must be

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         1 reviewed internally for compliance with this policy. Likewise, NMR’s contract documents require

         2 NMR’s prior review and approval before another company can release NMR’s information.

         3          NMR Provided the EEO-1 Reports to the Government with Express and Implied Assurances of

         4 Confidentiality

         5          24.     When NMR submitted its EEO-1 Reports from 2016 to 2020, NMR understood that the

         6 government recognizes the sensitivity of the data in these reports and would maintain the confidentiality

         7 of that information. NMR relied on notices posted on the relevant agency websites, which indicated that

         8 this information would be kept confidential. In addition, NMR understood other notices on the relevant

         9 websites that the data would be transmitted using encryption as further evidence that NMR was

        10 providing non-public information and that the information’s confidentiality would be maintained.

        11 Consistent with those notices, before receiving notice of the FOIA request at issue, neither OFCPP nor

        12 the Department of Labor ever told NMR that it might release its EEO-1 Report data or in any way

        13 suggested that it would not maintain the confidentiality of this sensitive, private information.

        14          25.     NMR submitted its EEO-1 data using the EEOC’s secure site, which requires approved

        15 login user identification and password. Since the EEO-1 data we submit is required by regulatory

        16 mandate (based on both the employee size and contract dollar amounts), NMR understood and expected

        17 that data of this proprietary and competitive-sensitive nature would be kept confidential and not shared

        18 with the public.

        19          26.     In support of that expectation, NMR understands that the Trade Secrets Act prohibits

        20 government employees from releasing information that “concerns or relates to trade secrets, processes,

        21 operations, style of work, or apparatus, or to the identity, confidential statistical data, amount or source

        22 of any income, profits, losses, or expenditures of any person.” 18 U.S.C. § 1905.

        23          27.     NMR’s EEO-1 Reports include information about NMR’s operations (i.e., total employee

        24 count by job classification) and confidential statistical data (i.e., aggregated employee counts by various

        25 demographic and job classification)—both categories of information identified as protected by the Trade

        26 Secrets Act.
        27          28.     As a result, NMR believes that the Trade Secrets Act prohibits the government’s release

        28 of its EEO-1 Reports.

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         1          NMR would be harmed by the release of the EEO-1 data.

         2          29.     The release of the EEO-1 data would harm NMR’s commercial and financial interests in

         3 multiple ways.

         4          30.     Competitors or other companies could use the data to determine NMR’s average number

         5 of employees on a year-to-year basis for the entire company as well as for particular job classifications.

         6 This information provides insights into NMR’s productivity and their hiring patterns. As a service

         7 contractor, NMR’s primary offering is its workers’ skills and expertise and how much work NMR can

         8 perform is a function of how many workers NMR employees.

         9          31.     It can also be reverse engineered to allow competitors to form opinions about the work

        10 force and corporate vulnerability of a company. In other words, competitors could use this information

        11 to decide whether to bid on contracts against NMR, to solicit NMR as a teaming partner, to determine if

        12 NMR is well-positioned to bid on new opportunities, or to target NMR for a potential acquisition.

        13 NMR’s EEO-1 Reports are particularly vulnerable to this type of analysis because as a company with

        14 around 100 employees, a shift of a modest number of employees either way (and even less in a

        15 particular category) represents a significant percentage change, while at a larger company, those shifts

        16 might be meaningless.

        17          32.     NMR’s EEO-1 data also could be used to reverse engineer NMR’s bidding methodology.

        18 NMR’s resources are currently concentrated in a small number of prime contracts. For example, NMR

        19 was performing only one prime contract during the 2020 EEO-1 reporting year. It would be very easy to

        20 extrapolate contract staffing for a specific contract and from there, using widely available data,

        21 costs/pricing data during contract rebids. If a competitor could reasonably determine how many

        22 employees were assigned to a newly awarded task order, it could make reasonably strong assumptions

        23 about how NMR planned to staff the contract and could use competitive intelligence data about locality

        24 salary requirements and other sources about wage information (including Service Contract Act wage

        25 determinations). Again, this is especially true because NMR’s small size and few contracts makes even

        26 modest changes to a particular category statistically meaningful. This would harm NMR’s ability to
        27 compete for future contracts.

        28          33.     NMR’s harm would be compounded by releasing five years of data. The wide swath of

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         1 data makes it more likely that a competitor could correlate NMR’s employment data with publicly

         2 available contract award information, showing how NMR’s employment numbers (in the aggregate and

         3 by category) track the award of contracts or task orders. Even worse, NMR understands that the public

         4 release of its EEO-1 information from the 2016-2020 period would likely expose the same data from

         5 other time periods to the same public release.

         6          34.    NMR also would suffer harm to its financial and commercial interests if its raw EEO-1

         7 data was released because of the potential for that data to be misrepresented or taken out of context. For

         8 example, a newspaper organization could mischaracterize NMR’s workplace and diversity culture,

         9 based on incomplete information, to support their narrative. Such negative publicity would harm

        10 NMR’s ability to recruit and retain talent, negatively affect relationships with potential customers and

        11 teaming partners, or cause other harms with an impact on NMR’s commercial efforts and financial

        12 interests.

        13          35.    Disclosure would also harm NMR’s confidentiality interest in the data. NMR spends

        14 time and resources to ensure this information remains confidential. As detailed above, NMR goes to

        15 great lengths to secure this information and prevent its unauthorized disclosure, which underscores how

        16 much NMR values the confidentiality of this sensitive information. That confidentiality would be lost if

        17 the information in the EEO-1 reports were released.

        18          I declare under penalty of perjury under the laws of the United States that the foregoing is true

        19 and correct.

        20          Executed this 18th day of August, 2023, at Ellicott City, Maryland.

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                                                                  KAREN SOBIESKI
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            3ODLQWLIIV¶)2,$UHTXHVWV  DQH[SODQDWLRQRIWKHVHDUFKIRUUHFRUGVUHVSRQVLYHWR3ODLQWLIIV¶

            )2,$UHTXHVWV  DQH[SODQDWLRQRIWKH([HFXWLYH2UGHUQRWLILFDWLRQSURFHVV  D

            GHVFULSWLRQRIWKHLQIRUPDWLRQUHOHDVHGWRUHTXHVWHU  DQH[SODQDWLRQRIWKH([HFXWLYH2UGHU

            HYDOXDWLRQSURFHVV  DGHVFULSWLRQRIWKHLQIRUPDWLRQZLWKKHOGXQGHU)2,$DQG  WKH

            MXVWLILFDWLRQIRUWKHZLWKKROGLQJRIWKHLQIRUPDWLRQXQGHU)2,$

            I. CORRESPONDENCE

                        2Q-DQXDU\3ODLQWLIIVVXEPLWWHGD)2,$UHTXHVWGDWHG-DQXDU\

            WR'2/¶V³)2,$5HTXHVWV´HPDLOLQER[IRU

                               D ³$VSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDO

                                   FRQWUDFWRUVIRU´)2,$5HTXHVW([$

                        2Q0DUFK3ODLQWLIIVVXEPLWWHGD)2,$UHTXHVWGDWHG0DUFKWR

            '2/¶V³)2,$5HTXHVWV´HPDLOLQER[IRU

                               D ³$VSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDO

                                   FRQWUDFWRUVIRU´)2,$5HTXHVW([%




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                        2Q-XO\2)&&3PDLOHGDOHWWHUWR3ODLQWLIIVDFNQRZOHGJLQJ3ODLQWLIIV¶

            -DQXDU\)2,$5HTXHVW  VWDWLQJWKDWLWKDGGHWHUPLQHGWKDWWKHUHZHUHRYHU

            UHVSRQVLYHUHFRUGVDQGQRWLI\LQJ3ODLQWLIIVWKDWLWZDVUHTXLUHGXQGHU&)5

            WRQRWLI\VXEPLWWHUVWKDWWKHLUEXVLQHVVLQIRUPDWLRQKDGEHHQUHTXHVWHGXQGHU)2,$DQGSURYLGH

            WKHPZLWKDQRSSRUWXQLW\WRREMHFWLQZULWLQJWRWKHGLVFORVXUHRIVSHFLILHGSRUWLRQVRI

            LQIRUPDWLRQ([&2)&&3¶VOHWWHUVWDWHGWKDWWKHYROXPLQRXVUHTXHVWZRXOGRYHUZKHOPWKH

            2)&&3)2,$XQLWIRUWKHIRUHVHHDEOHIXWXUHDQGWKHFRVWRIQRWLILFDWLRQE\PDLOHGOHWWHUVZRXOG

            EHXQGXO\EXUGHQVRPH,G2)&&3RIIHUHG3ODLQWLIIVWKHRSSRUWXQLW\WRQDUURZWKHLUUHTXHVW,G

                        2Q$XJXVW2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV

            UHVSRQGLQJWR2)&&3 V-XO\OHWWHUDQGGHFOLQLQJWRQDUURZKLVUHTXHVW(['

                        2Q6HSWHPEHU3ODLQWLIIVVXEPLWWHGD)2,$UHTXHVWGDWHG6HSWHPEHU

            WR'2/¶V³)2,$5HTXHVWV´HPDLOLQER[IRU

                               D ³$VSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDO

                                   FRQWUDFWRUVIRU´)2,$5HTXHVW([(

                       2Q6HSWHPEHU2)&&3UHSOLHGE\HPDLOWR3ODLQWLIIV¶6HSWHPEHU

            )2,$5HTXHVWDFNQRZOHGJLQJWKHUHTXHVWDQGDVVLJQLQJLWWUDFNLQJQXPEHU([)

                       2Q2FWREHU2)&&3PDLOHGDOHWWHUWR3ODLQWLIIVLQUHSO\WR3ODLQWLIIV¶

            6HSWHPEHU)2,$5HTXHVW  DFNQRZOHGJLQJWKHUHTXHVWDQGUHLWHUDWLQJWKH

            UHTXLUHG&)5QRWLILFDWLRQSURFHGXUHV([*

                       2Q2FWREHU2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV

            LQGLFDWLQJLWGLVDJUHHGZLWK2)&&3 VVWDWHPHQWWKDW2)&&3ZDVUHTXLUHGWRIROORZWKH

            &)5QRWLILFDWLRQSURFHGXUHV([+

                       2Q1RYHPEHU2)&&3DFNQRZOHGJHGUHFHLSWRI3ODLQWLIIV¶2FWREHUWK




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            HPDLODQGVWDWHGWKDWWKHFRUUHVSRQGHQFHZDVXQGHUUHYLHZ,G

                       2Q'HFHPEHU2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV 

            FRXQVHOUHTXHVWLQJDQXSGDWHRQ)2,$5HTXHVW,G

                       2Q'HFHPEHU2)&&3UHSOLHGE\HPDLOWR3ODLQWLIIV FRXQVHOUHLWHUDWLQJ

            WKHUHTXLUHG&)5QRWLILFDWLRQSURFHGXUHV([,

                       2Q-DQXDU\2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV 

            FRXQVHOUHTXHVWLQJDGGLWLRQDOLQIRUPDWLRQDERXWWKHQRWLILFDWLRQSURFHVV,G

                       2Q0D\3ODLQWLIIVVXEPLWWHGDQDPHQGPHQWWR)2,$UHTXHVW

            GDWHG0D\WR2)&&3¶V1DWLRQDO2IILFH 12 )2,$HPDLOLQER[WR

                               D ZLWKGUDZ)2,$UHTXHVWDQGFRQVROLGDWHLWZLWK)2,$UHTXHVW

                                   DQG³LQFOXGHDVSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2

                                   UHSRUWVIRUDOOIHGHUDOFRQWUDFWRUVIRUDQGDVZHOODV´([

                                   -

                       2Q0D\2)&&3VHQWHPDLOFRUUHVSRQGHQFHWR3ODLQWLIIVQRWLI\LQJWKHP

            WKDWLWKDGFRPELQHG)2,$5HTXHVWVDQGLQWRRQHUHTXHVWXQGHU

            WUDFNLQJQXPEHU,G

                       2Q0D\2)&&3DQGWKH6ROLFLWRURI/DERUUHFHLYHGFRUUHVSRQGHQFHE\

            OHWWHUIURP3ODLQWLIIVREMHFWLQJWR2)&&3 VZLWKKROGLQJRIUHFRUGVZKLOHLWIROORZHGWKH

            ([HFXWLYH2UGHUDQG&)5QRWLILFDWLRQSURFHGXUHV([.

                       2Q-XQH3ODLQWLIIVVXEPLWWHGDILQDODPHQGPHQWWR)2,$UHTXHVW

            GDWHG-XQHWR2)&&3¶V1DWLRQDO2IILFH 12 )2,$DQG'2/¶V

            ³)2,$5HTXHVW´HPDLOLQER[WR

                               D ³LQFOXGHDVSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOO




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                                   IHGHUDOFRQWUDFWRUVIRUDQG´([/

                       2Q-XQH2)&&3UHSOLHGE\HPDLOWR3ODLQWLIIVQRWLI\LQJWKHPWKDWLWKDG

            PRGLILHG)2,$5HTXHVW1RWRLQFOXGHGDWDIRUWKHDGGLWLRQDO\HDUVUHTXHVWHGVRWKDWDV

            RI-XQH)2,$5HTXHVWHQFRPSDVVHGWKHFRQVROLGDWHG 7\SH ((2UHSRUWV

            IRUDOOIHGHUDOFRQWUDFWRUVIRUWKH\HDUVWKURXJK,G

                       2Q-XQH2)&&3UHSOLHGE\PDLOWR3ODLQWLIIV 0D\OHWWHU

            GLVDJUHHLQJZLWK3ODLQWLIIV VWDWHGSRVLWLRQUHJDUGLQJUHOHYDQWFDVHODZDQGUHTXLUHG2)&&3

            SURFHGXUHV([0

                       2Q-XQH2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV

            UHTXHVWLQJDWLPHOLQHIRUSURGXFWLRQRIUHFRUGVDQGDSKRQHFDOOZLWK2)&&3([1

                       2Q-XQH2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV

            UHTXHVWLQJDSKRQHFDOOZLWK2)&&3,G

                       2Q-XQH2)&&3UHSOLHGE\HPDLOWR3ODLQWLIIVDQGVWDWHGWKDWWKHDJHQF\

            DQWLFLSDWHGSXEOLVKLQJDQRWLFHLQWKH)HGHUDO5HJLVWHULQ-XO\,G7KHSXUSRVHRIWKH

            )HGHUDO5HJLVWHU1RWLFHZDVWRLQIRUPIHGHUDOFRQWUDFWRUVWKDWWKHLUGDWDKDGEHHQUHTXHVWHG

            XQGHU)2,$DQGWRSURYLGHWKHPZLWKDQRSSRUWXQLW\WRREMHFWWRWKHUHOHDVHRI((2UHSRUWV

            UHTXHVWHGXQGHU)2,$,G

                       2Q-XQH2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV

            UHTXHVWLQJDPRUHVSHFLILFWLPHOLQHIRUSXEOLFDWLRQRIWKH)HGHUDO5HJLVWHUQRWLFHDQGIXUWKHU

            LQIRUPDWLRQUHJDUGLQJWKHSODQQHGSURGXFWLRQSURFHVV,G

                       2Q-XO\2)&&3UHSOLHGE\HPDLOWR3ODLQWLIIV -XQHHPDLO

            QRWLI\LQJ3ODLQWLIIVWKDWLWLQWHQGHGWRSXEOLVKWKH)HGHUDO5HJLVWHU1RWLFHE\WKHHQGRI-XO\DQG

            DQWLFLSDWHGEHJLQQLQJSURGXFWLRQRQDUROOLQJEDVLVVWDUWLQJGD\VDIWHUSXEOLFDWLRQRIWKH




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            QRWLFH,G2)&&3VWDWHGLQLWVHPDLOWKDW³XQWLOZHVHHKRZPDQ\REMHFWLRQVZHUHFHLYHDQG

            ZKHWKHUWKH\DUHIURPLQGLYLGXDOVXEPLWWHUVRUWUDGHDVVRFLDWLRQVRQEHKDOIRIWKHLUPHPEHUVZH

            FDQQRWSURYLGHSUHFLVHGHWDLOVRQZKDWWKHUROOLQJSURGXFWLRQZLOOORRNOLNH´,G7KH2)&&3

            HPDLOIXUWKHUVWDWHGWKDW2)&&3ZRXOGQHHGWRFRQGXFWLQGLYLGXDODQDO\VHVRIREMHFWLRQV

            UHFHLYHGDQGWKDW³>L@I2)&&3GHWHUPLQHVWKDWWKHREMHFWLRQVGRQRWPHHWWKHVWDQGDUGVIRU

            )2,$([HPSWLRQ2)&&3ZLOOQRWLI\WKHVXEPLWWHUWKDWLWLQWHQGVWRGLVFORVH$WWKDWSRLQW

            VXEPLWWHUVPD\ILOHUHYHUVH)2,$DFWLRQVDJDLQVW2)&&3WRSUHYHQWGLVFORVXUH´,G

                         2Q-XO\E\SKRQHDQGHPDLOWR3ODLQWLIIV'HIHQGDQWVRXJKWWRFODULI\

            WKHFDWHJRU\RIFRQWUDFWRUV SULPHFRQWUDFWRURUILUVWWLHUVXEFRQWUDFWRU IRUWKHGDWDUHTXHVWHG

            ([2

                         2Q-XO\E\HPDLO3ODLQWLIIVSURYLGHGFODULILFDWLRQ([1

                         2Q$XJXVW2)&&3UHFHLYHGHPDLOFRUUHVSRQGHQFHIURP3ODLQWLIIV

            UHTXHVWLQJDQXSGDWHRQWKHSXEOLFDWLRQRIWKH)HGHUDO5HJLVWHU1RWLFH ,G
                                                                                         0F




                         2Q$XJXVW2)&&3QRWLILHG3ODLQWLIIVE\HPDLOWKDWWKH)HGHUDO5HJLVWHU

            1RWLFHKDGEHHQVHQWWRWKH)HGHUDO5HJLVWHUIRUSXEOLFDWLRQRQ$XJXVWDQGWKDW

            3ODLQWLIIVZRXOGEHQRWLILHGRQFH2)&&3UHFHLYHGDSXEOLFDWLRQGDWH ,G
                                                                                    1F




                         2Q2FWREHU2)&&3UHFHLYHGDQHPDLOIURP3ODLQWLIIVUHTXHVWLQJD³OLVW

            RIFRPSDQLHVWKDWREMHFWHGWRWKHUHOHDVHRIWKHLU((2GDWD´([3

                         2Q2FWREHUE\HPDLO3ODLQWLIIVLQTXLUHGDVWRZKHWKHUWKHDJHQF\



            
              $GHWDLOHGVXPPDU\RI'HIHQGDQW2)&&3¶VQRWLFHVWRDQGFRPPXQLFDWLRQVZLWKIHGHUDO
            FRQWUDFWRUVLVSURYLGHGLQ6HFWLRQ,,,RIWKH'HFODUDWLRQ
            
              2QRUDERXW6HSWHPEHU2)&&3SXEOLVKHGLWV³(YDQV)2,$&RUUHVSRQGHQFH6LQFH
            ´WRLWVRQOLQH2)&&3)2,$/LEUDU\7KLVUHOHDVHZDVLQUHVSRQVHWRD)2,$UHTXHVWIURPD
            WKLUGSDUW\2)&&3(YDQV)2,$&RUUHVSRQGHQFHVLQFH
            KWWSVZZZGROJRYVLWHVGROJRYILOHV2)&&3IRLDILOHV(YDQV)2,$&RUUHVSRQGHQFHVLQFHS
            GI ODVWYLVLWHG$XJ 



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            ZRXOGSURYLGHDOLVWRIFRPSDQLHVWKDWREMHFWHGWRWKHUHOHDVHRIWKHLU((2GDWD,G

                          2Q1RYHPEHU2)&&3UHSOLHGE\HPDLOWR3ODLQWLIIVVWDWLQJWKDW³>D@V

            SDUWRILWVILQDOUHVSRQVH2)&&3LQWHQGVWRUHOHDVHWR\RXWKHQDPHVRIWKRVHIHGHUDOFRQWUDFWRUV

            WKDWREMHFWHGXQGHUDQDSSOLFDEOH)2,$H[HPSWLRQDQGZKRVHGDWDZDVUHPRYHGIURPSXEOLF

            UHOHDVH´,G

                          2Q1RYHPEHU&,5ILOHGDODZVXLWWRFRPSHO2)&&3WRSURPSWO\

            UHOHDVHDOOUHFRUGVUHVSRQVLYHWRWKH5HTXHVW (&)1R 
                                                            2F           3F




            II. SEARCH FOR RESPONSIVE RECORDS

                          7KH((2UHSRUWLVDPDQGDWRU\DQQXDOGDWDFROOHFWLRQWKDWUHTXLUHVDOOSULYDWH

            VHFWRUHPSOR\HUVZLWKRUPRUHHPSOR\HHVDQGIHGHUDOFRQWUDFWRUVZLWKRUPRUH

            HPSOR\HHVPHHWLQJFHUWDLQFULWHULDWRVXEPLWGHPRJUDSKLFZRUNIRUFHGDWDLQFOXGLQJGDWDE\

            UDFHHWKQLFLW\VH[DQGMREFDWHJRULHV )XUWKHULQIRUPDWLRQUHJDUGLQJWKHVLJQLILFDQFHRIWKH
                                                     4F




            FROOHFWHGGDWDWKHFROOHFWLRQRIDQGVHFXULW\PHDVXUHVWDNHQWRSURWHFWWKHGDWDE\((2&DQG

            UHFHLSWRIWKHVHFXUHGDWDE\2)&&3DUHSURYLGHGLQWKH+RGJH'HFODUDWLRQ6HH+RGJH'HFO

                          ,QDFFRUGDQFHZLWK&)5 D 2)&&3UHFHLYHVFRSLHVRI((25HSRUW

            GDWDILOHGE\IHGHUDOFRQWUDFWRUVDQGVXEFRQWUDFWRUVDQGUHWDLQVMRLQWRZQHUVKLSRIWKH((2±

            5HSRUWVZLWKWKH((2&((2±UHSRUWVDUHVWRUHGLQWKH(TXDO(PSOR\PHQW'DWD6\VWHP

            ³(('6´ DQGFDQEHIRXQGLQDGHVNWRSDSSOLFDWLRQZLWKLQ2)&&3(('6LVGHVLJQHGWR




            
              &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJY86'HSDUWPHQWRI/DERU&DVH1RFY
            :+$ 1'&DO1RY 
            
              2QRUDERXW6HSWHPEHU2)&&3SXEOLVKHGLWV³(YDQV)2,$&RUUHVSRQGHQFH6LQFH
            ´WRLWVRQOLQH2)&&3)2,$/LEUDU\
            KWWSVZZZGROJRYVLWHVGROJRYILOHV2)&&3IRLDILOHV(YDQV)2,$&RUUHVSRQGHQFHVLQFHS
            GI ODVWYLVLWHG$XJ 7KLVUHOHDVHZDVLQUHVSRQVHWRD)2,$UHTXHVWIURPDWKLUGSDUW\
            
              6HH((2&((2&RPSRQHQW'DWD&ROOHFWLRQKWWSVZZZHHRFJRYGDWDHHRGDWD
            FROOHFWLRQ ODVWYLVLWHG$XJXVW 



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            SURYLGHLQIRUPDWLRQWR2)&&3VWDIIRQWKH((2FKDUDFWHULVWLFVRIWKH6XSSO\DQG6HUYLFH

            FRQWUDFWRUXQLYHUVH7KH2)&&3'LYLVLRQRI3URJUDP2SHUDWLRQV ³'32´ W\SLFDOO\UHFHLYHVWKH

            ((2GDWDRIIHGHUDOFRQWUDFWRUVDQQXDOO\IURP((2&DWOHDVWD\HDUDIWHUWKHUHSRUWVDUHILOHG

            DIWHU((2&KDVKDGWKHRSSRUWXQLW\WRFKHFNWKHGDWDIRUHUURUVDQGDVVHPEOHLWIRUWUDQVPLWWDOWR

            2)&&3YLDWKH(('6GDWDEDVH

                        2)&&3¶V'32HVWDEOLVKHV2)&&3MXULVGLFWLRQRYHUFRQWUDFWLQJFRPSDQLHV

            PDQDJHVWKH)XQFWLRQDO$IILUPDWLYH$FWLRQ3URJUDPGHYHORSVDQGPRQLWRUV2)&&3¶VDQQXDO

            2SHUDWLQJ3ODQDQGFRQGXFWVYDULRXV4XDOLW\$VVXUDQFHDFWLYLWLHVDQGVSHFLDOVWXGLHVWRLPSURYH

            HQIRUFHPHQWRSHUDWLRQV)RUWKHSXUSRVHVRIIXOILOOLQJ)2,$UHTXHVWVIRU((2GDWD'32

            SURYLGHV((2GDWDRQDQDVQHHGHGEDVLV:KHQSURYLGLQJWKHGDWD'32SXOOVWKHUHTXHVWHG

            VXEVHWRIGDWDIURPWKH(('6GDWDEDVHLQWRDQ([FHOVSUHDGVKHHWIRUHIILFLHQF\LQSURGXFWLRQ

            5HFRUGVUHVSRQVLYHWRWKHFRQVROLGDWHGUHTXHVWVZKLFKZHUHSURYLGHGE\'32WRPHLQP\

            FDSDFLW\DVWKH2)&&3)2,$2IILFHUDUHFRPSULVHGRIWKHFRQVROLGDWHG 7\SH ((2UHSRUWV

            IRUDOOIHGHUDOFRQWUDFWRUVIRUWKH\HDUVWKURXJKDQGDUHSURYLGHGLQDQ([FHO

            VSUHDGVKHHW

                        2Q-XQH'HIHQGDQW2)&&3UHTXHVWHGWKH((2GDWDIRUUHSRUWLQJ\HDUV

            IURP2)&&3¶V'32([4

                               D 7KHVHDUFKIRUUHVSRQVLYHGRFXPHQWVSURGXFHG

                                       L 7KHQXPEHURIXQLTXHIHGHUDOFRQWUDFWRUVWKDWVXEPLWWHG7\SH

                                          ((2UHSRUWVIURPWRWDOLQJ

                               E 7KHQXPEHURIDGGLWLRQDOXQLTXHIHGHUDOFRQWUDFWRUVWKDWVXEPLWWHG7\SH

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                               F 7KHQXPEHURIFRQWUDFWRUVIRUHDFK\HDU




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            III. EXECUTIVE ORDER 12600 PROCESS - CORREPONDENCE WITH

            SUBMITTERS

                       3XUVXDQWWR([HFXWLYH2UGHUDQGWKH86'HSDUWPHQWRI/DERU)2,$

            UHJXODWLRQVDW&)52)&&3LVUHTXLUHGWRQRWLI\WKLUGSDUW\VXEPLWWHUVRIFRQILGHQWLDO

            FRPPHUFLDOLQIRUPDWLRQZKHQHYHULW³KDVUHDVRQWREHOLHYHWKDWWKHLQIRUPDWLRQUHTXHVWHGXQGHU

            WKH)2,$PD\EHSURWHFWHGIURPGLVFORVXUHXQGHU([HPSWLRQEXWKDVQRW\HWGHWHUPLQHG

            ZKHWKHUWKHLQIRUPDWLRQLVSURWHFWHGIURPGLVFORVXUHXQGHUWKDWH[HPSWLRQRUDQ\RWKHU

            DSSOLFDEOHH[HPSWLRQ´ 7KHUHJXODWLRQUHTXLUHVWKDWWKHVXEPLWWHUVEHSURYLGHGDUHDVRQDEOH
                                   5F




            WLPHWRUHVSRQGWRWKHQRWLFH,G2)&&3WKHUHIRUHSURYLGHVVXEPLWWHUVZLWKWKHRSSRUWXQLW\WR

            SUHVHQWREMHFWLRQVWRWKHGLVFORVXUHRIWKHUHTXHVWHG((2GDWDRQWKHJURXQGVWKDWVSHFLILF

            LQIRUPDWLRQFRQWDLQHGWKHUHLQLVH[HPSWIURPPDQGDWRU\GLVFORVXUHVXFKDVXQGHU([HPSWLRQ

            RIWKH)2,$86& E   ([HPSWLRQSURWHFWV³WUDGHVHFUHWVDQGFRPPHUFLDORU
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              6HH5RQDOG5HDJDQ([HFXWLYH2UGHU3UHGLVFORVXUHQRWLILFDWLRQSURFHGXUHVIRU
            FRQILGHQWLDOFRPPHUFLDOLQIRUPDWLRQ-XQHKWWSVZZZDUFKLYHVJRYIHGHUDO
            UHJLVWHUFRGLILFDWLRQH[HFXWLYHRUGHUKWPO&)5&RQILGHQWLDO&RPPHUFLDO
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              7KH+RGJH'HFODUDWLRQSURYLGHVIXUWKHULQIRUPDWLRQUHJDUGLQJWKHKLVWRU\RI2)&&3¶V
            WUHDWPHQWRIWKH((2GDWD,QDGGLWLRQ2)&&3KDVSRVWHGGHWDLOHGLQIRUPDWLRQUHJDUGLQJWKH
            )2,$5HTXHVWV2)&&3&RUUHVSRQGHQFHDQG3DUWLDO)2,$5HOHDVHVRQOLQHDW2)&&3
            (PSOR\PHQW,QIRUPDWLRQ5HSRUWV 6WDQGDUG)RUP 
            KWWSVZZZGROJRYDJHQFLHVRIFFSIRLDOLEUDU\(PSOR\PHQW,QIRUPDWLRQ5HSRUWV ODVWYLVLWHG
            $XJ DQGDW2)&&3((25HSRUW)UHTXHQWO\$VNHG4XHVWLRQVDW
            KWWSVZZZGROJRYDJHQFLHVRIFFSIDTVHHRUHSRUW ODVWYLVLWHG$XJ 



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           ILQDQFLDOLQIRUPDWLRQREWDLQHGIURPDSHUVRQ>WKDWLV@SULYLOHJHGRUFRQILGHQWLDO´,G

                       2)&&3KDVGHYRWHGVLJQLILFDQWUHVRXUFHVWRLPSOHPHQWDSURFHVVWRUHYLHZWKH

           YROXPLQRXVDPRXQWRIPDWHULDOUHOHYDQWWRWKHFRQVROLGDWHG)2,$5HTXHVWDQGWRVDWLVI\WKH

           OHJDOUHTXLUHPHQWVRIUHVSRQGLQJWRWKH5HTXHVWDVH[SHGLWLRXVO\DVSRVVLEOH 7KH)2,$
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           5HTXHVWFRYHUVPRUHWKDQXQLTXHFRQWUDFWRUVDQGXQLTXH7\SH((2UHSRUWV

                       7KHSURFHVVLQJRIWKLVUHTXHVWLVDPDVVLYHXQGHUWDNLQJUHTXLULQJWKHLQYROYHPHQW

           RIDQXPEHURI'2/HPSOR\HHVIURP2)&&3DQGWKH2IILFHRIWKH6ROLFLWRU,QDGGLWLRQWR

           H[LVWLQJVWDIIWKH)2,$7HDPDGGHGWZRKLJKO\H[SHULHQFHGVWDIIPHPEHUVZLWKGDWDEDVHDQG

           GDWDDQDO\WLFWUDLQLQJIURP'2/¶V%UDQFKRI([SHUW6HUYLFHVDQG'LYLVLRQRI3URJUDP

           2SHUDWLRQVWRGHGLFDWHWKHLUWLPHDQGH[SHUWLVHLQGDWDPDQDJHPHQWWRHQVXUHWKDWWKHSURFHVVLQJ

           RIWKLVUHTXHVWDQGWKHVRUWLQJRIGDWDIRUUHOHDVHLVDFFXUDWH

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           SURYLGHWKDWZKHQYROXPLQRXVPDWHULDOWKDWPD\EHFRPPHUFLDORUFRQILGHQWLDOLQQDWXUH

           LVVRXJKWE\D)2,$UHTXHVWHU'HSDUWPHQWDJHQFLHVPXVWQRWLI\SULYDWHHQWLWLHVE\³SRVWLQJDQG

           SXEOLVKLQJWKHQRWLFHLQDSODFHUHDVRQDEO\FDOFXODWHGWRDFFRPSOLVKQRWLILFDWLRQ´ 2)&&3KDV
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           PHWDQGH[FHHGHGWKLVUHTXLUHPHQWWKURXJKLWVQXPHURXVDFWLRQVGXULQJWKLVSURFHVVWRQRWLI\

           VXEPLWWHUVLQORFDWLRQVUHDVRQDEO\FDOFXODWHGWRSURYLGHWKHPZLWKQRWLFHRIWKH5HTXHVW

           LQFOXGLQJPXOWLSOHSRVWLQJVRQLWVZHEVLWHSXEOLFDWLRQLQWKH)HGHUDO5HJLVWHUGLVWULEXWLRQWR

           KXQGUHGVRIWKRXVDQGVRIUHOHYDQWVWDNHKROGHUVWKURXJKLWV*RY'HOLYHU\OLVWVHUYQRWLILFDWLRQE\

           8636PDLODQGUHSHDWHGLQGLYLGXDOQRWLFHWKURXJKHPDLOVWRWKRXVDQGVRIDIIHFWHGFRQWUDFWRUV   9F




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              )RUPXOWLSOHUHDVRQVLQFOXGLQJWKHKLVWRULFDOQDWXUHRIWKHGDWDUHTXHVWHGDQGWKHIDLOXUHRI
           VRPHFRQWUDFWRUVWRUHJLVWHUZLWKWKH2)&&3&RQWUDFWRU3RUWDO2)&&3GRHVQRWSRVVHVVFXUUHQW




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           ,QDGGLWLRQ2)&&3KDVDGGUHVVHGFRQWUDFWRUFRQFHUQVUHJDUGLQJWKHGHDGOLQHIRUREMHFWLRQVE\

           SURYLGLQJPXOWLSOHH[WHQVLRQVWRWKDWGHDGOLQHDQGE\DOORZLQJODWHILOHGREMHFWLRQVIRUJRRG

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           LQIRUPLQJDOOIHGHUDOFRQWUDFWRUVWKDWD)2,$UHTXHVWIURP3ODLQWLIIVKDGEHHQVXEPLWWHGIRUDOO

           7\SH&RQVROLGDWHG((2UHSRUWGDWDIRUWKH\HDUVWKURXJKDQGJLYLQJIHGHUDO

           FRQWUDFWRUV³DSHULRGRIWLPHWRREMHFWWRWKHGLVFORVXUH>RIWKHGLYHUVLW\UHSRUWV@DQGVWDWHWKHLU

           JURXQGVIRUGRLQJVR´1RWLFHRI5HTXHVW8QGHUWKH)UHHGRPRI,QIRUPDWLRQ$FWIRU)HGHUDO

           &RQWUDFWRUV 7\SH&RQVROLGDWHG((25HSRUW'DWD)HGHUDO5HJLVWHU)HG5HJ

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           UHTXHVWXQGHUWKHIUHHGRPRILQIRUPDWLRQDFWIRUIHGHUDOFRQWUDFWRUVW\SHFRQVROLGDWHG

           &RQWUDFWRUVZHUHJLYHQXQWLO6HSWHPEHUWRVXEPLWZULWWHQREMHFWLRQVWRGLVFORVXUHWR

           2)&&37KHQRWLFHDOVRVWDWHVWKDW2)&&3ZLOOPDNHDQLQGHSHQGHQWHYDOXDWLRQRIHDFK

           FRPSDQ\¶VREMHFWLRQVUHJDUGLQJGLYHUVLW\UHSRUWVEHIRUHPDNLQJDGHWHUPLQDWLRQ,G

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           REMHFWLRQVVXFKWKDWIHGHUDOFRQWUDFWRUVKDGXQWLO2FWREHUWRREMHFWWRWKHGLVFORVXUHRI

           DQ\SRUWLRQRIWKH((25HSRUWVDQGWRVWDWHDOOJURXQGVXSRQZKLFKGLVFORVXUHZDVRSSRVHG




           HPDLODGGUHVVHVIRUDOOIHGHUDOFRQWUDFWRUVFRYHUHGE\WKH5HTXHVW+RZHYHUWKHPDQ\PHDVXUHV
           WDNHQE\WKHDJHQF\WRHIIHFWXDWHQRWLFHJREH\RQGWKDWUHTXLUHGE\UHOHYDQWOHJDODXWKRULWLHV6HH
           &)5 M  ³:KHUHQRWLILFDWLRQRIDYROXPLQRXVQXPEHURIVXEPLWWHUVLVUHTXLUHG
           VXFKQRWLILFDWLRQPD\EHDFFRPSOLVKHGE\SRVWLQJDQGSXEOLVKLQJWKHQRWLFHLQDSODFH
           UHDVRQDEO\FDOFXODWHGWRDFFRPSOLVKQRWLILFDWLRQ´ ([HFXWLYH2UGHU ,G 
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              $GHWDLOHGVXPPDU\RIDOO2)&&3FRUUHVSRQGHQFHUHJDUGLQJWKLVFRQVROLGDWHG)2,$UHTXHVW
           LQFOXGLQJQRWLFHVWRVXEPLWWHUVLVDOVRSURYLGHGZLWKLQ2)&&3¶VRQOLQH)2,$/LEUDU\DW
           KWWSVZZZGROJRYDJHQFLHVRIFFSIRLDOLEUDU\&RUUHVSRQGHQFH ODVWYLVLWHG$XJXVW 



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           2)&&31RWLFHRI([WHQVLRQ6XEPLWWHU1RWLFH5HVSRQVH3RUWDO

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQVGG ODVWYLVLWHG$XJ

             7KHVHH[WHQVLRQVZHUHSURYLGHGLQOLJKWRIQXPHURXVUHTXHVWVIURPFRQWUDFWRUVIRU
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           DQH[WHQVLRQDQGLQTXLULHVIURPFRPSDQLHVUHJDUGLQJZKHWKHUWKH\ZHUHVXEMHFWWRWKH)2,$

           UHTXHVW

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           SRUWLRQRIWKHUHTXHVWHGGDWDWKDWKDGEHHQVXEPLWWHGE\DVXEVHWRIFRQWUDFWRUVIRUZKLFKQR

           REMHFWLRQVKDGEHHQUHFHLYHGE\2FWREHU2)&&3&RUUHVSRQGHQFH 1RY 

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQV

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           FRPSDQLHV,WKDGDOVRUHFHLYHGUHVSRQVHVLQGLFDWLQJWKDWRYHUUHSRUWVFRUUHVSRQGHGWR

           FRPSDQLHVWKDWEHOLHYHGWKDWWKH\ZHUHQRWIHGHUDOFRQWUDFWRUV2)&&3¶VMXULVGLFWLRQWHDP

           DQDO\]HGWKHVHUHVSRQVHVWRGHWHUPLQHLIWKHDVVHUWLRQVRIQRQFRQWUDFWRUVWDWXVZHUHDFFXUDWH

           2)&&3DOVRXQGHUWRRNDQLQLWLDOVRUWLQJDQGSURFHVVLQJRIWKHREMHFWLRQVWRSUHSDUHDOLVWRI

           FRPSDQLHVWKDWKDGQRWREMHFWHGDQGZKRVH((2UHSRUWV2)&&3LQWHQGHGWRUHOHDVH

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             2)&&3PDLQWDLQVWKDWWKH)HGHUDO5HJLVWHU1RWLFHLWSURYLGHGPHWLWVOHJDOREOLJDWLRQVIRU
           QRWLFHXQGHU)2,$DQGWKHUHOHYDQW([HFXWLYH2UGHUDQGLPSOHPHQWLQJUHJXODWLRQV+RZHYHU
           2)&&3SURYLGHGPXOWLSOHH[WHQVLRQVRIWKHRULJLQDOUHVSRQVHGHDGOLQHYLDZHEVLWHHPDLOWKH
           *RY'HOLYHU\OLVWVHUYDQG8636PDLOLQUHVSRQVHWRYDULRXVH[SUHVVHGFRQFHUQVLQFOXGLQJIURP
           DVXEVHWRIIHGHUDOFRQWUDFWRUVZKRLQGLFDWHGWKDWWKH\KDGQRWEHHQDZDUHRIWKHRULJLQDO)HGHUDO
           5HJLVWHU1RWLFHRUKDGQRWUHFHLYHGHPDLOQRWLFHVGXHWRGDWDVHFXULW\SURWRFROVWKDWEORFNPDVV
           FRPPXQLFDWLRQVDVZHOODVIURP&RQJUHVVZRPDQ9LUJLQLD)R[[&KDLURIWKH+RXVH&RPPLWWHH
           RQ(GXFDWLRQDQGWKH:RUNIRUFHZKRUDLVHGTXHVWLRQVDERXW2)&&3¶VSURFHVVLQJRIWKH)2,$
           UHTXHVWDQGFRQFHUQVWKDW2)&&3KDGQRWSURYLGHGFRQWUDFWRUVVXIILFLHQWWLPHWRREMHFWDQG
           UHTXHVWHGWKDW2)&&3UHRSHQWKHREMHFWLRQSHULRGIRUDQDGGLWLRQDOGD\V([57KH
           REMHFWLRQVKDYHUHYHDOHGWKDW2)&&3¶VOLVWRISRWHQWLDOO\UHVSRQVLYHUHFRUGVFRQWLQXHGWRLQFOXGH
           QRQIHGHUDOFRQWUDFWRUVZKRVHUHFRUGVPD\QRWEHGLVFORVHG



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           WKHLQWHQWWRGLVFORVHDSRUWLRQRIWKHUHTXHVWHGGDWDWKDWKDGEHHQVXEPLWWHGE\DVXEVHWRI

           FRQWUDFWRUVIRUZKRPQRREMHFWLRQVKDGEHHQUHFHLYHGWRGDWHDQGSURYLGHG³RQHILQDO

           RSSRUWXQLW\IRUHQWLWLHVWRDVVHUWWKDWWKHLUGDWDVKRXOGQRWEHUHOHDVHGEHFDXVH D WKH\ZHUHQRW

           DIHGHUDOFRQWUDFWRUGXULQJWKHUHOHYDQWWLPHSHULRGRU E WKH\EHOLHYHWKH\SUHYLRXVO\VXEPLWWHG

           DQREMHFWLRQWRWKHGLVFORVXUHRIWKHLU((2GDWD´2)&&3&RUUHVSRQGHQFH )HE 

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQV7KHSURYLGHG

           GHDGOLQHZDV)HEUXDU\,G

                      2Q)HEUXDU\2)&&3H[WHQGHGWKHSUHYLRXVO\SRVWHGGHDGOLQHWR

           )HEUXDU\2)&&3&RUUHVSRQGHQFH )HE 

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQVIH

                      2Q)HEUXDU\2)&&3XSGDWHGLWV)HEUXDU\QRWLFHWRLQFOXGH

           LQIRUPDWLRQQRWLI\LQJREMHFWRUVWKDWLIWKH\ZHUHSURYLGLQJDQREMHFWLRQRQDQ\RWKHUJURXQGV

           RWKHUWKDQWRQRWLI\2)&&3RIEHLQJLQFRUUHFWO\OLVWHGRQWKHQRQREMHFWRUVOLVWWKH\PXVW

           SURYLGHJRRGFDXVHDVWRZK\WKH\SUHYLRXVO\GLGQRWREMHFW7KLVQRWLFHZDVVHQWWRDOO

           FRQWUDFWRUVVXEMHFWWRWKH)2,$UHTXHVW2)&&3&RUUHVSRQGHQFH )HE 

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQVFH

                      2Q)HEUXDU\2)&&3H[WHQGHGWKHSUHYLRXVO\SRVWHGGHDGOLQHWR0DUFK

           2)&&3&RUUHVSRQGHQFH )HE 

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQVF

                      2Q)HEUXDU\2)&&3SURYLGHGIRUIHGHUDOFRQWUDFWRUVDQXSGDWHGOLVWRI

           QRQREMHFWRUVZKRVH((27\SHGDWDWKHDJHQF\LQWHQGHGWRUHOHDVHLQUHVSRQVHWRWKH)2,$

           5HTXHVWDQGUHLWHUDWHGWKHUHVSRQVHGHDGOLQHRI0DUFK2)&&3&RUUHVSRQGHQFH )HE

            KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQV




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                      2Q)HEUXDU\2)&&3SURYLGHGDUHPLQGHUQRWLFHUHJDUGLQJWKH0DUFK

           REMHFWLRQGHDGOLQH2)&&3&RUUHVSRQGHQFH )HE 

           KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQVE

                      2Q0DUFK2)&&3SURYLGHGE\8636PDLODUHPLQGHUQRWLFHUHJDUGLQJ

           WKHVXEPLVVLRQRIREMHFWLRQVDQGH[WHQGLQJWKHREMHFWLRQGHDGOLQHWR0DUFK2)&&3

           &RUUHVSRQGHQFH 0DUFK KWWSVZZZGROJRYVLWHVGROJRYILOHV2)&&3IRLDILOHV

           0$,/127,&(72&2175$&7256SGI

                      2Q0DUFK2)&&3SURYLGHGWRIHGHUDOFRQWUDFWRUVDQXSGDWHGOLVWRI

           QRQREMHFWRUVZKRVH((27\SHGDWDWKHDJHQF\LQWHQGHGWRUHOHDVHLQUHVSRQVHWRWKH)2,$

           5HTXHVWDQGSURYLGHGDILQDOUHVSRQVHGHDGOLQHRI0DUFK2)&&3&RUUHVSRQGHQFH

            0DUFK KWWSVFRQWHQWJRYGHOLYHU\FRPDFFRXQWV86'2/2)&&3EXOOHWLQVGH

           IV. DESCRIPTION OF RECORDS RELEASED

                      2Q0DUFK'HIHQGDQWSURYLGHG3ODLQWLIIVZLWKWKHILUVWSDUWLDOUHOHDVHLQ

           UHVSRQVHWRWKH)2,$UHTXHVW7KHUHOHDVHLQFOXGHGUHVSRQVHVIURPFRQWUDFWRUVWKDW

           YROXQWDULO\FRQILUPHGWKH\KDGQRREMHFWLRQWRWKHUHOHDVHRIWKHLUHQWLWLHV¶((2GDWD2)&&3

           (PSOR\PHQW,QIRUPDWLRQ5HSRUWV 6WDQGDUG)RUP 

           KWWSVZZZGROJRYDJHQFLHVRIFFSIRLDOLEUDU\(PSOR\PHQW,QIRUPDWLRQ5HSRUWV ODVWYLVLWHG

           $XJ 7KHUHVSRQVHZDVSURYLGHGWR3ODLQWLIIVDQGDOVRSRVWHGWR2)&&3¶VRQOLQH

           )2,$/LEUDU\

                      2Q$SULO'HIHQGDQWSURYLGHG3ODLQWLIIVZLWKWKHVHFRQGSDUWLDOUHOHDVH

           LQUHVSRQVHWRWKH)2,$UHTXHVW7KHUHOHDVHLQFOXGHG7\SH((2GDWDIURP((2

           UHSRUWVFRUUHVSRQGLQJWRXQLTXHIHGHUDOFRQWUDFWRUV2IWKHFRQWUDFWRUV

           FRQWUDFWRUVYROXQWDULO\FRQILUPHGWKH\KDGQRREMHFWLRQWRWKHUHOHDVHRIWKHLUHQWLWLHV¶7\SH




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           ((2GDWD)RUWKHUHPDLQLQJFRQWUDFWRUV2)&&3UHFHLYHGQRREMHFWLRQWRWKHUHOHDVHRI

           WKHLUHQWLWLHV¶7\SH((2GDWDE\WKHH[SLUDWLRQRIWKHILQDOGHDGOLQHIRUREMHFWLRQV,G7KH

           UHVSRQVHZDVSURYLGHGWR3ODLQWLIIVDQGDOVRSRVWHGWR2)&&3¶VRQOLQH)2,$/LEUDU\    12F




           V. EXECUTIVE ORDER 12600 PROCESS – EVALUATION OF OBJECTIONS

                      ,QUHVSRQVHWR2)&&3¶VSUHYLRXVO\GHVFULEHGQRWLILFDWLRQV2)&&3UHFHLYHG

           VXEPLWWHUREMHFWLRQV7KHVHREMHFWLRQVZKLFKHQFRPSDVVHGDEURDGYDULHW\RIIHGHUDO

           FRQWUDFWRUVIRFXVHGSULPDULO\RQWKH)2,$H[HPSWQDWXUHRIWKHUHTXHVWHGLQIRUPDWLRQDQGRU

           RWKHUVWDWXWRU\SURWHFWLRQVIRUWKHGDWDLQFOXGLQJWKDWWKHGDWDLVSURWHFWHGXQGHUWKH7UDGH

           6HFUHWV$FW86&

                      ,QDGGLWLRQDVPDOOVXEVHWRIREMHFWLRQVVWDWHGWKDWWKHLUGDWDZDVQRWUHVSRQVLYH

           WRWKH)2,$5HTXHVWEHFDXVHWKH\ZHUHQRWIHGHUDOFRQWUDFWRUV2)&&3¶V-XULVGLFWLRQ7HDP

           GHWHUPLQHGLIDFRPSDQ\TXDOLILHGDVDIHGHUDOFRQWUDFWRUE\FRQILUPLQJZKHWKHUDFRPSDQ\KHOG

           DVLQJOHIHGHUDOFRQWUDFWVXEFRQWUDFWRUIHGHUDOO\DVVLVWHGFRQVWUXFWLRQFRQWUDFWLQH[FHVVRI

           IRUWKHUHOHYDQWUHSRUWLQJ\HDUV7KH-XULVGLFWLRQ7HDPUHYLHZHGDQGUHVROYHGWKHVH

           REMHFWLRQVDQGLIWKHREMHFWRUVZHUHIRXQGWREHIHGHUDOFRQWUDFWRUVWKH\ZHUHLQFOXGHGLQWKH

           IXOOVHWRIREMHFWRUVZKRSURYLGHGREMHFWLRQVRQOHJDOJURXQGVRIWKHSRWHQWLDOO\UHVSRQVLYH

           UHSRUWVZHUHGHWHUPLQHGWRKDYHEHHQVXEPLWWHGE\HQWLWLHVWKDWZHUHQRWIHGHUDOFRQWUDFWRUVDW

           WKHWLPHRIWKHUHSRUWVDQGWKHUHIRUHQRWZLWKLQ2)&&3¶VMXULVGLFWLRQ

                      6XEVHTXHQWWRMXULVGLFWLRQDOGHWHUPLQDWLRQVWKHIXOOVXEVHWRIREMHFWRUVWRWDOHG




           
             2)&&3VWULYHVWRSURYLGHDFFXUDWHUHFRUGVLQUHVSRQVHWRWKH)2,$5HTXHVWV,QLWVHQGHDYRU
           WRGRVRLWKDVPDGHPLQRUFRUUHFWLRQVWRWKHGDWDSRVWHGLQLWVRQOLQH)2,$/LEUDU\2QWKH
           UHIHUHQFHGSDJH2)&&3KDVSURYLGHGDWLPHOLQHUHJDUGLQJFKDQJHVPDGHWRWKHSRVWHGGDWD
           2)&&3(PSOR\PHQW,QIRUPDWLRQ5HSRUWV 6WDQGDUG)RUP 
           KWWSVZZZGROJRYDJHQFLHVRIFFSIRLDOLEUDU\(PSOR\PHQW,QIRUPDWLRQ5HSRUWV ODVWYLVLWHG
           $XJ 



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           

                        (DFKIHGHUDOFRQWUDFWRUREMHFWLRQZDVLQGLYLGXDOO\HYDOXDWHGE\2)&&3IRUOHJDO

           VXIILFLHQF\XQGHUWKH([HPSWLRQOHJDOVWDQGDUGHVWDEOLVKHGE\WKH6XSUHPH&RXUWLQ)RRG

           0DUNHWLQJ,QVWLWXWHY$UJXV/HDGHU0HGLD6&W   ³$UJXV/HDGHU´ 7KH$UJXV

           /HDGHUVWDQGDUGHVWDEOLVKHGWKDW³>D@WOHDVWZKHUHFRPPHUFLDORUILQDQFLDOLQIRUPDWLRQLVERWK

           FXVWRPDULO\DQGDFWXDOO\WUHDWHGDVSULYDWHE\LWVRZQHUDQGSURYLGHGWRWKHJRYHUQPHQWXQGHUDQ

           DVVXUDQFHRISULYDF\WKHLQIRUPDWLRQLV FRQILGHQWLDO XQGHUWKHPHDQLQJRI )2,$ ´$UJXV

           /HDGHU6&WDW

                        2EMHFWLRQVWKDWGLGQRWPHHWWKH$UJXV/HDGHUOHJDOVWDQGDUGZHUHIRXQGWREH

           OHJDOO\LQVXIILFLHQW2)&&3LVLQWKHSURFHVVRIQRWLI\LQJWKHVHVXEPLWWHUVWKDWLWGLGQRWILQGWKH

           VXEPLWWHUVREMHFWLRQVOHJDOO\VXIILFLHQWDQGWKDWWKHLUGDWDZLOOEHUHOHDVHG

           VI. DESCRIPTION OF RECORDS WITHHELD

                        8QOHVV2)&&3GHWHUPLQHVWKDWWKH((2UHSRUWLVQRWH[HPSWIURPGLVFORVXUH

           XQGHU([HPSWLRQ2)&&3ZLOOQRWUHOHDVHDQ\((2UHSRUW$OOGDWDIRUWKHVXEPLWWHUVZKR

           SURYLGHGOHJDOO\VXIILFLHQWREMHFWLRQVLVEHLQJZLWKKHOGXQGHU([HPSWLRQRI)2,$86&

            E  7KHVHREMHFWRUV¶GDWDZDVIRXQGWREHFRPPHUFLDOLQIRUPDWLRQWKDWZDVEDVHGRQWKH

           IDFWXDOLQIRUPDWLRQSURYLGHGE\WKHIHGHUDOFRQWUDFWRUVERWKFXVWRPDULO\DQGDFWXDOO\WUHDWHGDV

           SULYDWHE\LWVRZQHUDQGSURYLGHGWRWKHJRYHUQPHQWXQGHUDQDVVXUDQFHRISULYDF\

                        2)&&3UHFHLYHGREMHFWLRQVIURPXQLTXHIHGHUDOFRQWUDFWRUVFRUUHVSRQGLQJ

           WR((25HSRUWV2)&&3FRPSOHWHGLWVLQLWLDOHYDOXDWLRQRIWKRVHREMHFWLRQVRQ-XO\

           )ROORZLQJLWVUHYLHZ2)&&3FRQFXUUHGWKDWWKHGDWDIURPXQLTXHFRQWUDFWRUV

           FRUUHVSRQGLQJWR((2UHSRUWVZDVDSSURSULDWHO\ZLWKKHOGIURPUHOHDVHXQGHU

           ([HPSWLRQ2)&&3QRWHVWKDWWKHUHDUHXQLTXHIHGHUDOFRQWUDFWRUVFRUUHVSRQGLQJWR




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           ((2UHSRUWVIRUZKLFKHYDOXDWLRQLVSHQGLQJGXHWRMXULVGLFWLRQDOTXHVWLRQVDQGUHODWHGLVVXHV

           WKDWDUHVWLOOEHLQJUHVROYHG2)&&3KDVZLWKKHOG((2UHSRUWV EDVHGRQLWVHYDOXDWLRQ

           WKDWWKHVHUHFRUGVDUHH[HPSWXQGHU([HPSWLRQRI)2,$




           VII. RATIONALE FOR WITHHOLDING RECORDS

                       7KHSDUDJUDSKVEHORZH[SODLQ'2/DQG2)&&3¶VUDWLRQDOHIRUZLWKKROGLQJWKH

           LQIRUPDWLRQXQGHU)2,$([HPSWLRQ86& E     13F




                       ([HPSWLRQVKLHOGVIURPGLVFORVXUH³WUDGHVHFUHWVDQGFRPPHUFLDORUILQDQFLDO

           LQIRUPDWLRQREWDLQHGIURPDSHUVRQDQGSULYLOHJHGRUFRQILGHQWLDO´86& E  

                       7KHFXUUHQWOHJDOWHVWIRUGHWHUPLQLQJWKHDSSOLFDELOLW\RI)2,$([HPSWLRQDV

           HVWDEOLVKHGE\WKH6XSUHPH&RXUWLQ$UJXV/HDGHULVWKDW³>D@WOHDVWZKHUHFRPPHUFLDORU

           ILQDQFLDOLQIRUPDWLRQLVERWKFXVWRPDULO\DQGDFWXDOO\WUHDWHGDVSULYDWHE\LWVRZQHUDQG

           SURYLGHGWRWKHJRYHUQPHQWXQGHUDQDVVXUDQFHRISULYDF\WKHLQIRUPDWLRQLV FRQILGHQWLDO XQGHU

           WKHPHDQLQJRI )2,$ ´$UJXV/HDGHU6&WDW

                       7KHGDWDZLWKKHOGXQGHU([HPSWLRQLQIRUPDWLRQIURP((2IRUPVZDV


           
             REMHFWRUVZKLFKFRQVWLWXWHVDSSUR[LPDWHO\RIDOOREMHFWRUVDQGRIWKH
           REMHFWRUVZKRVHREMHFWLRQVZHUHIRXQGE\2)&&3XSRQHYDOXDWLRQWREHOHJDOO\VXIILFLHQWDOVR
           DVVHUWHGWKDW)2,$([HPSWLRQDSSOLHVWRDSRUWLRQRIWKHUHOHYDQW((2GDWD([HPSWLRQ
           SURWHFWVLQIRUPDWLRQDERXWLQGLYLGXDOVLQ³SHUVRQQHODQGPHGLFDOILOHVDQGVLPLODUILOHV´ZKHQ
           WKHGLVFORVXUHRIVXFKLQIRUPDWLRQ³ZRXOGFRQVWLWXWHDFOHDUO\XQZDUUDQWHGLQYDVLRQRISHUVRQDO
           SULYDF\´DQGZKHQWKHLQGLYLGXDO VSULYDF\LQWHUHVWRXWZHLJKVWKHSXEOLFLQWHUHVWLQGLVFORVXUH
           86& E    2EMHFWRUVH[SUHVVHGFRQFHUQVWKDWHVSHFLDOO\ZLWKLQVPDOOHU HQWLWLHV
           UHOHDVHRIWKH((2GDWDFRXOGLQIULQJHXSRQWKHSULYDF\ULJKWVRILQGLYLGXDOHPSOR\HHV7KHVH
           DVVHUWLRQVUHTXLUHDGGLWLRQDOHYDOXDWLRQE\2)&&3RQDFDVHE\FDVHEDVLVWR GHWHUPLQHZKHWKHU
           ([HPSWLRQLVDSSOLFDEOHWRDSRUWLRQRIWKH((2GDWD7KDWHYDOXDWLRQSURFHVVKDVQRW\HW
           EHHQFRPSOHWHG



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           REWDLQHGIURPDSHUVRQDQGLVFRQILGHQWLDOFRPPHUFLDORUILQDQFLDOLQIRUPDWLRQZLWKLQWKH

           PHDQLQJRI([HPSWLRQ

                      7KHGDWDWKDWZDVZLWKKHOGLVFRPSULVHGRI((2GDWDIRUZKLFKWKHIHGHUDO

           FRQWUDFWRUREMHFWLRQVZHUHIRXQGOHJDOO\VXIILFLHQWXQGHUWKH)2,$([HPSWLRQVWDQGDUG

           EHFDXVHWKHREMHFWRUVKDGHVWDEOLVKHGEDVHGRQWKHIDFWXDOLQIRUPDWLRQSURYLGHGWKDWWKHGDWD

           ZDVFRPPHUFLDOLQIRUPDWLRQWKDWZDVERWKFXVWRPDULO\DQGDFWXDOO\WUHDWHGDVSULYDWHE\LWV

           RZQHUDQGSURYLGHGWRWKHJRYHUQPHQWXQGHUDQDVVXUDQFHRISULYDF\

                      7KHREMHFWRUVHVWDEOLVKHGWKDWWKH((2GDWDLVLQIRUPDWLRQLQZKLFKWKHSURYLGHU

           KDVD³FRPPHUFLDOLQWHUHVW´DVGHILQHGE\VWDWXWHDQGLQUHOHYDQWFDVHODZ

                      7KHUHOHYDQWGDWDZDVREWDLQHGIURPDSHUVRQDVUHTXLUHGXQGHU)2,$([HPSWLRQ

           )RUWKHSXUSRVHVRI([HPSWLRQ³SHUVRQ´UHIHUVWRLQGLYLGXDOVDVZHOODVWRDZLGHUDQJHRI

           HQWLWLHVLQFOXGLQJFRUSRUDWLRQVEDQNVVWDWHJRYHUQPHQWVDJHQFLHVRIIRUHLJQJRYHUQPHQWVDQG

           1DWLYH$PHULFDQWULEHVRUQDWLRQVZKRSURYLGHLQIRUPDWLRQWRWKHJRYHUQPHQW)HGHUDO

           FRQWUDFWRUVDUHFOHDUO\LQFOXGHGZLWKLQWKLVGHILQLWLRQ

                      (DFKRIWKHREMHFWLRQVWKDWZDVIRXQGWREHOHJDOO\VXIILFLHQWSURYLGHGIDFWXDO

           LQIRUPDWLRQLQGLFDWLQJWKDWWKHGDWDZDVFRQILGHQWLDOLQIRUPDWLRQWKDWZDVERWKFXVWRPDULO\DQG

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             From:               Will Evans
             To:                 FOIARequests
             Subject:            FOIA request - OFCCP
             Date:               Friday, September 11, 2020 8:27:30 PM
             Attachments:        Judge Westmore decision Dec 10 2019.pdf




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                                            *HiQ'HFO([ 2Q0DUFK'2/DFNQRZOHGJHGUHFHLSWRIWKHDSSHDO

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                                          FRPSDQLHVGHFLGHGWRUHOHDVHWKHLQIRUPDWLRQ *HiQ'HFO $VDUHVXOWWKHSHQGLQJPRWLRQV

                                          RQO\SHUWDLQVWR'2/¶VGHFLVLRQWRZLWKKROGWKH((27\SHGDWDIRUWKHIROORZLQJFRPSDQLHV

                                          ;LOLQ[$SSOLHG0DWHULDOV,QF(TXLQL[*LOHDG6FLHQFHV,QF6\QRSV\V,QF'RFXVLJQ,QF
    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




                                          $JLOHQW7HFKQRORJLHV%R[DQG2UDFOH$PHULFD,QFDQG)LWELW,QF 'HI¶V0RWDW 

                                                    2Q$XJXVW'HIHQGDQWILOHGDPRWLRQIRUVXPPDU\MXGJPHQW 'HI¶V0RW'NW

                                          1R 2Q6HSWHPEHU3ODLQWLIIVILOHGDQRSSRVLWLRQWRWKHPRWLRQIRUVXPPDU\

                                          MXGJPHQWDQGFURVVPRWLRQIRUVXPPDU\MXGJPHQW 3OV¶2SS¶Q'NW1R $OVRRQ

                                          6HSWHPEHUWKH5HSRUWHUV&RPPLWWHHIRU)UHHGRPRIWKH3UHVVILOHGDQDPLFXVFXULDH

                                          EULHI $PLFXV%U'NW1R 2Q2FWREHU'HIHQGDQWILOHGDQRSSRVLWLRQWRWKH

                                          FURVVPRWLRQDQGDUHSO\LQVXSSRUWRILWVPRWLRQIRUVXPPDU\MXGJPHQW 'HI¶V5HSO\'NW1R

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                                          MXGJPHQWDQGDUHSO\LQVXSSRUWRIWKHFURVVPRWLRQ 3O¶V6XUUHSO\'NW1R 

                                                                               II.   LEGAL STANDARD
                                                    A.   The Freedom of Information Act (“FOIA”)
                                                    ³&RQJUHVVHQDFWHG)2,$WRRYHUKDXOWKHSXEOLFGLVFORVXUHVHFWLRQRIWKH$GPLQLVWUDWLYH

                                          3URFHGXUH$FW $3$ ´0LOQHUY'HS WRI1DY\86  7KHLQWHQWEHKLQG

                                          WKH)2,$ZDVWR³FORV>H@WKHORRSKROHVZKLFKDOORZDJHQFLHVWRGHQ\OHJLWLPDWHLQIRUPDWLRQWRWKH

                                          SXEOLF´86'HS WRI-XVWLFHY7D[$QDO\VWV86   FLWDWLRQVDQGTXRWDWLRQV

                                          RPLWWHG ,WVSXUSRVHZDVWR³HQVXUHDQLQIRUPHGFLWL]HQU\YLWDOWRWKHIXQFWLRQLQJRID
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                                           GHPRFUDWLFVRFLHW\QHHGHGWRFKHFNDJDLQVWFRUUXSWLRQDQGWRKROGWKHJRYHUQRUVDFFRXQWDEOHWR

                                           WKHJRYHUQHG´-RKQ'RH$JHQF\Y-RKQ'RH&RUS86   FLWDWLRQVDQG

                                           TXRWDWLRQVRPLWWHG $FFRUGLQJO\)2,$PDQGDWHVD³VWURQJSUHVXPSWLRQLQIDYRURIGLVFORVXUH´

                                           ZLWK³GLVFORVXUHQRWVHFUHF\>EHLQJLWV@GRPLQDQWREMHFWLYH´86'HS WRI6WDWHY5D\

                                           86  

                                                   ³$WWKHVDPHWLPHWKH)2,$FRQWHPSODWHVWKDWVRPHLQIRUPDWLRQFDQOHJLWLPDWHO\EHNHSW

                                           IURPWKHSXEOLFWKURXJKWKHLQYRFDWLRQRIQLQHµH[HPSWLRQV¶WRGLVFORVXUH´<RQHPRWRY'HS WRI

                                           9HWHUDQV$IIDLUV)G WK&LU  FLWLQJ86& E    VHHDOVR7D[

                                           $QDO\VWV86DW DJHQF\PXVWGLVFORVHUHFRUGVXQOHVVWKHUHFRUGVPD\EHZLWKKHOG

                                          SXUVXDQWWRRQHRIWKHHQXPHUDWHGH[HPSWLRQVOLVWHGLQ E /LRQ5DLVLQV,QFY86'HS W

                                          RI$JULFXOWXUH)G WK&LU  WKH)2,$UHTXLUHVIXOODJHQF\GLVFORVXUH

                                          H[FHSWZKHUHVSHFLILFDOO\H[HPSWHG 
    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




                                                 B.    Motion for Summary judgment
                                                  6XPPDU\MXGJPHQWLVWKHSURSHUDYHQXHIRUUHVROYLQJD)2,$FDVH6HHHJ1DW¶O

                                          :LOGOLIH)HG¶QY86)RUHVW6HUYLFH)G WK&LU 6XPPDU\MXGJPHQWLV

                                          DSSURSULDWHZKHQ³WKHUHLVQRJHQXLQHGLVSXWHDVWRDQ\PDWHULDOIDFWDQGWKHPRYDQWLVHQWLWOHGWR

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                                                  7RSUHYDLORQDPRWLRQIRUVXPPDU\MXGJPHQWLQD)2,$FDVHDQDJHQF\PXVW

                                          GHPRQVWUDWHWKDWGUDZLQJDOOUHDVRQDEOHLQIHUHQFHVLQWKHOLJKWPRVWIDYRUDEOHWRWKHUHTXHVWHU

                                          WKHUHLVQRJHQXLQHLVVXHRIPDWHULDOIDFWZLWKUHJDUGWRWKHDJHQF\¶VFRPSOLDQFHZLWK)2,$ERWK

                                          LQWHUPVRIFRQGXFWLQJDVHDUFKUHDVRQDEO\FDOFXODWHGWRXQFRYHUDOOUHOHYDQWGRFXPHQWVDQG

                                          ZLWKKROGLQJRQO\WKRVHGRFXPHQWVRUSLHFHVRILQIRUPDWLRQWKDWIDOOZLWKLQRQHRIWKHVSHFLILHG

                                          H[HPSWLRQV/DKUY1DW O7UDQVS6DIHW\%G)G WK&LU .DPPDQY,56

                                          )G WK&LU 6WHLQEHUJY'HS WRI-XVWLFH)G '&&LU 

                                                                                 III.   DISCUSSION
                                                  7KHLQVWDQWPRWLRQSHUWDLQVWR'2/¶VGHFLVLRQWRZLWKKROGWHQ((2UHSRUWVSXUVXDQWWR

                                          )2,$¶V([HPSWLRQ 6HH'HI¶V0RWDW 

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                                                    A.    Whether the Diversity Reports are Exempt from Disclosure under Exemption 4.

                                                    ³([HPSWLRQVKLHOGVIURPPDQGDWRU\GLVFORVXUHµFRPPHUFLDORUILQDQFLDOLQIRUPDWLRQ

                                           REWDLQHGIURPDSHUVRQDQGSULYLOHJHGRUFRQILGHQWLDO¶´)RRG0NWJ,QVWY$UJXV/HDGHU0HGLD

                                           6&W   ³$UJXV/HDGHU´  TXRWLQJ86& E  7KHUHLVQR

                                           GLVSXWHWKDWWKHVXEPLWWLQJFRPSDQLHVFRQVWLWXWHSHUVRQVXQGHU)2,$DVWKHGHILQLWLRQLQFOXGHV

                                           FRUSRUDWLRQV86&  7KXVWKH&RXUWZLOODGGUHVVZKHWKHUWKHLQIRUPDWLRQVRXJKWLV

                                           FRPPHUFLDORUILQDQFLDOLQQDWXUHDQGZKHWKHULWLVSULYLOHJHGRUFRQILGHQWLDO

                                                          i.   Commercial or Financial
                                                    'HIHQGDQWDUJXHVWKDWWKHGRFXPHQWVVRXJKWDUHFRPPHUFLDOLQQDWXUHEHFDXVHLWUHODWHVWR

                                          WKHFRQWUDFWRUV¶UHVSHFWLYHEXVLQHVVVWUDWHJLHVDQGFRXOGFDXVHILQDQFLDOKDUPWRWKHFRPSDQLHVLI

                                          WKHLQIRUPDWLRQLVUHOHDVHG 6HH'HI¶V0RWDW 3ODLQWLIIVDUJXHWKDWWKHLQIRUPDWLRQVRXJKWLV

                                          QRWFRPPHUFLDORUILQDQFLDOUHQGHULQJ([HPSWLRQLQDSSOLFDEOH 3OV¶2SS¶QDW 
    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




                                                   &RXUWV³KDYHFRQVLVWHQWO\KHOGWKDWWKHWHUPVµFRPPHUFLDO¶DQGµILQDQFLDO¶LQWKH

                                          H[HPSWLRQVKRXOGEHJLYHQWKHLURUGLQDU\PHDQLQJV´3XE&LWL]HQ+HDOWK5HVHDUFK*USY)RRG

                                              'UXJ$GPLQ)G '&&LU  FLWDWLRQVRPLWWHG *HQHUDOO\LQIRUPDWLRQ

                                          LVGHHPHGFRPPHUFLDOLILWUHODWHVWRWKHFRPPHUFLDODFWLYLW\RIDEXVLQHVVEXW³QRWHYHU\ELWRI

                                          LQIRUPDWLRQVXEPLWWHGWRWKHJRYHUQPHQWE\DFRPPHUFLDOHQWLW\TXDOLILHVIRUSURWHFWLRQXQGHU

                                          ([HPSWLRQ>@´,GDWVHHDOVR%GRI7UDGHRI&LW\RI&KLFDJRY&RPPRGLW\)XWXUHV

                                          7UDGLQJ&RPP Q)GQ '&&LU DEURJDWHGRQRWKHUJURXQGVE\86

                                          'HS WRI6WDWHY:DVKLQJWRQ3RVW&R866&W/(GG  

                                          ,QGHHGDOLVWRIQDPHVDQGDGGUHVVHVRIHPSOR\HHVZKLFKWKHHPSOR\HUZDVUHTXLUHGWRVXEPLWWR

                                          WKH*RYHUQPHQWZDVQRWFRQVLGHUHGILQDQFLDORUFRPPHUFLDOXQGHU([HPSWLRQ*HWPDQY

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                                          ZRUNIRUFHEURNHQGRZQE\JHQGHUUDFHHWKQLFLW\DQGJHQHUDOMREFDWHJRU\6HH86(48$/

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                                          KWWSVZZZHHRFJRYHPSOR\HUVHHRVXUYH\XSORDGHHRSGI ODVWYLVLWHG'HF 

                                          7KHUHLVQRVDODU\LQIRUPDWLRQVDOHVILJXUHVGHSDUWPHQWDOVWDIILQJOHYHOVRURWKHULGHQWLI\LQJ
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                                           FRPSRVLWLRQWRHQVXUHFRPSOLDQFHZLWK([HFXWLYH2UGHUZKLFKSURKLELWVHPSOR\PHQW

                                           GLVFULPLQDWLRQE\IHGHUDOFRQWUDFWRUV

                                                     (YHQVRWKH*RYHUQPHQWFRQWHQGVWKDWWKHLQIRUPDWLRQLV³FRPPHUFLDO´,QVXSSRUWRIWKLV

                                           DVVHUWLRQ'HIHQGDQWVXEPLWWHGVXSSRUWLQJGHFODUDWLRQVIURPVHYHUDORIWKHREMHFWLQJVXEPLWWHUV

                                           )RUH[DPSOH-XOLH&UDQHRI$SSOLHG0DWHULDOVFRQWHQGVWKDWWKHLQIRUPDWLRQIXUQLVKHGLQWKH

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                                                        LWV ODERU VWUDWHJ\ GHPRJUDSKLFV UHFUXLWLQJ DQG DOORFDWLRQV RI
                                                          UHVRXUFHV DFURVV LWV VHJPHQWV 'LVFORVLQJ WKH ((2 LQIRUPDWLRQ
                                                        ZRXOG SURYLGH LWV FRPSHWLWRUV LQVLJKWV LQWR LWV VWUDWHJ\ RSHUDWLRQV
                                                          UHFUXLWLQJ DQG ODERU FRVWV FUHDWLQJ VXEVWDQWLDO FRPSHWLWLYH KDUP
                                                       7KLVZRXOGRQO\JURZRYHUWLPHLI((2LQIRUPDWLRQZHUHUHJXODUO\
                                                          UHOHDVHGDVLWZRXOGDOORZFRPSHWLWRUVWRGLVFHUQVKLIWVDQGVWUDWHJLHV
                                                       IRUWKHEXVLQHVVJRLQJIRUZDUGLQDKLJKO\FRPSHWLWLYHILHOG
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    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




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                                                          LWV ODERU VWUDWHJ\ GHPRJUDSKLFV UHFUXLWLQJ DQG DOORFDWLRQV RI
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                                                             UHFUXLWLQJ DQG ODERU FRVWV FUHDWLQJ VXEVWDQWLDO FRPSHWLWLYH KDUP
                                                          7KLVZRXOGRQO\JURZRYHUWLPHLI((2LQIRUPDWLRQZHUHUHJXODUO\
                                                             UHOHDVHGDVLWZRXOGDOORZFRPSHWLWRUVWRGLVFHUQVKLIWVDQGVWUDWHJLHV
                                                          IRUWKHEXVLQHVVJRLQJIRUZDUGLQDKLJKO\FRPSHWLWLYHILHOG
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                                          LQIRUPDWLRQDUHFRPPHUFLDO7KH&RXUWKRZHYHUQRWHVWKDWWKH((2IRUPGRHVQRWDVN

                                          VXEPLWWLQJFRPSDQLHVWRH[SODLQKRZUHVRXUFHVDUHDOORFDWHGDFURVVDFRPSDQ\¶V³VHJPHQWV´

                                          5DWKHUWKHUHSRUWLVRUJDQL]HGE\MREFDWHJRU\VXFKDV³3URIHVVLRQDOV´³6DOHV:RUNHUV´

                                          ³2SHUDWLYHV´³&UDIW:RUNHUV´³/DERUHUVDQG+HOSHUV´HWF,WGRHVQRWUHTXHVWGHPRJUDSKLF

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                                                   $QRWKHUGHFODUDWLRQFODLPVWKDWWKHZRUNIRUFHGDWDSURYLGHGFRXOGPDNHWKHFRPSDQ\

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                                          ³%DUULRV'HFO´'NW1R 0V%DUULRVDWWHVWVWKDWZKHQHPSOR\HHVDUHOXUHGDZD\E\

                                          RWKHUFRPSDQLHVKHUHPSOR\HU;LOLQ[³ORVH>V@WKHWDOHQWDQGH[SHULHQFHRIWKHGHSDUWLQJ
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                                           ,GDW$GGLWLRQDOO\;LOLQ[ZRXOGLQFXUVXEVWDQWLDOFRVWLQDWWHPSWLQJWRILOOWKHSRVLWLRQV

                                           YDFDWHGE\WKRVHGHSDUWHGHPSOR\HHV,G:KLOHORVWWDOHQWFRVWVFRPSDQLHVPRQH\WKHUHLVD

                                           VLJQLILFDQWGLVFRQQHFWEHWZHHQDFFHVVWRZRUNIRUFHFRPSRVLWLRQDQGSRDFKLQJ³GLYHUVHWDOHQW´

                                           7KH&RXUWILQGVWKHFODLPWKDWWKH((2UHSRUWVZRXOGPDNHLWHDVLHUIRUFRPSHWLWRUVWROXUH

                                           DZD\WDOHQWWREHGXELRXVVLQFHWKHMREFDWHJRULHVDUHVRJHQHUDO)RUH[DPSOHWKH³3URIHVVLRQDOV´

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                                           DQGDXGLWRUVDLUSODQHSLORWVDQGIOLJKWHQJLQHHUVDUFKLWHFWVDUWLVWVFKHPLVWVFRPSXWHU

                                           SURJUDPPHUVGHVLJQHUVGLHWLFLDQVHGLWRUVHQJLQHHUVODZ\HUVOLEUDULDQVPDWKHPDWLFDO

                                          VFLHQWLVWVQDWXUDOVFLHQWLVWVUHJLVWHUHGQXUVHVSK\VLFDOVFLHQWLVWVSK\VLFLDQVDQGVXUJHRQVVRFLDO

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                                          LQIRUPDWLRQWKHUHLVQRWKLQJVWRSSLQJFRPSHWLWRUVIURPUHFUXLWLQJKLJKO\FRYHWHGIHPDOHDQG

                                          PLQRULW\HPSOR\HHVYLDKHDGKXQWHUVRUQHWZRUNLQJZHEVLWHVVXFKDV/LQNHG,QRU'LFH 6HH

                                          %DUULRV'HFO 5HJDUGOHVVFRQFHUQVUHJDUGLQJSRDFKLQJJRPRUHWRWKHFRQILGHQWLDOLW\

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                                                 :LWKRXWDGGUHVVLQJHYHU\GHFODUDWLRQVXEPLWWHGE\WKH*RYHUQPHQWWKH&RXUWQRWHVWKDW

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                                          H[DPSOHWKHGHFODUDWLRQRI1DQF\/HZLV7UHROR6HQLRU'LUHFWRURI+52SHUDWLRQVDW'RFXVLJQ

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                                           FRPPHUFLDOIRUWKHSXUSRVHRI([HPSWLRQ´ 'HI¶V5HSO\DW ,Q5HSRUWHUVWKHFRXUW

                                           IRXQGWKDWWKH7KUHH<HDU:RUN3ODQGRFXPHQWVZHUHFRPPHUFLDOEHFDXVHWKH\³VHWIRUWKWKH

                                           VWHSVWKH0RQLWRUSODQQHGWRWDNHWRHYDOXDWH6LHPHQV FRPSOLDQFHSURJUDPV«>DQG@UHIOHFW>HG@

                                           µ6LHPHQV¶EXVLQHVVRSHUDWLRQVVWUXFWXUHDQGFRPSOLDQFHFRQWUROV¶´,GDW³)RUH[DPSOHWKH

                                           0RQLWRU¶VILUVWZRUNSODQGHVFULEHVµWKHQXPEHURI6LHPHQVHPSOR\HHVLQHDFKFRXQWU\QHZ

                                          RUGHUVQHZJRYHUQPHQWRUGHUVMRLQWYHQWXUHVDQGEXVLQHVVSDUWQHUVKLSVDQG6LHPHQV¶EXVLQHVV

                                          GHYHORSPHQWVWUDWHJ\DFURVVGLIIHUHQWVHFWRUVRIWKHHFRQRP\¶´,G,QVXPWKHGRFXPHQWVIRXQG

                                          WREHFRPPHUFLDOLQ5HSRUWHUVUHIOHFWDOHYHORIGHWDLOQRWFRQWDLQHGLQWKH((2UHSRUWVDW
    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




                                          LVVXHKHUH7KXVWKH*RYHUQPHQW¶VUHOLDQFHRQ5HSRUWHUVLVPLVSODFHG

                                                 )LQDOO\WKH*RYHUQPHQWDUJXHVWKDW³>W@KHYDULRXVMREFDWHJRULHVDVZHOODVWKHQXPEHURI

                                          SHRSOHKLUHGLQHDFKFDWHJRU\FRQWDLQHGLQWKH((27\SHUHSRUWVLVLQVWUXPHQWDOWRHDFK

                                          VXEPLWWHU¶VDELOLW\WRFDUU\RXWLWVFRPPHUFLDOLQWHUHVWV%XVLQHVVHVFDQQRWHQJDJHLQFRPPHUFH

                                          ZLWKRXWWKHVXIILFLHQWSHUVRQQHOLQVSHFLILHGMREFDWHJRULHVZKLFKLVWKXVUHODWHGWRWKHEXVLQHVVHV¶

                                          FRPPHUFLDOHQWHUSULVH´ 'HI¶V5HSO\DW (VVHQWLDOO\WKH*RYHUQPHQWLVDVNLQJWKH&RXUWILQG

                                          H[HPSWDQ\VWDWLVWLFDOLQIRUPDWLRQSHUWDLQLQJWRHPSOR\HHVVLPSO\EHFDXVHWKHEXVLQHVVLVD

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                                          IRXQGWKDWPRVWRIWKHGRFXPHQWVZLWKKHOGZHUHQRWH[HPSWEHFDXVHWKH\³FRQVLVW>HG@PRVWO\RI
                                             JHQHUDOGHVFULSWLRQVRIWKH0RQLWRU¶VSDVWDQGIXWXUHDFWLYLWLHVZLWKYHU\IHZGHWDLOVDERXW
                                          6LHPHQV¶EXVLQHVVRSHUDWLRQV´5HSRUWHUV//&Y8QLWHG6WDWHV'HS WRI-XVWLFH)6XSS
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                                          VHFWLRQZKLFKLQFOXGHG³WKHQXPEHURI6LHPHQVHPSOR\HHVLQHDFKFRXQWU\´WREHH[HPSWEXW
                                             WKDWVHFWLRQDOVRLQFOXGHGLQIRUPDWLRQSHUWDLQLQJWR³QHZRUGHUVQHZJRYHUQPHQWRUGHUVMRLQW
                                          YHQWXUHVDQGEXVLQHVVSDUWQHUVKLSVDQG6LHPHQV EXVLQHVVGHYHORSPHQWVWUDWHJ\DFURVVGLIIHUHQW
                                             VHFWRUVRIWKHHFRQRP\´VRLWLVSRVVLEOHWKDWWKHODERULQIRUPDWLRQZDVQRWHDVLO\VHJUHJDWHGIURP
                                          WKHFRPPHUFLDOLQIRUPDWLRQ6HHLGDW LQWHUQDOTXRWDWLRQVRPLWWHG 1HYHUWKHOHVVWKH
                                             XQGHUVLJQHGLVQRWERXQGE\WKHGLVWULFWFRXUW¶VGHFLVLRQ
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                                           FRPSDQ\¶VRUJDQL]DWLRQFKDUWFRUSRUDWHVWUXFWXUHDQGKRZLWDOORFDWHVUHVRXUFHV$VGLVFXVVHG

                                           DERYHLWLVLPSRVVLEOHWRGLVFHUQDFRUSRUDWLRQ¶VVWUXFWXUHJLYHQWKH((2¶VJHQHUDOMRE

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                                           GHPRJUDSKLFLQIRUPDWLRQFRQWDLQHGLQWKH((2UHSRUWVLVFRPPHUFLDO$VDUHVXOWWKH

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                                           SURGXFHGXQUHGDFWHG

                                                     ii.   Confidentiality
                                                 6LQFHWKHLQIRUPDWLRQVRXJKWLVQRWFRPPHUFLDOLQQDWXUHWKH&RXUWQHHGQRWDGGUHVV

                                          ZKHWKHUWKHLQIRUPDWLRQLVFRQILGHQWLDOXQGHU$UJXV/HDGHU
    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




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                                          LQIRUPDWLRQZDVQRWGLVFORVHGRUPDGH³SXEOLFO\DYDLODEOHµLQDQ\ZD\>@¶´VXJJHVWHGWKDWLWZDV

                                          FRQILGHQWLDO6&WDW7RWKHFRQWUDU\KHUHDWOHDVWRQHRIWKHREMHFWLQJFRPSDQLHV

                                          *LOHDGSXEOLVKHGDVXPPDU\RIWKH((2GDWDLQLWVDQQXDOUHSRUWDQGLQFOXGHGDQRWDWLRQWKDW

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                                          *LOHDG¶VFRUSRUDWHUHSUHVHQWDWLYHWKDWWKHFRPSDQ\WUHDWVWKLVLQIRUPDWLRQDVSULYDWHDQG³GRHVQRW

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                                          WKHUHLVDVLJQLILFDQWSRVVLELOLW\WKDWDWOHDVWVRPHRIWKHUHSRUWVPD\QRWEH

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                                                  B.   Whether the Foreseeable Harm Standard is Satisfied.

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                                           $PRQJRWKHUWKLQJVWKH),$LQWURGXFHGWKHIRUHVHHDEOHKDUPVWDQGDUGZKLFKDJHQFLHVPXVW

                                           VDWLVI\IRUDOO)2,$UHTXHVWVILOHGafterWKHELOO¶VHQDFWPHQW -XQH 3/

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                                           ZLWKKROGLQJLQIRUPDWLRQXQOHVV  WKHDJHQF\UHDVRQDEO\IRUHVHHVWKDWGLVFORVXUHRIWKHUHFRUG

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    1RUWKHUQ'LVWULFWRI&DOLIRUQLD
     8QLWHG6WDWHV'LVWULFW&RXUW




                                          GLVFORVXUHZLOOKDUPWKHLQWHUHVWSURWHFWHGE\WKDWH[HPSWLRQ,GVHHDOVR-XGLFLDO:DWFK,QFY

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                                          WKH*RYHUQPHQWKDVIDLOHGWRPHHWLWVEXUGHQXQGHUWKH),$EHFDXVHLWKDVQRWVKRZQWKDW

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                                                 'HIHQGDQWDUJXHVWKDWWRLPSRVHWKHIRUHVHHDEOHKDUPVWDQGDUGZRXOGUHQGHU$UJXV/HDGHU

                                          PHDQLQJOHVV 'HI¶V5HSO\DW 7KH&RXUWGLVDJUHHV7KHVXEVWDQWLDOFRPSHWLWLYHKDUPWHVWVHW

                                          IRUWKLQ1DWLRQDO3DUNV &RQVHUYDWLRQ$VVRFLDWLRQY0RUWRQ)G '&&LU

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                                          DEURJDWLRQ$UJXV/HDGHU6&WDW3RVW),$WKHIRUHVHHDEOHKDUPVWDQGDUGDSSOLHVWR

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             U.S. Department of Labor               Office of Federal Contract Compliance Programs
                                                    200 Constitution Avenue, N.W.
                                                    Washington, D.C. 20210




             October 2, 2020



             Via Electronic Mail

             Will Evans
             The Center for Investigative Reporting
             1400 65th Street, Suite 200
             Emeryville, CA 94608

             RE: Freedom of Information Act Request Acknowledgement – Tracking No. 897123

             Dear Mr. Evans:

             This letter is to acknowledge receipt of your Freedom of Information Act (FOIA) request
             submitted to foiarequest@dol.gov. The Office of the Solicitor assigned your request to the
             Office of Federal Contract Compliance Programs (OFCCP) on September 18, 2020. Please refer
             to the above-referenced FOIA tracking number in any future correspondence regarding your
             FOIA request.

             You requested a spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal
             contractors for 2018.

             We consider you to be a representative of the news media as defined by the U.S. Department of
             Labor FOIA regulations at 29 CFR § 70.40(c)(3), therefore, only reproduction costs will be
             assessed, excluding charges for the first 100 pages. You will receive written notification if the
             total estimated fee for processing your request exceeds $25.00.

             OFCCP’s National Office will process your request for EEO-1 data. Once we compile the data,
             we will send a letter to the submitters notifying them of the request for their EEO-1 data.

             In accordance with 29 CFR § 70.26 and Executive Order 12600, because your request covers
             information that may be protected from disclosure under FOIA Exemption 4, OFCCP is required
             to notify submitters that their information has been requested under the FOIA to give them an
             opportunity to object in writing to disclosure of any specified portion of the requested
             information. For those submitters who do not object, we will provide the information with any
             necessary redactions consistent with FOIA. For those submitters who do object, OFCCP will
             evaluate any response provided by the submitter as to why the requested information should be
             withheld and make its own determination as to whether the specific facts and relevant law
             warrant disclosure or withholding of the requested information.




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             Due to the volume and complexity of the FOIA requests XFIBWFSFDFJWFE, we anticipate that
             providing a full response will take longer than 20 business days to fulfill. Accordingly, OFCCP
             will take an additional 10 business days to fulfill your request as afforded by the FOIA at 5
             U.S.C. § 552(a)(6)(B)(i). We will contact you if we are unable to fulfill your request in 30
             business days.

             We consider you a “news media” type of requestor. As a “news media” requestor, we charge
             you for photocopying after the first 100 pages in accordance with the U.S. Department of Labor
             FOIA regulations at 29 CFR § 70.40(c)(4). DOL’s FOIA regulations at 29 CFR § 70.42(a) deem
             that the filing of a FOIA constitutes an agreement by the requester to pay all fees up to $25.00.

             If you need further assistance or would like to discuss any aspect of your request, please do not
             hesitate to contact this office at (202) 693-0101 or by email at OFCCP_NO_FOIA@dol.gov.
             Alternatively, you may wish to contact the DOL FOIA Public Liaison, Thomas Hicks, at (202)
             693-5427 or by email at hicks.thomas@dol.gov.

             You may also contact the Office of Government Information Services (OGIS), within the
             National Archives and Records Administration (NARA), to inquire about the mediation services
             they offer. The contact information for OGIS is as follows: Office of Government Information
             Services, National Archives and Records Administration, 8601 Adelphi Road, College Park, MD
             20740-6001. You can also reach that office by email at ogis@nara.gov, by phone at (202)
             741-5770, by fax at (202) 741-5769, or by calling toll-free at (877) 684-6448.

             If you are not satisfied with the response to this request, you may administratively appeal by
             writing to the Solicitor of Labor within 90 days from the date of this letter. In the appeal, you
             must state in writing the grounds for the appeal, and may include any supporting statements or
             arguments, but such statements are not required. To facilitate processing of the appeal, please
             include your mailing address and daytime telephone number, as well as a copy of the initial
             request and copy of this letter. Clearly mark “Freedom of Information Act Appeal” on the
             envelope and letter of the appeal. You must make any amendment to the appeal in writing and
             we must receive it prior to a decision. Address the appeal to the Solicitor of Labor, Division of
             Management and Administrative Legal Services, U.S. Department of Labor, 200 Constitution
             Avenue, NW, Room N2420, Washington, DC 20210. You may submit your appeal by email to
             foiaappeal@dol.gov. The Department does not accept appeals submitted to any other email
             address.

             Sincerely,



             Doris Lissette Geán
             FOIA Manager




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              'RULV/LVVHWWH*HiQ
              )2,$0DQDJHU
              'HSDUWPHQWRI/DERU
              &RQVWLWXWLRQ$YHQXH1:
              :DVKLQJWRQ'&
              2)&&3B12B)2,$#GROJRY


           5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R

           'HDU0V*HiQ

                    :HDUHIROORZLQJXSRQ\RXUHPDLOFRUUHVSRQGHQFHGDWHG1RYHPEHUDQGZHZULWHVHHNLQJ
           DQXSGDWHDVWRWKHVWDWXVRI)2,$5HTXHVW1R:HZRXOGDOVROLNHWRUHPLQGWKH'HSDUWPHQWWKDW
           -XGJH:HVWPRUH¶VRSLQLRQUHPDLQVLQHIIHFWVHH&WUIRU,QYHVWLJDWLYH5HSRUWLQJY86'HS WRI/DERU
           ) 6XSS G  1' &DO   DV D VWD\ ZDV JUDQWHG RQO\ DV WR 6\QRSV\V¶V UHFRUGV VHH &WU IRU
           ,QYHVWLJDWLYH 5HSRUWLQJ Y 86 'HS¶W RI /DERU 1R &9.$: (&) 1R  -XO\   
           8QOHVVDQG³XQWLOLWVGHFLVLRQLVUHYHUVHGIRUHUURUE\RUGHUO\UHYLHZHLWKHUE\LWVHOIRUE\DKLJKHUFRXUWLWV
           RUGHUVEDVHGRQLWVGHFLVLRQDUHWREHUHVSHFWHG´8QLWHG6WDWHVY0LQH:RUNHUV86 
             FLWDWLRQRPLWWHG 
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                    $JDLQWKDQN\RXIRU\RXUDVVLVWDQFHIRUWKLVPDWWHU:HORRNIRUZDUGWRWKHH[SHGLWLRXVIXOILOOPHQW
           RIWKHUHTXHVWDQGWRWKHDYRLGDQFHRIXQQHFHVVDU\OLWLJDWLRQ
           
           6LQFHUHO\


           $OH[DQGUD0*XWLHUUH]

           FF'9LFWRULD%DUDQHWVN\*HQHUDO&RXQVHO&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
           :LOO(YDQV5HSRUW&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
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       KWWSVPDLOJRRJOHFRPPDLOX"LN GHH YLHZ SW VHDUFK DOO SHUPPVJLG PVJD$U GVTW  VLPSO PVJD$U«    
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                             &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R

          HQF3')FRS\

           2Q6DW1RYDW302)&&312)2,$2)&&3B12B)2,$#GROJRY!ZURWH

              *RRGDIWHUQRRQ0V*XWLHUUH]

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              :HDFNQRZOHGJHUHFHLSWRI\RXUHPDLOOHWWHU.¬ WHDUHUHYLHZLQJLWDQGZLOOJHWEDFNWRWKHPVKRUWO\

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              7KDQN\RX

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              '/LVVHWWH*HiQ

              )2,$0DQDJHU

              2I¿FHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPV

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              )URP$OH[DQGUD*XWLHUUH]DJXWLHUUH]#UHYHDOQHZVRUJ!
              6HQW)ULGD\2FWREHU30
              7R2)&&312)2,$2)&&3B12B)2,$#'2/*29!
              &F9LFWRULD%DUDQHWVN\YEDUDQHWVN\#UHYHDOQHZVRUJ!:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!+LFNV
              7KRPDV62/+LFNV7KRPDV#GROJRY!
              6XEMHFW5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R
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                  &$87,217KHVHQGHURIWKLVPHVVDJHLVH[WHUQDOWRWKH'2/QHWZRUN3OHDVHXVHFDUHZKHQFOLFNLQJRQOLQNVDQG
                  UHVSRQGLQJZLWKVHQVLWLYHLQIRUPDWLRQ6HQGVXVSLFLRXVHPDLOWRVSDP#GROJRY

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                  'RULV/LVVHWWH*HiQ

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                  'HSDUWPHQWRI/DERU

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                  :DVKLQJWRQ'&

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              5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R

              'HDU0V*HiQ


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       KWWSVPDLOJRRJOHFRPPDLOX"LN GHH YLHZ SW VHDUFK DOO SHUPPVJLG PVJD$U GVTW  VLPSO PVJD$U«    
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                             &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R
                      :HUHFHLYHG\RXUOHWWHUGDWHG2FWREHUDFNQRZOHGJLQJ)2,$5HTXHVW1RPDGHE\&HQWHUIRU
              ,QYHVWLJDWLYH 5HSRUWLQJ ³&,5´  UHSRUWHU :LOO (YDQV  7KDW UHTXHVW VHHNV D VSUHDGVKHHW RI DOO FRQVROLGDWHG 7\SH 
              ((2UHSRUWVIRUDOOIHGHUDOFRQWUDFWRUVIRUDQGLWLVDIROORZRQUHTXHVWWR)2,$5HTXHVW1R VHHNLQJ
              VDPHIRU DQG VDPHIRU 

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                         &,5XQGHUVWDQGVWKDWWKH'HSDUWPHQWRI/DERULQWHQGVWRDFWLQFRQWUDYHQWLRQRIDIHGHUDOFRXUWGHFLVLRQDQG
              JUDQW((2VXEPLWWHUVWKHRSSRUWXQLW\WRREMHFWLQZULWLQJWRGLVFORVXUHRILQIRUPDWLRQSHUWDLQLQJWRWKHP&,5ZRXOG
              OLNH WR UHPLQG '2/ WKDW MXVW ODVW \HDU -XGJH :HVWPRUH DGGUHVVHG &,5¶V UHTXHVW IRU  ((2 UHSRUW GDWD DQG
              FRQFOXGHG WKDW WKH ³*RYHUQPHQW ZDV QRW MXVWLILHG LQ DSSO\LQJ ([HPSWLRQ ´ WR WKLV LQIRUPDWLRQ UHTXLULQJ WKH ((2
              UHSRUWVWR³EHSURGXFHGXQUHGDFWHG´Ctr. for Investigative Reporting v. U.S. Dep't of Labor)6XSSG
                1'&DO 

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                        7KH*RYHUQPHQWFKRVHQRWWRDSSHDOWKLVVWLOOELQGLQJUXOLQJSee Ctr. for Investigative Reporting v. U.S. Dep’t
              of Labor 1R &9.$:  :/  DW  1' &DO )HE    QRWLQJ '2/¶V GHFLVLRQ ³WKDW LW
              ZRXOG QRW EH DSSHDOLQJ WKH 'HFHPEHU   RUGHU´   0RUHRYHU DOO EXW RQH RI WKH UHOHYDQW ((2 VXEPLWWHUV
              GHFLGHGDJDLQVWLQWHUYHQWLRQ$OWKRXJKWKH'LVWULFW&RXUWKDVSHUPLWWHGDVLQJOHWKLUGSDUW\6\QRSV\V,QFWRLQWHUYHQH
              IRUWKHOLPLWHGSXUSRVHRIDSSHDOLQJWKH'HFHPEHURUGHUsee Ctr. for Investigative Reporting v. U.S. Dep’t of
              Labor1R&9.$:(&)1R -XO\ WKH*RYHUQPHQWKDVLQGHHGQRWLFHGDQLQWHQWLRQWRFURVV
              DSSHDODQGRSSRVHWKDWLQWHUYHQWLRQsee id.(&)1R 6HSW 7KH'HFHPEHURUGHUJHQHUDOO\
              UHPDLQVLQHIIHFWDVWKHSDUWLHVLQFOXGLQJWKH*RYHUQPHQWVWLSXODWHGWKDWLWZRXOGRQO\EHVWD\HGDVWRWKH³GLVFORVXUH
              RIWKHUHTXHVWHG6\QRSV\VLQIRUPDWLRQ´Id.(&)1R -XO\ 

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                        *LYHQ WKH FRQWLQXLQJ IRUFH RI WKH 'HFHPEHU   RUGHU DQG WKH *RYHUQPHQW¶V FXUUHQW SRVLWLRQ RQ WKLV
              OLWLJDWLRQ&,5LVSHUSOH[HGE\'2/¶VFXUUHQWSODQRIDFWLRQDVWR)2,$5HTXHVW1R:HKRSHWKLVFODULILHVDQ\
              H[LVWLQJ PLVXQGHUVWDQGLQJ DQG DOORZV XV WR DYRLG QHHGOHVV UHSHWLWLYH OLWLJDWLRQ  :H WKDQN \RX LQ DGYDQFH IRU \RXU
              IXOILOOPHQWRIWKLVUHTXHVW

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              6LQFHUHO\

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              $OH[DQGUD0*XWLHUUH]

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              FF'9LFWRULD%DUDQHWVN\*HQHUDO&RXQVHO&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
              :LOO(YDQV5HSRUW&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
              7KRPDV+LFNV'2/)2,$3XEOLF/LDLVRQ

              HQF3')FRS\

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           'DUD*UD\
           )LUVW$PHQGPHQW)HOORZ
           F  




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       KWWSVPDLOJRRJOHFRPPDLOX"LN GHH YLHZ SW VHDUFK DOO SHUPPVJLG PVJD$U GVTW  VLPSO PVJD$U«    
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                             &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R




                 )2,$5HTB'HF/HWWHUSGI
                 .




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       KWWSVPDLOJRRJOHFRPPDLOX"LN GHH YLHZ SW VHDUFK DOO SHUPPVJLG PVJD$U GVTW  VLPSO PVJD$U«    
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                                 &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV±7UDFNLQJ1RVDQG



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         )ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV±7UDFNLQJ1RVDQG
         :LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!                                                                             7KX6HSDW30
         7R6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



           )RUZDUGHGPHVVDJH
           )URP$OH[DQGUD*XWLHUUH]DJXWLHUUH]#UHYHDOQHZVRUJ!
           'DWH7KX-DQDW$0
           6XEMHFW5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV±7UDFNLQJ1RVDQG
           7R2IILFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPVRIFFSBQRBIRLD#GROJRY!
           &F9LFWRULD%DUDQHWVN\YEDUDQHWVN\#UHYHDOQHZVRUJ!:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!+LFNV7KRPDV62/
           KLFNVWKRPDV#GROJRY!


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             'RULV/LVVHWWH*HiQ
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             :DVKLQJWRQ'&
             2)&&3B12B)2,$#GROJRY


           5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R



           'HDU0V*HiQ
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           :HDUHIROORZLQJXSRQ\RXU'HFHPEHUHPDLO:KLOHZHDUHFRQVLGHULQJDUHRSWLRQVDV
           WRWKH'HSDUWPHQWRI/DERU VFXUUHQWSRVLWLRQDVWRRXUUHSRUWHU VUHTXHVWZHVHHNDQVZHUVWRWKH
           IROORZLQJTXHVWLRQV
           
                 :KHQGLGWKH'HSDUWPHQWSURYLGH(2QRWLFHVWRVXEPLWWHUV"
                 +DYHDQ\VXEPLWWHUVUHVSRQGHGHLWKHUREMHFWLQJRUFRQVHQWLQJ"
                 )RUWKRVHVXEPLWWHUVZKRKDYHFRQVHQWHGRUKDYHZDLYHGWKHLURSSRUWXQLW\WRREMHFWGXH
                 WRWKHSDVVDJHRIDUHDVRQDEOHDPRXQWRIWLPHZRXOGWKH'HSDUWPHQWEHDEOHWRSURYLGH
                 WKHLUVXEPLWWHGUHSRUWVRQDUROOLQJEDVLV
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           :HDSSUHFLDWH\RXUDWWHQWLRQWRWKHVHLQTXLULHV

           6LQFHUHO\
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           $OH[DQGUD0*XWLHUUH]



           FF      '9LFWRULD%DUDQHWVN\*HQHUDO&RXQVHO&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
                     :LOO(YDQV5HSRUWHU&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
                     7KRPDV+LFNV'2/)2,$3XEOLF/LDLVRQ

           2Q)UL'HFDW$02IILFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPVRIFFSBQRBIRLD#GROJRY!ZURWH
              9LD (OHFWURQLF0DLO

              'HDU 0V*XWLHUUH]

              :H KDYHUHFHLYHG\RXU'HFHPEHUHPDLOLQTXLULQJDERXWRXWVWDQGLQJ)2,$ UHTXHVWVWKDW
              FRPELQHGVHHNWZR\HDUV DQG RI((2FRQVROLGDWHG 7\SH  UHSRUWVIRUDOOIHGHUDO
              FRQWUDFWRUV

              $V \RXDUHDZDUHZHKDYHFRPSOLHGZLWKWKHGLVWULFWFRXUW¶VRUGHUDQGUHOHDVHG WKHUHSRUWVRIWKH
              LQGLYLGXDOVXEPLWWHUVZKRKDYHQRWDSSHDOHGWKHFRXUW¶V GHFLVLRQLQWKHPDWWHURI&WUIRU ,QYHVWLJDWLYH
              5HSRUWLQJY86'HS WRI/DERU)6XSSG 1'&DO <RXURXWVWDQGLQJ)2,$
              UHTXHVWVVHHNWKH((27\SHUHSRUWV RIZHOORYHUDQGSRVVLEO\RYHU VXEPLWWHUVIURP
              FRXQWOHVVLQGXVWULHVZKRVHUHSRUWVDUHQRWVXEMHFWWRWKDW FRXUWRUGHU

              :H FRQWLQXHWREHVXEMHFWWR([HFXWLYH2UGHUDQGDUHREOLJDWHGWRQRWLI\ VXEPLWWHUVRIUHTXHVWVIRU
              WKHLUSRWHQWLDOO\FRQILGHQWLDOFRPPHUFLDO LQIRUPDWLRQ6HH&)5   8QGHU([HFXWLYH2UGHU
               ZHPXVWDIIRUGVXEPLWWHUVDUHDVRQDEOHSHULRGRIWLPHWRREMHFWWRWKH GLVFORVXUHRIDQ\SRUWLRQRI
              WKHLQIRUPDWLRQDQGWRVWDWHDOOJURXQGVXSRQ ZKLFKGLVFORVXUHLVRSSRVHG 7KH VXEPLWWHUVWKDWDUHWKH
              VXEMHFWRI\RXUUHTXHVWKDYHQRWKDGWKHRSSRUWXQLW\WR GHPRQVWUDWHZKHWKHUWKHLU((27\SHUHSRUWV
              FRQWDLQFRQILGHQWLDOFRPPHUFLDO LQIRUPDWLRQ 0RUHRYHUZKLOHZHGRQRW EHOLHYHWKDWWKH1RUWKHUQ
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             From:              OFCCP NO FOIA
             To:                "Will Evans"
             Bcc:               Gean, Lissette - OFCCP
             Subject:           RE: amendment request
             Date:              Tuesday, May 11, 2021 12:05:00 PM


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            From: Will Evans <wevans@revealnews.org>
            Sent: Monday, May 10, 2021 1:02 PM
            To: OFCCP NO FOIA <OFCCP_NO_FOIA@DOL.GOV>
            Subject: amendment request
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                CAUTION - The sender of this message is external to the DOL network. Please use care when clicking on links and
                responding with sensitive information. Send suspicious email to spam@dol.gov.

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             LQGLYLGXDOVXEPLWWHUVWRFRQVXOWLIWKLVLQIRUPDWLRQTXDOLILHVDV³FRQILGHQWLDOFRPPHUFLDO
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             SXEOLVKLQJQRWLFHUHDVRQDEO\OLNHO\WRDFFRPSOLVKVXFKQRWLILFDWLRQ´LQFDVHVZKHUH³QRWLILFDWLRQ
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             EXUGHQVRPHQRWLILFDWLRQSURFHVVGLUHFWO\FRQWUDGLFWVDIHGHUDOFRXUWRSLQLRQUHTXLULQJGLVFORVXUH
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             REOLJDWHGWRFRQVXOWLQGLYLGXDOIHGHUDOFRQWUDFWRUVLQUHVSRQVHWR0U(YDQV¶VUHTXHVWIRU
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             DOORZLQJMXGLFLDOUHFRXUVHE\SDVVLQJDGPLQLVWUDWLYHH[KDXVWLRQLIDQDJHQF\IDLOVWRPHHW
             VWDWXWRU\WLPHWDEOHVIRUGLVFORVXUHRUWRMXVWLI\LWVGHOD\LQPDNLQJQRQH[HPSWUHFRUGVDYDLODEOH
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             FRXUW¶VGHFLVLRQLQWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLDGLGQRWKDYHSUHFHGHQWLDOHIIHFWDQGWKH
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             GLVWULFWFRXUWVWRHQMRLQDQµDJHQF\IURPZLWKKROGLQJDJHQF\UHFRUGVDQGWRRUGHUWKHSURGXFWLRQ
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             SXEOLVKDQRWLFHLQDPDQQHUUHDVRQDEO\FDOFXODWHGWRUHDFKWKHDWWHQWLRQRIWKHVXEPLWWHUV IRU
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         Hello:
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         Your request has been assigned to OFCCP with tracking number 872421. When they begin processing it,
         you will be able to track its progress at ZZZGROJRYIRLD. If you need to contact them about it for any reason,
         please submit your inquiry through RIFFSBQRBIRLD#GROJRY or phone 202-693-0101. In addition, it would be
         helpful to include the tracking number in the Subject line of any submission to the agency or to have it
         available at the time of a call.
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         Sincerely,
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         Arginia Karamoko
         Government Information Specialist, Office of Information Services
         Office of the Solicitor | Management & Administrative Legal Services
         U.S. DEPARTMENT OF LABOR
         &RQVWLWXWLRQ$YH1:, N-2420 | Washington, DC¬ 20210
         T: (202) 693-5531 | F: (202) 693-5389 |¬ E: NDUDPRNRDUJLQLD#GROJRY




         From: Will Evans <ZHYDQV#UHYHDOQHZVRUJ>
         Sent: Thursday, January 10, 2019 7:13 PM
         To: FOIARequests <)2,$5HTXHVWV#GROJRY>
         Cc: Victoria Baranetsky <YEDUDQHWVN\#UHYHDOQHZVRUJ>
         Subject: FOIA request - OFCCP
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         Hello:
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         Your request has been assigned to OFCCP with tracking number 875877. When they begin processing it,
         you will be able to track its progress at ZZZGROJRYIRLD. If you need to contact them about it for any reason,
         please submit your inquiry through RIFFSBQRBIRLD#GROJRY or phone 202-693-0101. In addition, it would be
         helpful to include the tracking number in the Subject line of any submission to the agency or to have it
         available at the time of a call.
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         Sincerely,
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         Arginia Karamoko
         Government Information Specialist, Office of Information Services
         Office of the Solicitor | Management & Administrative Legal Services
         U.S. DEPARTMENT OF LABOR
         &RQVWLWXWLRQ$YH1:, N-2420 | Washington, DC¬ 20210
         T: (202) 693-5531 | F: (202) 693-5389 |¬ E: NDUDPRNRDUJLQLD#GROJRY




         From: Will Evans <ZHYDQV#UHYHDOQHZVRUJ>
         Sent: Monday, March 25, 2019 1:57 PM
         To: FOIARequests <)2,$5HTXHVWV#GROJRY>
         Subject: FOIA request - OFCCP

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         Hello:
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         Your request has been assigned to the Office of Federal Contract Compliance Programs (OFCCP) with
         tracking number 897123. When they begin processing it, you will be able to track its progress at
         ZZZGROJRYIRLD. If you need to contact them about it for any reason, please submit your inquiry through
         RIFFSBQRBIRLD#GROJRY or phone 202-693-0101. In addition, it would be helpful to include the tracking
         number in the Subject line of any submission to the agency or to have it available at the time of a call.


         Sincerely,



         Arginia Karamoko
         Government Information Specialist, Office of Information Services
         Office of the Solicitor | Management & Administrative Legal Services
         U.S. DEPARTMENT OF LABOR
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             U.S. Department of Labor               Office of Federal Contract Compliance Programs
                                                    200 Constitution Avenue, N.W.
                                                    Washington, D.C. 20210




             October 2, 2020



             Via Electronic Mail

             Will Evans
             The Center for Investigative Reporting
             1400 65th Street, Suite 200
             Emeryville, CA 94608

             RE: Freedom of Information Act Request Acknowledgement – Tracking No. 897123

             Dear Mr. Evans:

             This letter is to acknowledge receipt of your Freedom of Information Act (FOIA) request
             submitted to foiarequest@dol.gov. The Office of the Solicitor assigned your request to the
             Office of Federal Contract Compliance Programs (OFCCP) on September 18, 2020. Please refer
             to the above-referenced FOIA tracking number in any future correspondence regarding your
             FOIA request.

             You requested a spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal
             contractors for 2018.

             We consider you to be a representative of the news media as defined by the U.S. Department of
             Labor FOIA regulations at 29 CFR § 70.40(c)(3), therefore, only reproduction costs will be
             assessed, excluding charges for the first 100 pages. You will receive written notification if the
             total estimated fee for processing your request exceeds $25.00.

             OFCCP’s National Office will process your request for EEO-1 data. Once we compile the data,
             we will send a letter to the submitters notifying them of the request for their EEO-1 data.

             In accordance with 29 CFR § 70.26 and Executive Order 12600, because your request covers
             information that may be protected from disclosure under FOIA Exemption 4, OFCCP is required
             to notify submitters that their information has been requested under the FOIA to give them an
             opportunity to object in writing to disclosure of any specified portion of the requested
             information. For those submitters who do not object, we will provide the information with any
             necessary redactions consistent with FOIA. For those submitters who do object, OFCCP will
             evaluate any response provided by the submitter as to why the requested information should be
             withheld and make its own determination as to whether the specific facts and relevant law
             warrant disclosure or withholding of the requested information.




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             Due to the volume and complexity of the FOIA requests XFIBWFSFDFJWFE, we anticipate that
             providing a full response will take longer than 20 business days to fulfill. Accordingly, OFCCP
             will take an additional 10 business days to fulfill your request as afforded by the FOIA at 5
             U.S.C. § 552(a)(6)(B)(i). We will contact you if we are unable to fulfill your request in 30
             business days.

             We consider you a “news media” type of requestor. As a “news media” requestor, we charge
             you for photocopying after the first 100 pages in accordance with the U.S. Department of Labor
             FOIA regulations at 29 CFR § 70.40(c)(4). DOL’s FOIA regulations at 29 CFR § 70.42(a) deem
             that the filing of a FOIA constitutes an agreement by the requester to pay all fees up to $25.00.

             If you need further assistance or would like to discuss any aspect of your request, please do not
             hesitate to contact this office at (202) 693-0101 or by email at OFCCP_NO_FOIA@dol.gov.
             Alternatively, you may wish to contact the DOL FOIA Public Liaison, Thomas Hicks, at (202)
             693-5427 or by email at hicks.thomas@dol.gov.

             You may also contact the Office of Government Information Services (OGIS), within the
             National Archives and Records Administration (NARA), to inquire about the mediation services
             they offer. The contact information for OGIS is as follows: Office of Government Information
             Services, National Archives and Records Administration, 8601 Adelphi Road, College Park, MD
             20740-6001. You can also reach that office by email at ogis@nara.gov, by phone at (202)
             741-5770, by fax at (202) 741-5769, or by calling toll-free at (877) 684-6448.

             If you are not satisfied with the response to this request, you may administratively appeal by
             writing to the Solicitor of Labor within 90 days from the date of this letter. In the appeal, you
             must state in writing the grounds for the appeal, and may include any supporting statements or
             arguments, but such statements are not required. To facilitate processing of the appeal, please
             include your mailing address and daytime telephone number, as well as a copy of the initial
             request and copy of this letter. Clearly mark “Freedom of Information Act Appeal” on the
             envelope and letter of the appeal. You must make any amendment to the appeal in writing and
             we must receive it prior to a decision. Address the appeal to the Solicitor of Labor, Division of
             Management and Administrative Legal Services, U.S. Department of Labor, 200 Constitution
             Avenue, NW, Room N2420, Washington, DC 20210. You may submit your appeal by email to
             foiaappeal@dol.gov. The Department does not accept appeals submitted to any other email
             address.

             Sincerely,



             Doris Lissette Geán
             FOIA Manager




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             GRLQJVR,QGHHGZHUHWKH'HSDUWPHQWWRLPPHGLDWHO\UHOHDVHDOO7\SH((2UHSRUWVDV&,5
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             FRXUW V IRXQGWKDW([HPSWLRQGLGDSSO\WRWKH((2UHFRUGVDQGWKDWLQUHOHDVLQJWKHPWRWKH
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             FRQWUDFWRUVYLD³SRVWLQJDQGSXEOLVKLQJWKHQRWLFHLQDSODFHUHDVRQDEO\FDOFXODWHGWRDFFRPSOLVK
             QRWLILFDWLRQ´ 7KH'HSDUWPHQWZLOOSXEOLVKDQRWLFHLQWKH)HGHUDO5HJLVWHUDQGRQWKH
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      From Email : ofccp_no_foia@DOL.GOV

      To Email : wevans@revealnews.org;

      Cc Email : smusgrave@revealnews.org; vbaranetsky@revealnews.org

      Bcc Email : ofccp_no_foia@DOL.GOV

      Subject : FOIA 872421 Evans - Clarification

      Date Sent : 7/20/2022 2:23:59 PM

      Attachments :

      Email Body : Dear Will, Per my phone call, I am seeking a bit of clarification. EEO-1 filers
      indicate on the EEO-1 form whether they are a "prime contractor or first-tier subcontractor."
      Your request asked for EEO-1 data from "contractors." Can you confirm that your request
      intended to seek all Type 2 EEO-1 data from 2016-2020 in OFCCP's possession, that is, for
      prime contractors and first-tier subcontractors? If so, can you please send us confirmation in
      writing (i.e., email)? This will help expedite publishing the notice in the Federal Register. Many
      thanks, Bruce




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             From:            Eltoweissy, Somayah M - OFCCP
             To:              Ahaghotu, Kelechi U - OFCCP
             Cc:              Spalding, Candice - OFCCP
             Subject:         FW: EEO-1 (Type 2) Data for FOIA Requests
             Date:            Friday, July 15, 2022 2:31:50 PM
             Attachments:     Type 2 EEO-1.zip
                              image001.jpg




            From: Eltoweissy, Somayah M - OFCCP
            Sent: Friday, June 10, 2022 12:26 PM
            To: Andersen, Bruce - OFCCP <Andersen.Bruce@dol.gov>; Spalding, Candice - OFCCP
            <Spalding.Candice@dol.gov>
            Cc: Kaiser, Javaid - OFCCP <Kaiser.Javaid@dol.gov>; Smith, Kelley - OFCCP <Smith.Kelley.J@dol.gov>;
            Ahaghotu, Kelechi U - OFCCP <Ahaghotu.Kelechi.U@dol.gov>; Fort, Harvey D - OFCCP
            <Fort.Harvey.D@dol.gov>; Lutz, Alissa S - OFCCP <Lutz.Alissa.S@dol.gov>
            Subject: RE: EEO-1 (Type 2) Data for FOIA Requests

            Good afternoon,

            Please see attached zip folder with EEO-1 data (Type 2 reports) for federal contractors for 2016 –
            2020. Only respondents who responded Yes to Question C3 (below) are included. The files were
            prepared as CSVs, as requested, so leading zeroes for these variables are dropped: COMPANY, UNIT,
            ZIPCODE, and DUNS.

                     Question C3. Does the company or any of its establishments (a) have 50 or more employees
                     (2) are prime contractors or first-tier subcontractors; (3) have a contract, subcontract, or
                     purchase order amounting to $50,000 or more AND (4) are not exempt as provided for by 41
                     CFR 60-1.5; OR serve as depositories of Government funds in any amount; or are financial
                     institutions which are issuing and paying agents for U.S. Savings Bonds and savings notes?

            The number of unique federal contractors that submitted Type 2 EEO-1s from 2016-2018 is 20,655.
            The number of additional unique federal contractors that submitted Type 2 EEO-1s in 2019-2020 is
            3,699.
            The number of contractors by year:
                 Year(s)      Unique federal contractors
                              that submitted Type 2 EEO-1
                 2016         15,144
                 2017         15,406
                 2018         16,908
                 2019         13,871
                 2020         13,670

            Thank you,

            Somayah Eltoweissy


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            Scheduling and Jurisdiction Branch Chief
            U.S. Department of Labor
            Division of Program Operations | Office of Federal Contract Compliance Programs
            Tel. (202) 803-0197 | eltoweissy.somayah.m@dol.gov




            From: Andersen, Bruce - OFCCP <Andersen.Bruce@dol.gov>
            Sent: Wednesday, June 8, 2022 12:54 PM
            To: Eltoweissy, Somayah M - OFCCP <Eltoweissy.Somayah.M@dol.gov>; Spalding, Candice - OFCCP
            <Spalding.Candice@dol.gov>
            Cc: Kaiser, Javaid - OFCCP <Kaiser.Javaid@dol.gov>; Smith, Kelley - OFCCP <Smith.Kelley.J@dol.gov>;
            Ahaghotu, Kelechi U - OFCCP <Ahaghotu.Kelechi.U@dol.gov>; Fort, Harvey D - OFCCP
            <Fort.Harvey.D@dol.gov>; Lutz, Alissa S - OFCCP <Lutz.Alissa.S@dol.gov>
            Subject: RE: EEO-1 (Type 2) Data for FOIA Requests

            I will contact you later this afternoon.


            From: Eltoweissy, Somayah M - OFCCP <Eltoweissy.Somayah.M@dol.gov>
            Sent: Wednesday, June 8, 2022 12:30 PM
            To: Spalding, Candice - OFCCP <Spalding.Candice@dol.gov>
            Cc: Kaiser, Javaid - OFCCP <Kaiser.Javaid@dol.gov>; Smith, Kelley - OFCCP <Smith.Kelley.J@dol.gov>;
            Ahaghotu, Kelechi U - OFCCP <Ahaghotu.Kelechi.U@dol.gov>; Andersen, Bruce - OFCCP
            <Andersen.Bruce@dol.gov>; Fort, Harvey D - OFCCP <Fort.Harvey.D@dol.gov>; Lutz, Alissa S -
            OFCCP <Lutz.Alissa.S@dol.gov>
            Subject: RE: EEO-1 (Type 2) Data for FOIA Requests

            Good afternoon,

            Dr. Kaiser forwarded the email below to me.

            Can you share what parameters are required for the EEO-1 data (Type 2 reports) data pull? Or, if you
            could provide an example of a prior release so that we can ensure formatting and fields generated
            are consistent since we have new staff, much appreciated.

            DPO is working on Keir’s request.

            Thank you,

            Somayah Eltoweissy
            Scheduling and Jurisdiction Branch Chief
            U.S. Department of Labor
            Division of Program Operations | Office of Federal Contract Compliance Programs
            Tel. (202) 803-0197 | eltoweissy.somayah.m@dol.gov



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            From: Spalding, Candice - OFCCP <Spalding.Candice@dol.gov>
            Sent: Wednesday, June 08, 2022 10:21 AM
            To: Kaiser, Javaid - OFCCP <Kaiser.Javaid@dol.gov>
            Cc: Smith, Kelley - OFCCP <Smith.Kelley.J@dol.gov>; Ahaghotu, Kelechi U - OFCCP
            <Ahaghotu.Kelechi.U@dol.gov>; Andersen, Bruce - OFCCP <Andersen.Bruce@dol.gov>
            Subject: EEO-1 (Type 2) Data for FOIA Requests

            Hi Javaid,

            As you are aware, we have a pending lawsuit with one of our FOIA requesters, Will Evans. The
            request entails EEO-1 data (Type 2 reports) for all federal contractors for fiscal years 2016 – 2018,
            and most recently, Mr. Evans amended his request to include the years 2019-2020. Per Director
            Yang and the Office of the Solicitor, we were advised to have the data ready to be released based on
            the district court’s decision while a related case is pending before the Ninth Circuit. We could be
            asked at any point to release the data so we have to be ready to release it if asked.

            Mai performed these searches in the past. However, DPO is the record custodian of the data and we
            are asking that DPO generate the reports. Additionally, the individual who generates the report
            should be the same individual who pulls the data for all the years involved in this FOIA request since
            they may have to explain how they pulled the data in litigation if the issue comes up in a proceeding.
            As we would like to stay consistent with the formatting and fields generated in prior releases, to the
            extent possible, please ensure that the format and fields generated are the same for all data pulls.

            Also, Keir has asked for the number of unique filers of Type 2 EEO-1 data from 2016 – 2018, and will
            eventually ask for 2019-2020. We will need the same person to provide us with these numbers and
            it is important that any duplicate filers are removed in the calculations.

            Please ask the responsible person in your division to prepare the data for fiscal years 2016 - 2020. If
            they have any questions, please ask them to contact Kelechi and Bruce.

            Thanks,

            Candice Spalding | Deputy Director
            Division of Management and Administrative Programs
            U.S. Department of Labor, OFCCP
            202.693.1169
            RIFFSORJR




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    MAJORITY MEMBERS:                                                                                 MINORITY MEMBERS:

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    Chairwoman                                                                                        Ranking Member

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    GLENN THOMPSON, PENNSYLVANIA                                                                      JOE COURTNEY, CONNECTICUT
    TIM WALBERG, MICHIGAN                                                                             GREGORIO KILILI CAMACHO SABLAN,
    GLENN GROTHMAN, WISCONSIN                                                                         NORTHERN MARIANA ISLANDS
    ELISE M. STEFANIK, NEW YORK                                                                       FREDERICA S. WILSON, FLORIDA
    RICK W. ALLEN, GEORGIA                                                                            SUZANNE BONAMICI, OREGON
    JIM BANKS, INDIANA                                                                                MARK TAKANO, CALIFORNIA
    JAMES COMER, KENTUCKY                                                                             ALMA S. ADAMS, NORTH CAROLINA
    LLOYD SMUCKER, PENNSYLVANIA
    BURGESS OWENS, UTAH
                                                         COMMITTEE ON                                 MARK DESAULNIER, CALIFORNIA
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                                                      U.S. HOUSE OF REPRESENTATIVES                   JAHANA HAYES, CONNECTICUT
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    JULIA LETLOW, LOUISIANA                         2176 RAYBURN HOUSE OFFICE BUILDING                HALEY M. STEVENS, MICHIGAN
    KEVIN KILEY, CALIFORNIA                                                                           TERESA LEGER FERNÁNDEZ,
    AARON BEAN, FLORIDA                                  WASHINGTON, DC 20515-6100                    NEW MEXICO
    ERIC BURLISON, MISSOURI                                                                           KATHY E. MANNING, NORTH CAROLINA
    NATHANIEL MORAN, TEXAS                                                                            FRANK J. MRVAN, INDIANA
    JOHN JAMES, MICHIGAN                                                                              JAMAAL BOWMAN, NEW YORK
    LORI CHAVEZ-DEREMER, OREGON
    BRANDON WILLIAMS, NEW YORK
    ERIN HOUCHIN, INDIANA




                                                            February 10, 2023


                   The Honorable Jenny R. Yang
                   Director
                   Office of Federal Contract Compliance Programs
                   U.S. Department of Labor
                   200 Constitution Ave., NW
                   Washington, DC 20210

                   Re:          Release of EEO-1 Data

                   Dear Director Yang:

                   I have serious concerns that the Department of Labor’s Office of Federal Contract Compliance
                   Programs (OFCCP) has not provided federal contractors, especially smaller employers, with
                   sufficient information and time to object to having their confidential data released pursuant to a
                   Freedom of Information Act (FOIA) request from the Center for Investigative Reporting, a left-
                   of-center journalism organization. OFCCP’s failures could result in disclosing employers’ and
                   employees’ sensitive, confidential information without due process.

                   The Employer Information Report (EEO-1) requires federal contractors with 50 or more
                   employees to submit demographic workforce data to the Equal Employment Opportunity
                   Commission (EEOC) and OFCCP, including data by race, ethnicity, sex, and job categories. The
                   Type 2 Consolidated EEO-1 report combines data from employers with different locations into
                   one report, and these reports can reveal the private information of individual employees,
                   especially for smaller employers. It is a crime for any EEOC officer or employee to disclose this
                   information, and OFCCP may not have the authority to make such disclosures. 1

                   Last week, OFCCP published a list of 13,521 employers who are recorded by the agency as not
                   objecting to the disclosure of Type 2 EEO-1 data for the years 2016-2020 (non-objector list) in
                   response to the FOIA request. On February 7, OFCCP extended the deadline to February 17 for



                   1
                       42 U.S.C. § 2000e-8(e).




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           The Honorable Jenny R. Yang
           February 10, 2023
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           employers to notify OFCCP that they are wrongly on the non-objector list. 2 However, I am
           concerned OFCCP has not taken the necessary steps to notify federal contractors, especially
           smaller employers, that the non-objector list may have errors or that employers were required to
           submit objections previously to prevent their sensitive data from being released.

           It has come to my attention that an alarming number of employers on the list have submitted
           objections to OFCCP but are still included as non-objectors. This alone shows that much more
           time is needed to correct the list and for employers to ensure their non-objector status is
           recorded.

           It further appears that many employers were not aware of the pending FOIA request at OFCCP.
           The agency must do a much better job of informing federal contractors, especially smaller
           employers, about their rights and obligations. I am also aware that OFCCP has not provided
           information to all relevant employers about what data will be disclosed in response to the FOIA
           request. These employers could not determine whether to submit objections because they did not
           know what information OFCCP would turn over. Employers who were unaware of the FOIA
           request or were not provided sufficient information about the potential disclosure should be
           allowed additional time to submit objections regarding their Type 2 EEO-1 data being disclosed.

           For these reasons, I request that OFCCP re-open the period for employers to submit objections to
           the Type 2 EEO-1 data being released for 60 days. I also request that OFCCP extend the
           deadline for employers to notify the agency they are wrongly on the non-objector list by 60 days.
           I further request that OFCCP immediately ensure that every employer on the non-objector list is
           notified of their status as a non-objector and of what they must do to submit objections or correct
           the record if they are wrongly on the list. Please respond by February 14 indicating whether
           OFCCP will reopen the period for submitting objections and extend the deadline for notifying
           the agency that the non-objector list has an error.

           In addition, to understand more fully the process OFCCP has undertaken in response to the FOIA
           request, please respond to the following requests and questions in writing by February 24:

               1. Provide all notices and communications from OFCCP to employers regarding their
                  potential obligations to submit objections with respect to the FOIA request.

               2. What percentage of employers on the non-objector list have been informed that they are
                  on the list? How many employers on the list have not been informed about the FOIA
                  request and their potential obligations?

               3. What steps did OFCCP take to inform employers that they needed to submit objections so
                  that their sensitive Type 2 EEO-1 data is not disclosed? When did OFCCP take those
                  actions?


           2
             OFCCP EXTENDS DEADLINE FROM FEBRUARY 7, 2023, TO FEBRUARY 17, 2023, FOR FEDERAL CONTRACTORS TO
           ASSERT TYPE 2 EEO-1 DATA SHOULD NOT BE RELEASED, https://www.dol.gov/agencies/ofccp/submitter-notice-
           response-portal.




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           The Honorable Jenny R. Yang
           February 10, 2023
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              4. What actions is OFCCP planning to take to ensure employers are fully informed of their
                 rights and obligations with respect to the FOIA request?

           Thank you for your attention to these requests.

           Sincerely,




           Virginia Foxx
           Chairwoman

           Enclosure




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                                   Responding to Committee Document Requests

           1. In complying with this request, you should produce all responsive documents that are in your
              agency’s possession, custody, or control, whether held by you or other past or present
              employees of the executive branch, or a representative acting on your behalf. Your response
              should also produce documents that you have a legal right to obtain, that the agency has a
              right to copy or to which you have access, or that you have placed in the temporary
              possession, custody, or control of any third party. Requested records, documents, data or
              information should not be destroyed, modified, removed, transferred or otherwise made
              inaccessible to the Committee on Education and the Workforce (the “Committee”).

           2. If any entity, organization or individual denoted in this request has been, or is also known by
              any other name than that herein denoted, the request shall be read also to include that
              alternative identification.

           3. The Committee's preference is to receive documents in electronic form (i.e., email, CD,
              memory stick, or thumb drive) in lieu of paper productions.

           4. Documents produced in electronic format should also be organized, identified, and indexed
              electronically.

           5. Electronic document productions should be prepared according to the following standards:

                  (a) The production should consist of single page Tagged Image File ("TIF"), files
                      accompanied by a Concordance-format load file, an Opticon reference file, and a file
                      defining the fields and character lengths of the load file.

                  (b) Document numbers in the load file should match document Bates numbers and TIF
                      file names.

                  (c) If the production is completed through a series of multiple partial productions, field
                      names and file order in all load files should match.

           6. Documents produced to the Committee should include an index describing the contents of
              the production. To the extent more than one CD, hard drive, memory stick, thumb drive, box
              or folder is produced, each CD, hard drive, memory stick, thumb drive, box, or folder should
              contain an index describing its contents.

           7. Documents produced in response to this request shall be produced together with copies of file
              labels, dividers or identifying markers with which they were associated when they were
              requested.

           8. When you produce documents, you should identify the paragraph, question number or
              request number in the Committee’s request to which the documents respond.




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           9. It shall not be a basis for refusal to produce documents that any other person or entity—either
              inside or outside of the executive branch—also possesses non-identical or identical copies of
              the same documents.

           10. If any of the requested information is only reasonably available in machine-readable form
               (such as on a computer server, hard drive, or computer backup tape), the agency’s staff
               should consult with the Committee staff to determine the appropriate format in which to
               produce the information.

           11. If compliance with the request cannot be made in full, compliance shall be made to the extent
               possible and shall include a written explanation of why full compliance is not possible.

           12. In the event that a document or portion of a document is withheld on the basis of privilege,
               provide a privilege log containing the following information concerning any such document
               or redaction: (a) the privilege asserted; (b) the type of document; (c) the general subject
               matter; (d) the date, author, and addressee; and (e) the relationship of the author and
               addressee to each other.

           13. If any document responsive to this request was, but no longer is, in your possession, custody,
               or control, identify the document (stating its date, author, subject and recipients) and explain
               the circumstances under which the document ceased to be in your possession, custody, or
               control.

           14. If a date or other descriptive detail set forth in this request referring to a document is
               inaccurate, but the actual date or other descriptive detail is known to you or other agency
               employees, or is otherwise apparent from the context of the request, you should produce all
               documents which would be responsive as if the date or other descriptive detail were correct.

           15. The time period covered by this request is included in the attached request. To the extent a
               time period is not specified, produce relevant documents from January 20, 2021 to the
               present.

           16. This request is continuing in nature and applies to any newly-discovered information. Any
               record, document, compilation of data or information, not produced because it has not been
               located or discovered by the return date, shall be produced immediately upon subsequent
               location or discovery. Such submission shall include an explanation as to why the
               information was not produced originally.

           17. All documents shall be Bates-stamped sequentially and produced sequentially.

           18. If physical documents are to be delivered, two sets of documents should be delivered, one set
               to the Majority Staff in Room 2176 of the Rayburn House Office Building and one set to the
               Minority Staff in Room 2101 of the Rayburn House Office Building during Committee office
               hours (9am-5pm, unless other arrangements are made) and signed by members of the
               respective staffs upon delivery.




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           19. Upon completion of the document production, the agency’s written response should include a
               written certification, signed by the Secretary or his or her designee, stating that: (1) a diligent
               search has been completed of all documents in your possession, custody, or control which
               reasonably could contain responsive documents; and (2) all documents located during the
               search that are responsive have been produced to the Committee.

           20. If the agency does not expect to produce all documents responsive to this letter by the date
               requested, the agency’s staff shall consult with the Committee as soon as it is known the
               agency cannot meet the deadline, but no later than 24 hours before the due date to explain:
               (1) what will be provided by the due date, (2) why the agency believes certain materials
               cannot be produced by the due date, and (3) the agency’s proposed timeline for providing any
               omitted information.

           21. The agency’s response to questions and request should be answered or provided in separate
               document and not included inside a narrative response.

                                                        Definitions

           1. The term “document” means any written, recorded, or graphic matter of any nature
              whatsoever, regardless of how recorded, and whether original or copy, including, but not
              limited to, the following: memoranda, reports, expense reports, books, manuals, instructions,
              financial reports, working papers, records, notes, letters, notices, confirmations, telegrams,
              receipts, appraisals, pamphlets, magazines, newspapers, prospectuses, inter-office and intra-
              office communications, electronic mail (e-mail), contracts, cables, notations of any type of
              conversation, telephone call, meeting or other communication, bulletins, printed matter,
              computer printouts, teletypes, invoices, transcripts, diaries, analyses, returns, summaries,
              minutes, bills, accounts, estimates, projections, comparisons, messages, correspondence,
              press releases, circulars, financial statements, reviews, opinions, offers, studies and
              investigations, questionnaires and surveys, and work sheets (and all drafts, preliminary
              versions, alterations, modifications, revisions, changes, and amendments of any of the
              foregoing, as well as any attachments or appendices thereto), and graphic or oral records or
              representations of any kind (including without limitation, photographs, charts, graphs,
              microfiche, microfilm, videotape, recordings and motion pictures), and electronic,
              mechanical, and electric records or representations of any kind (including, without limitation,
              tapes, cassettes, disks, and recordings) and other written, printed, typed, or other graphic or
              recorded matter of any kind or nature, however produced or reproduced, and whether
              preserved in writing, film, tape, disk, videotape or otherwise. A document bearing any
              notation not a part of the original text is to be considered a separate document. A draft or
              non-identical copy is a separate document within the meaning of this term.

           2. The term “communication” means each manner or means of disclosure or exchange of
              information, regardless of means utilized, whether oral, electronic, by document or
              otherwise, and whether in a meeting, by telephone, facsimile, email, regular mail, telexes,
              releases, or otherwise.




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           3. The terms “and” and “or” shall be construed broadly and either conjunctively or disjunctively
              to bring within the scope of this request any information which might otherwise be construed
              to be outside its scope. The singular includes plural number, and vice versa. The masculine
              includes the feminine and neuter genders.

           4. The terms “person” or “persons” mean natural persons, firms, partnerships, associations,
              corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates,
              or other legal, business or government entities, and all subsidiaries, affiliates, divisions,
              departments, branches, or other units thereof.

           5. The term “identify,” when used in a question about individuals, means to provide the
              following information: (a) the individual's complete name and title; and (b) the individual's
              business address and phone number.

           6. The term “referring or relating,” with respect to any given subject, means anything that
              constitutes, contains, embodies, reflect s, identifies, states, refers to, deals with or is pertinent
              to that subject in any manner whatsoever.

           7.    The term “agency” means any department, independent establishment, or corporation of the
                federal government. For the purposes of responding to oversight requests, the Committee
                expects information to be provided from all sub-agencies of an agency and not just the
                information that is immediately available to the addressee or the addressee’s immediate sub-
                agency.




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          3                                     UNITED STATES DISTRICT COURT

          4                                  NORTHERN DISTRICT OF CALIFORNIA

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          6   THE CENTER FOR INVESTIGATIVE                         ) Case No. 22-cv-07182-WHA
              REPORTING and WILL EVANS,                            )
          7                                                        )
                      Plaintiffs,                                  ) DECLARATION OF SHIVANI BAUTISTA IN
          8                                                        ) SUPPORT OF DEFENDANT DEPARTMENT
                 v.                                                ) OF LABOR’S MOTION FOR SUMMARY
          9                                                        ) JUDGMENT
              UNITED STATES DEPARTMENT OF                          )
        10    LABOR,                                               )
                                                                   )
        11                                                         )
                      Defendant.                                   )
        12                                                         )

        13            I, Shivani Bautista, state as follows:
        14            1.      I submit this declaration in support of the United States Department of Labor’s Motion
        15 for Summary Judgment in the above-captioned matter. I have personal knowledge of the following facts

        16 and if called to testify, I could and would competently testify thereto.

        17            2.      I am Chief Legal Officer and Corporate Secretary for NorthShore University Health
        18 System where I have been employed since 2018. Within my role and responsibilities at NorthShore, I

        19 oversee and manage all legal and compliance matters, advise on the System’s governance and

        20 organizational documents and engage outside counsel and advisors related to the same. I have been in

        21 this role since April 1, 2023 and served in related roles including serving as General Counsel since

        22 October 2018. In my capacity as Chief Legal Officer and Corporate Secretary, I have knowledge and

        23 insight into the strategic operations of the company and oversee our compliance related reporting

        24 obligations including the annual submission of EEO-1 reports.

        25            3.      NorthShore University Health System is a community-based healthcare system based in
        26 the northwest suburbs of Chicago, Illinois. The Company is headquartered in Evanston and consists of
        27 six (6) hospitals and an approximately 900 physician multispecialty group practice, with more than 140

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          1 locations in the Chicagoland area.

          2          4.     NorthShore University Health System submitted EEO-1 Type 2 Reports in 2016, 2017,

          3 2018, 2019, and 2020. The Company identified itself as a federal contractor in each of those EEO-1

          4 Reports.

          5          5.     The Company first became aware of the FOIA Request for Type 2 EEO-1 Reports via

          6 email from OFCCP on or around September 21, 2022.

          7          6.     NorthShore considers its EEO-1 Reports to be confidential, commercial documents.

          8 Accordingly, the Company submitted written objections to the release of its EEO-1 Reports through

          9 OFCCP’s established portal on October 19, 2022.
        10           7.     NorthShore’s Type 2 EEO-1 Reports contain details of the organizational structure of its

        11 workforce, which it considers to be private, commercially valuable information. These Reports reveal

        12 the types and amount of employees the Company utilizes to remain successful and competitive.

        13           8.     NorthShore’s EEO-1 Reports not only detail the overall headcount year-over-year, but

        14 also reveal NorthShore’s strategic structuring of its workforce at each level and how that has changed

        15 over time. How NorthShore structures its workforce is part of its strategic business plan. For example,

        16 NorthShore’s EEO-1 Reports from 2016 through 2020 show a significant change in the composition of

        17 its workforce and in the proportion of leadership to employees. The ratio of Executives to Managers to

        18 Professionals to Technicians to Service Workers is commercially valuable information, which shows

        19 how a company could stratify its workforce to be successful and profitable. Strategic changes in the

        20 Company’s workforce structuring is commercially valuable information.

        21           9.     Some of NorthShore’s strategic business decisions can also be revealed when comparing

        22 its EEO-1 Reports from before and after recent acquisitions. Specifically, these Reports show how the

        23 Company structured its workforce and the types of employees it employed in the years leading up to the

        24 acquisitions and how it restructured, reorganized, and staffed its operations post-acquisitions. These can

        25 create a roadmap for other similar competing organizations on how to efficiently and effectively operate

        26 and grow.
        27           10.    Recognizing the commercial value, and confidential nature of its EEO-1 Reports,

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          1 NorthShore has taken steps to protect the security and confidentiality of its EEO-1 data and restricts

          2 access to these documents both internally and externally. NorthShore has not publicly released any

          3 EEO-1 Report submitted to OFCCP since 2016, nor has it released general demographic information

          4 about its workforce to the public.

          5          11.    Internally, NorthShore restricts access to its EEO-1 Reports only to employees in its

          6 Human Resources Department. These employees receive training on the confidential nature of the

          7 information that they are entrusted with in connection with their respective positions at NorthShore. For

          8 all other employees, access to the EEO-1 data is blocked in the Company’s HRIS system via a series of

          9 data protection security measures.
        10           12.    To further ensure the confidentiality of the EEO-1 Reports, the Company does not

        11 maintain paper copies.

        12           13.    NorthShore takes the privacy of its employees seriously, and goes to great lengths to earn

        13 and maintain their trust. When soliciting the self-identification information used to prepare the EEO-1

        14 Reports, NorthShore makes a promise to its employees that any information provided by the employee

        15 will be kept confidential. Once provided, this self-identification data is treated as confidential and

        16 housed securely on NorthShore’s HRIS with access restricted only to the HRIS team and individuals

        17 who prepare the EEO-1 Reports.

        18           14.    If NorthShore’s EEO-1 data is disclosed, that will directly contradict and undermine the

        19 assurances provided to employees. This is no small matter, and could have both practical and economic

        20 impact if NorthShore’s relationship with its workforce is undermined. Further, despite NorthShore’s

        21 commitment to keeping demographic data confidential and its many efforts to do so, the demographic

        22 information of particular employees may be apparent and made public if the EEO-1 Reports are

        23 released. This is particularly true in job categories with only a few incumbents. For example,

        24 NorthShore’s 2020 EEO-1 Report shows only one employee in a particular category, making this

        25 employee and their race/ethnicity and gender easily identifiable. Similarly, the Report shows four

        26 employees in another EEO-1 Category, three of whom are women and one of whom is a man. This, at
        27 the very least, makes the man’s race/ethnicity readily apparent to any viewer of the Report. Release of

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          1 the EEO-1 Reports would not only negate NorthShore’s efforts to maintain the confidentiality of this

          2 sensitive data, but also threaten these individuals’ privacy rights.

          3          15.     OFCCP has expressly assured federal contractors like NorthShore that its EEO-1 Reports

          4 will be kept confidential. As a federal contractor, NorthShore is required to file EEO-1 Reports; it is not

          5 optional or discretionary. Per OFCCP’s regulations, reports filed will be used only in connection with,

          6 or in furtherance of, the administration of the Executive Order and the Civil Rights Act of 1964. Thus,

          7 OFCCP represents to federal contractors like NorthShore that the EEO-1 Reports will only be used for

          8 specific, limited purposes, which do not include releasing the reports to third-parties, including the

          9 media. The release of NorthShore’s EEO-1 Reports will not further the purposes of Executive Order
        10 11246 or any other laws enforced by OFCCP. To the contrary, such a release may have a chilling effect

        11 on compliance by eroding the business community’s trust in the Agency. It may likewise deter

        12 employees from self-reporting, which is, certainly, why OFCCP provides this assurance of

        13 confidentiality in the first place.

        14           16.     A public disclosure could cause significant commercial and operational damage to the

        15 organization. The healthcare industry in which NorthShore operates is highly competitive and large

        16 regional health systems dominate the market, creating competition for patient populations. In this

        17 environment, NorthShore must be constantly evolving to obtain and retain talent with the specialized

        18 skillsets needed to succeed.

        19           17.     As part of its strategy to remain competitive, NorthShore has undergone significant

        20 growth since 2016. This steady, strategic growth can easily be seen when comparing NorthShore’s

        21 EEO-1 Reports between 2016 and 2020. If released, competitors could not only see the overall increase

        22 in headcount, but also gain insight into which job categories the majority of the growth occurred.

        23           18.     The EEO-1 Reports could also reveal to NorthShore’s competitors details about its recent

        24 acquisitions and workforce restructuring not elsewhere made public. For example, NorthShore acquired

        25 Swedish Covenant Hospital in 2020. If NorthShore’s EEO-1 Reports are released, confidential and

        26 proprietary information related to the impact the acquisition had on NorthShore’s workforce overall, as
        27 well as specifically what types of employees were acquired, and how the workforce was structured

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          1 before and after this acquisition would be apparent. Simply comparing NorthShore’s 2019 and 2020

          2 EEO-1 Reports would reveal to NorthShore’s competitors that the majority of the acquired employees

          3 were in certain EEO-1 categories, and resulted in NorthShore acquiring certain types of employees not

          4 previously employed by the organization.

          5          19.     Competitors could use this information as insight into the Company’s growth strategies

          6 and staffing patterns and use the information as a model to drive success for their own initiatives and

          7 acquisitions, thereby depriving NorthShore of the competitive advantage that it has cultivated. This

          8 competitive disadvantage is magnified by releasing multiple years of EEO-1 Reports. Because the

          9 healthcare industry is quickly evolving, any advantage that NorthShore’s competitors gain will have a
        10 substantial effect on the competitive positions of the Company within the industry.

        11           20.     Because the instant FOIA request is limited to companies who identified as federal

        12 contractors on their EEO-1 Reports, release of those Reports will put companies like NorthShore whose

        13 major competitors may not be federal contractors at a competitive disadvantage. While NorthShore’s

        14 competitors will gain the advantage of viewing NorthShore’s sensitive, confidential workforce and

        15 staffing data, NorthShore will not share that same advantage and will not be able to view the data of

        16 their competitors.

        17           21.     Even releasing NorthShore’s Type 2 EEO-1 Report for a single year could cause the

        18 Company competitive disadvantage. In addition to occupational categories, the EEO-1 Reports reflect

        19 demographic data for the Company’s overall workforce. If its competitors successfully lure away any of

        20 NorthShore’s employees, NorthShore will lose the talent and experience with the departing employees

        21 and will incur additional costs to recruit, hire, train, and retain additional talent. This potential for

        22 competitive disadvantage is particularly harmful for a company like NorthShore whose entire workforce

        23 is concentrated in one state, rather than some of its competitors whose employees may be spread across

        24 the country and more difficult to identify and locate through publicly available information.

        25           22.     Because EEO-1 Reports present an incomplete and skewed picture of a company’s

        26 diversity and the data can easily be misconstrued, the public release of these Reports can cause harm to
        27 NorthShore. The EEO-1 data for Northshore may easily be compared to the aggregate industry data

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          1 published by EEOC to make comparisons that -- without meaningful context -- are incomplete and

          2 inaccurate. These comparisons may include analyses that suggest statistically significant differences in

          3 workforce representation on the basis of gender and/or race/ethnicity by EEO-1 category, based solely

          4 on comparisons to the EEO-1 aggregate industry data published by EEOC. The ability to conduct such

          5 an analysis raises concerns because of how such information could be presented negatively portrayed by

          6 uninformed third parties and competitors.

          7          23.    The EEO-1 data is also subject to distortion and misrepresentation by outsiders, since it

          8 does not reflect the job categories or process used by NorthShore internally for staffing and diversity

          9 purposes. Further, the EEO-1 Reports may even hide diversity because of the race and ethnicity
        10 categories and definitions mandated by the EEOC. For example, stakeholders may not view “White”

        11 employees listed on the EEO-1 Report as diverse. However, the EEOC’s definition of “White” includes

        12 people “having origins in any of the original people of Europe, the Middle East, or North Africa,”

        13 groups that are otherwise considered by NorthShore as “diverse.” Further, many of those “White”

        14 employees may also be individuals with disabilities, protected veterans, identify as LGBTQ+, or be a

        15 part of other groups that add to NorthShore’s diversity.

        16           24.    The category of “Two or More Races,” which includes all persons who identify with

        17 more than one of the following races: White, Black or African American, Native Hawaiian or Other

        18 Pacific Islander, Asian, American Indian or Alaska Native, is also misleading. If those unfamiliar with

        19 these categories attempt to use the EEO-1 Reports to draw conclusions about NorthShore’s Black or

        20 African American representation, for example, the conclusions may be negatively skewed because some

        21 Black or African American employees may also identify another race category as well and will be

        22 included in the Two or More Races category, artificially deflating the Black or African American

        23 representation. Without additional context, this type of skewed conclusion could cause significant

        24 reputational and, in turn, financial and competitive harm to NorthShore. Commercial or economic harm

        25 to NorthShore is, by extension, harm to its employees. If business goes down, NorthShore may not

        26 maintain its current level of staffing and might need to eliminate positions.
        27           25.    NorthShore’s EEO-1 data is commercially valuable, competitively useful, and highly

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          1 sensitive information. The Company should not be hampered in its ability to make decisions about

          2 growth, assignments, and staffing because its EEO-1 data may be subject to disclosure. To remain

          3 commercially profitable and competitive in the industry, NorthShore must be able to evolve its business

          4 using its specialized knowledge and judgment, without being forced to share indicia of those decisions

          5 publicly.

          6          I declare under penalty of perjury under the laws of the United States that the foregoing is true

          7 and correct.
                                    22                            3:40pm
          8          Executed this ___ day of August, 2023, at _________________.

          9
                                                                   NAME
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